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Sulfonated Perfluorochemicals in the Environment:

Sources, Dispersion, Fate and Effects

Prepared by
3M

March 1, 2000
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1.0 Preface

This paper provides an overview of 3M’s current knowledge about the sources,
dispersion, fate and effects of some of its fluorinated chemical products, It specifically
addresses sulfonated perfluoronated chemistry and products, with the major focus on
those compounds with an eight carbon chain structure. There are other fluorinated
chemical products but these are not covered in this white paper.

The paper presents the past testing of these chemicals for environmentally relevant
properties and assesses the quality and adequacy of past testing. It also presents recent
results of environmental sampling, estimates of quantities of wastes generated at
manufacturing plants and from product use, and new data on physical, chemical and
ecotoxicological properties of sulfonated perfluorochemicals. It describes in detail the
comprehensive exposure assessment plan currently being implemented. This plan is
aimed at providing a better understanding of the transport, fate and effects of these
chemicals in the environment and will help the company determine appropriate future
actions.

As these studies return data, test plans will be revised to incorporate new information.
For this reason, the results of present testing should be treated cautiously. Some data
represent first attempts at characterization of complex chemicals in very difficult and
dynamic environmental test matrices. The program incorporates new analytical
technology, complex models and many variables. These initial findings are subject to
change as results from currently planned testing on degradation, biological receptors,
wastes from manufacturing facilities and other exposure data are obtained.

This paper should be read in conjunction with previous submittals about the health and
environmental issues associated with 3M's sulfonated perfluorochemical product line. In
January 1999, 3M submitted to the Environmental Protection Agency (EPA) a report,
Perfluorooctane Sulfonate: Current Summary of Human Sera, Health and Toxicology
Data, that provided details of analyses of pooled blood sera samples that demonstrated the
presence of perfluorooctane sulfonate (PFOS) at very low levels. In February 1999, 3M
provided a comprehensive review, The Science of Organic Fluorochemistry, describing
the health effects and background chemistry associated with PFOS. Another report
submitted to EPA in May 1999, Fluorochemical Use, Distribution, and Release
Overview, describes how 3M produces sulfonated perfluorochemicals, which product
lines incorporate them, and the uses for these products. Finally, various Section 8(e)
submissions have been forwarded to EPA relative to these sulfonated perfluorochemicals.

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2.0 Executive Summary

3M produces sulfonated perfluorochemicals by an electrochemical fluorination process.
This process creates a complex and variable mix of chemicals in which fluorine atoms
replace hydrogen atoms on the organic feedstock and carbon-carbon bonds are
rearranged. Because of the carbon-fluorine bond formed by this process, the compounds
created are considered to be very stable. Perfluorochemicals have complete substitution
of fluorine for hydrogen. Fluorochemicals can repel both water and oils, reduce surface
tension dramatically, act as catalysts for oligomerization and polymerization, and
function under extreme conditions. Major uses for sulfonated perfluorochemicals are
surface protectors and surfactants.

Fluorine’s high electronegativity confers a strong polarity to carbon-fluorine bonds,
contributing to the stability and nonreactive character of perfluorochemical molecules.
They are unusual as that perfluoroalky! chains are both oleophobic and hydrophobic. The
addition of charged moieties to the chain may affect the water solubility of the shorter
chains.

The highest volume sulfonated perfluorochemical produced by 3M is
perfluorooctanesulfony] fluoride (POSF). After synthesis, it is used to create several
product lines. During their life cycles, POSF and POSF-based products may degrade. If
degradation occurs, current research suggests perfluorooctane sulfonate, (PFOS) and a
few other perfluorinated forms are degradation products. Timeframes for degradation are
variable, with some polymeric products apparently stable for very long periods of time.

The identification and quantification of sulfonated perfluorochemicals pose difficult
analytical challenges. Reliable methods for extraction, separation and identification of
sulfonated perfluorochemicals in tissues and environmental matrices have evolved and
have been developed only in the last few years. New analytical technology is providing
capabilities of detection in wide varieties of matrices at parts per trillion (ppt) levels and
identification of metabolites and breakdown products.

As fully described throughout this paper, completion of a comprehensive exposure
assessment and related scientific studies will require many years of intensive research.
3M is pursuing an aggressive program to reduce releases to the environment while that
scientific research is being conducted. It is not the purpose of this paper to describe the
nature and extent of that undertaking. Readers should be made aware, however, that 3M
has initiated a wide range of activities to utilize available opportunities for reductions in
releases. These have included installation of new controls to reduce waste streams in 3M
manufacturing facilities. They have also included product stewardship efforts to
communicate to customers and downstream users, information regarding fluorochemicals
and the need to exert careful management over these substances. In addition, 3M has
undertaken major efforts to reinvent its products through the use of alternative chemistry
to reduce the volume of fluorochemicals used in those products. All of these efforts will

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be continued with intensity while the scientific research described in this paper is being
carried out.

3M is examining the life cycle of its sulfonated perfluorochemical products to identify
releases to the environment from manufacturing processes, supply chains, product use
and disposal. First it is determining waste streams generated throughout the life cycle.
This information will be used to estimate environmental releases. This approach is
necessary since not all waste produced is released to the environment. Manufacturing
waste studies are underway at the 3M plant in Decatur, Alabama on POSF-based
processes. PFOS-based waste streams generated from these manufacturing processes are
conservatively estimated to be about 1.1 million pounds per year, about 90% as solid
waste, most of which is incinerated and destroyed. Recent wastewater controls have
reduced amounts of PFOS actually discharged to the river by half since 1998.

Data from business units have identified key products that contain the majority of the
fluorochemical solids sold in the United States in 1997. Using this sales information, 3M
estimated customer and end user waste streams. Most of the waste generated from these
sources is in the form of solid waste. Releases to the environment from product disposal
to landfills, wastewater treatment plants and incineration are all being investigated.

Several different fate and transport mechanisms have been identified as important to
study. Initially models are being used for screening-level assessments of potential fate
mechanisms. Multi-media fugacity models are under development to incorporate the
unique properties of fluorochemicals.

Sulfonated perfluorochemicals have been detected at low levels in some species of eagles
and wild birds. Low levels were detected in bird plasma and bird livers. 3M believes
that these sets of data are insufficient to draw conclusions with any statistical merit. In
screening sampling of the river and sediments near the Decatur manufacturing plant,
PFOS was present in a few samples collected near the outfall. All this information was
used in the design of a more comprehensive program of biosphere sampling. The goal of
the biosphere sampling plan is to screen for PFOS across a range of species, habitats and
geographic locations and to identify areas on which to focus scientific investigation to
develop a better understanding of any potential environmental effects.

A multi-cities study will determine environmental distribution and potential sources of
human and ecological exposure. The multi-cities study pairs cities with significant
manufacturing or commercial use of fluorochemical products with cities of the same size
without significant use. Levels of PFOS and its precursors will be measured in food, air,
water, sediment, and disposal facilities. Additionally, levels are being measured arising
from carpet use, product uses and potential migration into food from packaging.

The role of hydrolysis, photolysis and biological processes in the degradation of
sulfonated perfluorochemicals is being studied, Research suggests that the
biodegradation of fluorinated sulfonates requires the presence of hydrogen at the alpha

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carbon on the fluorinated chain and that perfluorinated molecules are susceptible to
breakdown only at non-fluorinated side chains. Degradation of sulfonated
perfluorochemicals is not complete but results in production of other fluorochemicals.
Studies suggest that compounds made from POSF, a commercially important
perfluorochemical product and intermediate, are transformed during metabolism to
another sulfonated perfluorochemical, PFOS. PFOS does not appear to further degrade
except by incineration.

Several sulfonated perfluorochemicals have been subjected to basic screening tests for
environmental toxicity. Different species varied significantly in their response to the
same chemical even when using the same laboratory procedure. New testing is underway
using purified sulfonated perfluorochemicals, measured test concentrations, and a wide
variety of test organisms. Results of these studies are reported in this white paper.

The research projects that are yielding new information on sulfonated perfluorochemicals
are part of a comprehensive plan to assess the potential pathways of environmental
exposure associated with the manufacture, use and disposal of sulfonated
perfluorochemical products. Figure | portrays the plan components. Work on the plan is
now underway using a combination of 3M resources and outside experts. Recent
analytical advances and this extensive research effort are expected to contribute
significantly to a better understanding of environmental fate and effects.

The findings resulting from the comprehensive plan, along with new ecotoxicological test
data, will be used to evaluate ecological risk. While this evaluation is underway, 3M is
implementing actions to reduce generation of waste in manufacturing processes and to
reduce releases of sulfonated perfluorochemicals into the environment through process
improvements, waste reduction and engineering redesign.
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Figure 1. Diagram of Fluorochemical Assessment Plan.

Sitinalow or Phys/Chem
Analyses of 3M nomizaton o Properties
Plants Effluents & Products for Stiady
Process Wastes \, ¥ iw Hydrolysis
FC Thermal —+ Gee. Characterize Fate and i Photodegradation
Destructability Release Estimation Transport Properties " & Atmospheric
‘| } Transport
Mig. Supply
Chain and Use Aerobic & Anaerobic
Wastes Biodegradation
Estimation Carpet Food
Eanes Release Treneter Sorption
7 iC tudies tudies P
Releases Preeen seein ae
sling Bioconcentration
Decatur Plant { | ¥ +: Bioaccumulation
Ste: Envy: Characterize Distribution :
Analy Oe conan Estimate Exposure =
——— posure
Empirical Sampling sega +—| Scenarios
Fish and —ea Predictive Modeling
Bird Analyses t a se
Charact. & Quant.
Cc hi
cripgehatane | | Se Mermabon
Environmental Metabolites .
Sampling Ecological ss
Risk + Ecotoxicity
Determinations
Evaluation

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3.0 Introduction to Fluorochemicals

Fluorochemicals are components of several important 3M product lines due to their
unique and useful properties. They are stable, chemically inert and generally nonreactive.
As components of products, they repel both water and oil, reduce surface tension much
lower than other surfactants, act as catalysts for oligomerization and polymerization, and
function where other compounds would rapidly degrade.

3M has produced fluorochemicals commercially for over 40 years. 3M produces
fluorochemicals by combining anhydrous hydrogen fluoride with hydrocarbon stock in
the presence of electrical energy. The highest volume sulfonated fluorochemical
produced by 3M is perfluorooctanesulfonyl! fluoride (POSF).

C,H,,;SO,F + 17 HF eo > C,F ,,SO,F + 17 H,;

1-Octanesulfonyl fluoride Perfluorooctanesulfony! fluoride (POSF)

The fluorination process overall yields about 35-40% straight chain (normal) POSF, and a
mixture of byproducts and waste of uncharacterized and variable composition containing:

-higher or lower straight chain homologues, n-C,F,,,,;S0,F, of various chain
lengths (7% of process output)

e.g. C.F,;S0,F, C,F,,SO,F, CoF\SO.F

-branched chain perfluoroalkyl products of various chain lengths (18-20% of
output) CF, CF, CF,

| | |
e.g. CF,CF,CF,CF,CF,CFCF,SO,F CF,CFCF,CF,CFCF,SO,F

- straight chain, branched and cyclic perfluoroalkanes and ethers (20-25% of
output) e.g. CF, CF, C3F,, C.Fig. CcFi2. cC, Fs

-“tars” (high molecular weight fluorochemical byproducts) and other byproducts,
including molecular hydrogen (10-15% of output).

Because of slight differences in process conditions, raw materials, and equipment, the
mixture produced by the electrochemical fluorination process varies somewhat from lot
to lot and from plant to plant. Numerous process steps are used to convert the fluorinated
mixture into final products.
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The largest production of fluorochemicals occurs at the 3M manufacturing plant in
Decatur, Alabama, and this plant is the focus of current studies. During production, many
byproducts and waste products are formed. The volatile waste products have been vented
to the atmosphere in the past but improvements are underway to capture and destroy these
releases by thermal oxidation. The tars are disposed at hazardous waste landfills or
treated by incineration. The byproducts, many of which are incompletely fluorinated
with hydrogen atoms still present, are recycled back into processes or partially degraded
in stabilization processes and discharged to wastewater treatment systems. The treatment
sludge is landfilled, Some of the non-POSF-based byproducts are recovered and sold for
secondary uses.

The product of the electrochemical fluorination process is thus not a pure chemical but
rather a mixture of isomers and homologues. Perfluorochemicals have complete
substitution of fluorine for hydrogen. The commercialized POSF derived products are a
mixture of approximately 70% linear POSF derivatives and 30% branched POSF derived
impurities. POSF is used as a product and is also an important intermediate in the
synthesis of substances used in many other 3M products. To a lesser extent, homologues
of POSF, [C,F(on+1)SO,F where n= 2-9, exclusive of 8], are also components used in the
formation of other 3M products.

Some of the POSF derived products are surface active materials and monomers of
relatively low molecular weight (~500 daltons). These monomers are used as low
molecular weight surfactants or are joined with other monomers to form higher molecular
weight oligomers and polymers with a mix of fluorinated and unfluorinated portions.
Fluorochemical monomers can also be joined to phosphates, to polymeric and oligomeric
urethane, or to acrylate backbones through ester and other linkages. The majority of 3M's
sulfonated perfluorochemicals produced are used in polymeric form for treatment of
surfaces and materials. For example, fluorochemical containing polymers (urethanes,
acrylics and esters) can provide soil, stain, and water resistance to personal apparel and
home furnishings.

Some products synthesized from POSF and its homologues are sold as raw materials to
customers who use them as intermediates or components of their products. The

intermediates can be covalently bound to a variety of polymeric hydrocarbon backbones.

The 3M product lines that use sulfonated perfluorochemicals are summarized below.
(Product lines using fluorochemicals that contain no sulfonyl groups are not listed.)

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Surface Treatments
Fabric/Upholstery Protector (High molecular weight (MW) polymers)
Carpet Protector (High MW polymers)
Leather Protector (High MW polymers)
Paper and Packaging Protector (High MW phosphate esters or high MW
polymers)

Surfactants (Low MW chemical substances)
Specialty surfactants
Household additives
Electroplating and etching bath surfactants
Coating and coating additives
Chemical intermediates
Carpet spot cleaners
Fire Extinguishing Foam Concentrates
Mining and Oil Surfactants

Other Uses
Insecticide Raw Materials (Low MW chemical substances)

Typically a fluorochemical product contains a small amount of fluorochemical residuals:
unreacted or partially reacted starting materials or intermediates. Residuals which are
common to formulations of sulfonated perfluorochemical products include:
perfluorooctane sulfonate (PFOS), N-ethyl (or N-methyl) perfluorooctane sulfonamide
(N-EtFOSA or N-MeFOSA) , N-ethyl (or N-methyl) perfluorooctane sulfonamidoethyl
alcohol (N-Et FOSE alcohol or N-MeFOSE alcohol) and perfluorooctanoic acid (PFOA),
Table 1 identifies some sulfonated perfluorochemicals, their acronyms, chemical name,
and formulas.

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Table 1. Perfluorochemical Glossary

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Designation Name Formula

POSF perfluorooctanesulfonyl fluoride C,F,,SO,F

PFOS perfluorooctane sulfonate C,F,,50;

PFOSH perfluorooctanesulfonic acid C,F,,SO,H

PFOS.NH, salt ammonium perfluorooctanesufonate | C,F,,S0,NH,

PFOS.DEA salt Perfluorooctanesulfonate C,F,,80,;NH(CH,CH,OH),
diethanolamine salt

PFOS.K salt potassium perfluorooctanesulfonate | C,F,,SO,K

PFOS.Li salt lithium perfluorooctanesulfonate C,F ,,;80,Li

FOSA perfluorooctanesulfonamide C,F ,,SO,NH,

PFOSAA perfluorooctane sulfonylamido C,F,,SO,N(CH,CH,)CH,COO”
(ethyl)acetate

PFDS perfluorodecanesulfonate CioF SO,

PFHS perfluorohexane sulfonate C,F SO,

N-EtFOSA N-ethy! perfluorooctanesulfonamide | C,F,,SO,NHC,H,

N-MeFOSA N-methyl C,F,,SO,NHCH,

perfluorooctanesulfonamide

N-EtFOSE alcohol

N-ethylperfluorooctane
sulfonamidoethanol

C,F,,SO,N(CH,CH,)CH,CH,OH

N-MeFOSE alcohol

N-methy|lperfluorooctane
sulfonamidoethanol

CF SO,N(CH,)CH,CH,OH

N-EtFOSEA

N-
ethylperfluorooctanesulfonamidoeth
yl acrylate

C,F,,SO,N(CH,CH,)CH,CH,OCOCH=CH,

N-EtFOSEMA

N-
ethylperfluorooctanesulfonamidoeth
yl methacrylate

C,F ,,SO,N(C,H,)CH,CH,OCOC(CH,)=CH,

N-MeFOSEA

N-methyl-
perfluorooctanesulfonamidoethy]
acrylate

C,F,;SO,N(CH,)CH,CH,OCOCH=CH,

PFOA

perfluorooctanoic acid

C,F,.CO,H

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4.0 Physical-Chemical Properties of Fluorochemicals

Fluorinated organics are less well described in the science literature than organic
molecules bearing other halogens, i.e. bromine and chlorine, which have been more
thoroughly investigated by many researchers in published reports. To understand the
properties of fluorinated organics, it is necessary to describe the properties of fluorine.
Fluorine has several characteristics that differ from the other halogens and contribute to
the unusual properties of fluorochemicals.

Fluorine has a van der Waals radius of 1.35 A, more comparable to that of oxygen than
other halogens, and isosterically similar to a hydroxyl group. Fluorine has the highest
electronegativity (4.0 -Pauling scale) of all the halogens, indeed the highest in the
periodic table. This confers a strong polarity to the carbon-fluorine bond. The carbon-
fluorine bond is one of the strongest in nature (~110 kcal/mol). This very strong, high
energy bond contributes to the stability of fluorochemicals.

The high ionization potential of fluorine (401.8 kcal/mole) and its low polarizability leads
to weak inter- and intramolecular interactions. This is demonstrated by the low boiling
points of fluorochemicals relative to molecular weight, and their extremely low surface
tension and low refractive index. The partitioning behavior of perfluoroalkanes is
unusual. Some perfluoroalkanes when mixed with hydrocarbons and water form three
immiscible phases, demonstrating that perfluorinated chains are both oleophobic and
hydrophobic. A charged moiety, such as carboxylic acid, sulfonic acid, phosphate or a
quaternary ammonium group, when attached to the perfluorinated chain, makes the
molecule more water soluble because of the hydrophilic nature of these charged moieties.
Therefore. such functionalized fluorochemicals can have surfactant properties. Typically,
the presence of these charged groups on short chain perfluorinated compounds (<C6)
noticeably increases the solubility of the compound in water.

Physical data available on fluorochemicals at 3M have been principally those parameters
needed for quality control use and material handling, Table 2 summarizes the physical
data for low molecular weight, POSF-based fluorochemical products that have been
developed for use on Material Safety Data Sheets (MSDS).

Some of these perfluorochemical products are primarily used as surfactants; others are
primarily used as intermediates in the formation of polymeric or oligomeric products.
Some of these low molecular weight fluorochemicals are also likely intermediates in the
degradation of polymeric compounds. Some can also result from environmental
transformation of other low molecular weight fluorochemical products. It is important to
remember that these data were obtained using products that were not highly refined, and
products may have more than one fluorochemical component. Some may have
nonfluorochemical components that enter into determination of the values. Because of
improvements in analytical techniques and product refinement, these data are in the
process of being replaced by better quality data.

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Table 2. Physical Data on Fluorochemical Products
(Developed for Use on MSDS Sheets)

Source: MSDS Sheets
Abbreviations: N/D: not determined; N/A: not applicable;

*measured at Imm Hg

#measured at 2 mm Hg

~! approximately

Product Principal boiling | vapor vapor evap rate | solubility | Specific | pH
Use Fluorochemical pt (b) pressure | density | BuOAc | in Grav.
melting | mmHg | calc. =] water Water=1
pt, (m) calc. @20°C
“Cc @20°C | Air=1
Intermed. | POSF 154b <10 >1.0 <1.0 neglig ~1.8 N/A
Intermed. | N-MeFOSE alcohol 75-95m | N/D N/D N/D neglig ~1.7 N/A
Intermed. | N-EtFOSE alcohol ~118b* | <10 >1.0 <1.0 neglig ~1.7 N/A
Surfactant | N-EtFOSA ~110 b# | <10 >I N/D neglig 1.6 N/A
~ 90m
Intermed. | N-EtFOSEA ~150b* | <10 >1.0 <1.0 nil ~1.5 N/A
Intermed. | N-EtFOSEMA ~150b* | <10 >1.0 <1.0* neglig ~1.5 N/A
Surfactant | PFOS NH,’ salt ~ 82b | ~34 ~1.0 <1.0 moderate | ~1.1 ~7
Surfactant | PFOS Li salt ~100b N/D <l complete | ~1.1 6-8
Surfactant | PFOS K salt N/A N/A N/A N/A slight ~0.6 7-8
Surfactant | PFOS DEA salt ~98b ~3) ~0.62 <1.0 complete | ~1.1 ~7
Surfactant | PerfluoroC10 sulfonic | ~96b ~16 ~1.08 <l moderate | 1.08 8.5-9.5
acid, NH,’ salt
Surfactant | Glycine derivative of | ~100b | ~18 ~0.87 <1.0 complete | ~1.3 ~I1
FOSA
Surfactant | N-EtFOSE alcohol, 210b ~18 0.64 <] apprec 1.31- 5.5-8.4
ethylene oxide adduct 1.34

Additional physical data were developed in the mid-1970s and early 1980s on a few, high
volume products. Typically these data are related to developing an understanding of
environmental fate, e.g. data on soil mobility and partitioning coefficients. They are
summarized in Table 3. 3M has evaluated these data for reliability and the reliability
codes are included as part of the table. Progress in analytical techniques has significantly
improved the reliability of current data compared to the reliability of these historical data.
Current physical/chemical data are found in Table 4.

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Table 3. Historical Physical/Chemical Data on Fluorochemical

Products Related to Environmental Fate

The reliability code which follows the test value in parentheses is interpreted as follows:

(1A) Study used published test guidelines or well-documented procedures. Where applicable,

concentrations were measured. All quality control data were acceptable.
(1B) Results were obtained by mathmatical estimation.
(2) Study meets all the criteria for quality testing, but has one or more deficiencies.

A. Concentrations NOT measured--parameter determined via indirect measurement.

B. Analytical methodology questionable.
(3) Study does not meet criteria for quality testing due to
A. Demonstrated weaknesses in experimental procedures.

B. Insufficient methodology description.

C. Unacceptable quality control.

(4) Study data are available only as summaries. Original reports unavailable.

N/D= not determined
Product Solubility | octanol/water | log n- soil organic Vapor
Principle in partition octanol/water | adsorption carbon pressure
FC water coefficient partition coefficient adsorption
mg/L coefficient (K) coefficient
(Kee)
PFOS K* salt 1080 (2A) 10 (2B) | 1 0.99 66 N/D
(2B) (2B) (2B)
N-MeFOSE 0.82 56,800 (2B) | ND 77 3,500 N/D
alcohol (2B) (2B) (2B)
N-EtFOSE 0.05 6,600,000 3.60 330 17,800 1.22 mmHg (1B)
alcohol (2B) (4) (1B) (2B) (2B) 0,5Pa@20°C (1A)
N-EtFOSEA 0.89 (2B) | N/D >6 (2B) N/D N/D 6.0 x 10° Pa (1A)
POSF Lest(2A) | N/D /D N/D N/D 1.6 torr@20°C (4)
N-EtFOSA N/D N/D N/D N/D N/D 0.16 Pa@20°C
(1A)

Historically, formulated products containing other components and residuals rather than
pure perfluorochemicals were used to collect physical/chemical data. While most of the
products above consist largely of one active fluorochemical component, the values
obtained for the product are not likely those for the purified fluorochemical alone.

Computer models used in conjunction with empirical sampling can be used to predict
environmental fate and transport of these substances. Existing models can require the
following physical/chemical data for operation: molecular weight, boiling/melting point,
pK,, octanol/water partition coefficient, vapor pressure, solubility, Henry’s law constant,
density, evaporation rate, heat of vaporization, bioconcentration factor, and degradation
mechanisms in air and water (hydrolysis, photolysis, and biodegradation). Precise values
for the parent fluorochemical compound, its intermediates, and the end degradation
product(s) are essential for comprehensive predictions about environmental fate and
transport.
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3M is developing the missing physical/chemical data on individual fluorochemicals with
the assistance of several consultants. While laboratory studies are underway on
physical/chemical properties of PFOS, EtFOSE alcohol and MeFOSE alcohol, models are
being developed to estimate the physical/chemical properties of other sulfonated
perfluorochemicals. The data are being determined using the Guidelines for the Testing
of Chemicals developed by the Organization for Economic Co-operation and
Development (OECD) for physical/chemical testing (3) where available. Where possible,
melting points, boiling points, vapor pressures, dissociation constants, water solubility, n-
octanol/water partition coefficients, air/water partition coefficients, and soil
adsorption/desorption will be determined. This information is needed for both
environmental fate models and manufacturing emission models. Current modeling
efforts are hampered by lack of data on physical/chemical properties.

Data are being collected according to Good Laboratory Practice (GLP) standards. The
air/water partition test is non-standard. This test protocol was developed jointly by 3M
and an outside expert. Results will be reviewed by several technical experts, both within
the 3M Environmental Laboratory, and outside the company.

3M is generating the information on soil sorption/desorption characteristics as non-GLP,
screening studies. These data will aid in the evaluation of the transport process and
partitioning. For example, will a fluorochemical be retained by the soil matrix or remain
in the water phase? The bioconcentration potential of PFOS and EtFOSE alcohol will be
examined through empirical testing that determines the extent of the uptake of these
chemicals by fish. Work on degradation including hydrolysis, photodegradation and
biodegradation is described in another section. (See Environmental
Transformation/Degradation.)

The physical/chemical testing is proceeding in order of PFOS, EtFOSE alcohol, and
MeFOSE alcohol. The results to date are reported in Table 4. The inability to determine
an octanol/water partition coefficient makes it difficult to do predictive modeling.

Table 4. New Physical/Chemical Testing Results on PFOS,
potassium salt

Parameter Results

Solubility: pure water 570 mg/L

Solubility: fresh water 370 mg/L*

Solubility: unfiltered sea water 4-5 mg/L* estimated
Solubility: filtered sea water 25 mg/L*

Vapor Pressure 3.31 x 10% Pa @20°C
Melting Point > 400°C

Boiling Point not calculable

Octanol/ Water Partition (K,,,) not calculable; three phases
Air/Water Partition Coefficient 0(<2 x 10°)

*Data developed in support of other studies; not developed using GLP standards.

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The methods used in these current physical/chemical tests will provide values reported in
consistent formats that are internationally familiar and accepted. This standardization

will aid in the review and comparison of data on individual fluorochemicals and in model
operation and prediction. The data will contribute to analytical method development and
overall improvements in sample handling, shipping and storage as well as manufacturing.

5.0 Analytical Test Methods for Fluorochemicals

Procedures for detecting and identifying fluorochemicals in the environment require a
very high level of technical expertise. Most general analytical methods do not provide
enough sensitivity or selectivity. The complex mixture of possible components in a
product, the multiple matrices in which they could reside (e.g. the atmosphere, soils,
surface water, groundwater, wastewater, different animal tissues, different animal species,
plant species, foods, etc.), and trace level detection require selective extraction and
diverse analytical techniques.

Each fluorochemical requires a unique analytical methodology. Separate methods may
be needed for every matrix. Validation of each method is time intensive. Often,
standards are not available. Reliable quantitative methods for extraction, separation and
identification have been developed only within the last few years. Prior to that, relatively
insensitive and non-specific analytical methods, such as “total organic fluoride (TOF),”
were used.

The analytical technology used in extraction, separation, identification and quantitation
includes combinations of:

- High Performance Liquid Chromatography (HPLC);

- High Pressure Solvent Extraction (HPSE);

- ElectroSpray Tandem Mass Spectroscopy (ESMSMS);

- Gas Chromatography (GC) with a Flame Ionization Detector (FID),
a Mass Spectrometer (MS),
a Photo Ionization Detector (PID), or
an Electron Capture Detector (ECD)

~ HPLC-Quadrapole- Time Of Flight-mass spectrometer (QTOF)

For example, analysis of PFOS extracted from tissues requires ESMSMS analysis. This
technique focuses quantitation on three secondary ions of one primary ion at a specific
HPLC retention time.

To provide positive identification of target analytes in complicated matrices, the 3M

Environmental Laboratory uses a quadrapole time-of-flight mass spectrometer. The
instrument provides high mass accuracy (to 0.0005 amu) and so is useful in identifying

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fluorochemical metabolites and intermediates for which standards are not available.
Compound identification is based on reasonable HPLC retention time as compared to
standard compounds of similar structure, reasonable interpretation of fragment ions
associated with the primary ion, interpretation of the accurate mass spectrum, and
agreement between the experimental and theoretical molecular weight (+ 0.0005 amu).

The addition of new technology has permitted 3M analysts to increase the numbers of
sulfonated perfluorochemicals that can be identified, expand the matrices in which they
can be detected, and lower the levels at which they are detected. The technology has
expanded the volumes of analyses that can be done. Nonetheless, capacity limits require
analyses to be prioritized. When samples cannot be analyzed soon after collection, care is
taken to store the samples appropriately for the matrix and the analytical method, both to
prevent sample deterioration and contamination.

3M now has in place several methods for analysis of sulfonated perfluorochemicals in
several matrices. The methods produce data of varying quality. They may be used in
combination to produce test data, The method performance can be categorized as
follows:

1. Quantitative methods that have been validated by studies conducted according
to Good Laboratory Practices (GLP). These exist for analyses of samples of
blood, liver, and several animal tissues of certain species, drinking water, and
certain types of food.

2. Quantitative methods that typically are based on methodologies that have
undergone significant analytical characterization during development. These
methods are validated by extensive quality control testing, but validation
studies may not have been conducted according to GLP requirements. These
exist for wastewater, sludge, and air, for example.

3. Semi-quantitative methods that typically are based on the quantitative
methods but for which validation studies are lacking or quality assurance
cannot be demonstrated because, for example, standards are unobtainable or
sample matrix is extremely limited.

4, Screening methods that typically are under development or a result of
exploratory studies. These methods yield only qualitative data, i.e. they
reliably detect the presence or absence of an analyte.

Method development is continuing, not only at the 3M Environmental Laboratory but
also at independent laboratories in consultation with 3M Environmental Laboratory
scientists. For some matrices, the detection limits sought are at lower levels. Method
validation of low level analyses may be confirmed at a university or other contract
laboratories, as appropriate. When samples are sent to consulting laboratories, 3M
supplies the methodology or shares expertise to develop the method. Quality assurance is

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required, along with method validation and oversight at levels comparable to those used
in the 3M Environmental Laboratory.

Continual improvements are sought in analytical methods as the ability to detect trace
quantities is essential for a number of reasons such as: screening laboratory supplies and
environments prior to initiating toxicity testing, for detecting environmental exposure, for
determining sources of perfluorochemicals, and for understanding perfluorochemical
metabolism kinetics.

6.0 Sources of Fluorochemicals

A few fluorochemicals occur naturally in the biosphere, produced by biological and
geochemical processes. Several green plants produce monofluoroacetic acid
(CH,FCOOH). Some fungi produce monofluorinated organics, All fluorochemicals
produced biologically contain only one fluorine atom. Volcanoes and other geological
processes produce tetrafluoroethylene, sulfur hexafluoride, perfluoromethane and some
chlorofluorocarbons in small quantities.

Most fluorochemicals in the environment are present as a result of human manufacture
and use. Releases of fluorochemicals into the environment can occur at each stage of the
fluorochemical product’s life cycle. They can be released when the fluorochemical is
synthesized, continue during incorporation of the fluorochemical into a product, during
the distribution of the product to users, during the use of the product by consumers, and
during disposal practices at all of these stages.

3M is using a two step approach to estimate environmental releases of fluorochemicals.
The initial efforts have focused on determining waste generated; the second step will
focus on determining releases. This two step approach is necessary since not all waste
produced will result in a release to the environment. Much of the waste that is generated
is destroyed through treatment or otherwise actively managed to prevent release into the
environment. Efforts are also being made to further tighten such controls.

3M has estimated waste generation from each of the following life cycle stages: the
manufacturing processes, the supply and distribution chains, customer uses and
product/waste disposal.

For ease in comparing waste stream data, wastes are described in term of "PFOS
equivalents." PFOS equivalents are the weight of C,F,,SO, present in a sulfonated
perfluorochemical product. It is the mass of PFOS molecules that would be formed in the
breakdown of the product. The assumptions of complete breakdown to PFOS of each
sulfonated perfluorochemical product, in the year in which the product was sold, are
unlikely "Worst-case" assumptions. Various degradation testing finds a broad range of

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product degradation rates. Some polymeric products appear to be quite stable in the
environment, with long half-lives; other polymers hydrolyze quickly.

6.1 Manufacturing Waste Streams

The assessment of the release of sulfonated perfluorochemicals into the environment
begins with manufacturing waste generation. Some waste streams, such as wastewater
discharge or disposal of off-spec products, can be anticipated and controls provided.
Other waste can be generated during any of the steps required to produce the
fluorochemicals and manufacture the product.

The greatest production of the parent fluorochemical product, POSF, occurs at the
Decatur, Alabama plant. Here POSF is created in electrochemical cells and undergoes
numerous steps to convert it into final products. Salts of PFOS are also manufactured at
the facility. Because of its production volume, the Decatur facility has been the focus of
manufacturing waste stream studies. Understanding waste generation and how wastes are
managed and disposed of provides a better understanding of potential releases into the
environment. That understanding will help to identify opportunities for reductions in
such releases.

The manufacturing process for sulfonated perfluorochemicals is complicated. There are
more than 600 intermediate manufacturing steps associated with the production of POSF
and POSF-based products. This translates into hundreds of process steps that require
venting or that generate wastewater or solid waste. Although the manufacturing process
attempts to capture, reuse, and recycle most fluorochemicals as desired product material,
until recently, the unique chemistries created in each step of the process could not be
analyzed precisely to confirm composition and to quantify amounts. The manufacturing
process is dynamic, with rapidly changing matrices and many process steps. Ongoing
process optimization activities continuously change the waste stream profile.

Progress has been made in analytical techniques. In 1997, analytical laboratory
techniques and methods could quantitatively identify the presence of only one
fluorochemical analyte in a wastewater matrix. In 1999, improved analytical techniques
and methods were developed for additional fluorochemical analytes in a wastewater
matrix.

Advanced field monitoring technology has been developed based on Fourier Transform
Infrared spectroscopy (FTIR). This field tool has been used to detect where emissions to
air are occurring during the manufacturing process and to evaluate whether a process
change or a control technology can decrease the release.
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As better analytical techniques become available, efforts are being made to:
- characterize the major manufacturing processes generating fluorochemical
waste streams;
- evaluate the effectiveness of fluorochemical removal technologies; and
- provide better estimates of the amounts and kinds of fluorochemicals released to
the environment from manufacturing processes and from waste treatment and
disposal.

Information currently available on waste streams generated during manufacturing
processes at Decatur is derived from engineering calculations, air emissions modeling,
and limited testing. An overall site materials balance was developed in the mid- 1990's
using the amount of POSF-based solids initially created in the electrochemical cell and
the amount of POSF contained in final products sold. The difference was an estimate of
total waste streams generated during processing. The emission factors derived from this
balance are used to calculate waste streams from production throughput. They are the
basis for the estimates in Table 5. These estimates derived from the material balance are
not precise, as this methodology can produce only rough approximations.

The estimates in Table 5 reflect the most current information available and combine data
derived from several sources: information from the mid-90s site balance, wastewater
testing, waste disposal records, process models and supplemental information from 1997,
1998 and 1999. Several changes in waste disposal and processing have been
implemented since the mid-1990s in order to reduce potential releases to the
environment. Wastewater sludges that were once land applied on site are now sent toa
municipal landfill for disposal. Off-spec materials that were discharged to wastewater are
now shipped off-site to be incinerated.

Table 5 helps to demonstrate the vast difference between volumes of wastes generated
and volumes of releases to the environment, since the vast majority of wastes sent to
incineration are destroyed in the incineration process and most material sent off-site to
landfills will be effectively managed to prevent release to the environment.

Table 5. Estimated 1998 Wastes Generated (in PFOS Equivalents) at the
Decatur Manufacturing Plant

Waste Type Estimated PFOS Equivalents, Ibs
Air Emissions 19,000
Wastes sent off-site to Incineration 657,000
Wastes sent off-site to Landfills 380,000
Discharge to River after Wastewater Treatment 10,000
Total Wastes 1,066,000

Note: The 10,000 Ibs/yr of PFOS equivalents in the discharge to the river are estimated releases to the
environment after wastewater treatment, not the lbs/yr generated prior to treatment.

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More explanation of the estimates and efforts currently underway in air, wastewater and
waste management follows.

6.11 Waste Stream Characterization

Updating material balances for the manufacturing process is an ongoing effort. Today
process engineers use a model of process steps to calculate air emissions. New
information is being compiled to aid with model operation and waste calculations. The
effort to determine physical/chemical properties for sulfonated perfluorochemicals will
improve model inputs and waste stream calculations. Analytical technology is improving
understanding of process chemistry

Data from the process engineers’ available material balances in the plant's reporting
system have been used to supplement the earlier site balance in estimating air emissions.
Initial reports from this system indicate that most site waste and air emissions result from
fewer than 10 key steps in the early stages of POSF production. Process experts are
examining these steps for ways to reduce or eliminate the impurities and wastes generated
in the steps.

In 1999, the Decatur plant installed a discotherm unit which heats the process materials,
vaporizing and capturing the fluorochemicals. It will significantly reduce the
organofluorides in the wastewater. This technology will operate to reduce emissions and
waste at the source. It will make it easier to segregate waste streams and recycle
fluorochemical wastes back into the process.

6.12 Air

3M engineers have reviewed specific process steps to determine what air emissions
testing is feasible and appropriate. Testing of complex batch-processing systems is
difficult due to quickly changing process conditions, venting pressures, and difficulty in
isolating processes; however, characterization testing may be possible. The technical
feasibility of performing this testing for two major processes is now under evaluation.
Any emissions testing will require modifications to process vents and mitigation of
potential safety hazards. About 80 separate venting points are associated with the
equipment used to make sulfonated perfluorochemicals.

6.13 Wastewater

Analytical methods have been developed during the past year to better characterize the
wastewater discharge from the site. The first testing of wastewater before and after
treatment for specific fluorochemicals occurred at Decatur early in 1998. The testing was

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limited and reflected operating conditions for a relatively short period of time (24 hour
composite samples of influent and effluent for one week.) Some of the compounds that
were identified in the wastewater were: a diester of ELFOSE alcohol, EtFOSE alcohol,
MeFOSE alcohol, PFOS, FOSA, PFOSAA, PFOA and PFHS.

In 1998 an interim carbon adsorption treatment system was installed as part of
wastewater treatment. Data for the effluent estimate in Table 5 reflects this change. This
treatment system treats the largest single source of fluorochemical-containing wastewater
in order to remove PFOS and other sulfonated perfluorochemicals from the wastewater.
Comparison of the results from sampling done in February 1998 with sampling done in
the end of 1998 indicates the quantity of PFOS discharged to the Tennessee River
declined by about half. In addition to the carbon adsorption system, in-process
operational changes were made in off-spec product discharge procedures that also
contributed to the reduction in PFOS content of the discharge to the river.

The carbon system has been incorporated as a permanent upgrade of the wastewater
treatment system. Monitoring indicates that with proper operation, carbon adsorption
removes better than 99% of PFOS. Removal efficiency of other sulfonated
perfluorochemicals varies, but the treatment appears to provide a high degree of removal
for most. A number of wastewater streams currently going to sewers are in the process of
being diverted to thermal treatment facilities for disposal. This will result in a reduction
in the values listed in Table 5. 3M has conducted an extensive review of state-of-the-art
technology for wastewater treatment. Various upgrades are currently being evaluated.
The long term goal of wastewater treatment at the plant is to utilize source control and
end-of-pipe treatment to remove nearly all sulfonated perfluorochemicals from
wastewater prior to discharge to the river.

6.14 Solid Waste

An effort to identify all waste streams and their disposal methods is underway. Existing
waste tracking is done on a site basis, so it is difficult to distinguish the particular streams
with POSF chemistry. The mid-1990s emission estimates did not distinguish final
disposal of the material lost from production, so site records were used in combination
with the existing emission estimates to create the current picture of potential releases
resulting from disposal.

A review of plant records for 1998 has been completed to determine primary waste
disposal locations for the site. According to Decatur plant records, 63% of the
fluorochemical containing wastes are sent to incinerators, 33% of the wastes are disposed
in hazardous waste landfills and 4% in non-hazardous waste landfills.

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6.2 Supply Chain Waste Streams

Using sales data, 3M identified key products that contain a majority of the fluorochemical
solids used in products. These products represent 89% of PFOS-equivalents sold by 3M
in 1997 in the United States. Most commonly, these products were sold to commercial
users who applied them or incorporated them into their products.

Using the information developed from sales, 3M estimated customer and end user waste
streams (Table 6). These estimates are imprecise and based on several assumptions, but
provide qualitative information. Using the chemical formula for PFOS, the
fluorochemical solids were converted to "PFOS equivalents" for ease in estimating and
comparing total losses of sulfonated perfluorochemicals and in comparing losses. The
assumptions of complete breakdown to PFOS of each sulfonated perfluorochemical
product, in the year in which the product was sold, are unlikely "Worst case" assumptions.
Product waste stream estimates are based on conservative, worst case assumptions about
the generation of waste streams at supply chain facilities. These are often based on
operator experience or engineering estimates rather than laboratory tests and can result in
wide ranges in waste stream calculations. In estimating wastes, these data do not include
loss of product residuals in the waste streams because information on the properties of
residuals and processes at supply chain facilities and end user locations is inadequate to
estimate this loss.

Initial estimates associate waste streams generated from uses and disposal of the products
by customers of each business unit. These estimates are helping to focus efforts in
improving customer stewardship practices and 3M product reengineering. As is evident,
most of the waste generated is in the form of solid waste.

Table 6. Customer and End User Waste Stream Estimates,
PFOS equivalents, Ibs in 1997

Waste Stream Supply Chain Use Disposal

Air 2,600 3,300 0
Wastewater 112,000 181,000 0
Solid Waste 59,000 377,000 1,262,000

6.3 Releases from Waste Treatment and Disposal Methods

3M and its consultant are gathering information on treatment and waste handling at
several landfills and wastewater treatment plants which receive wastes containing
sulfonated perfluorochemicals from the supply chain facilities and 3M manufacturing

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facilities. Information is also being compiled on some of the largest wastewater treatment
facilities and landfills in the United States in order to estimate the potential
perfluorochemical releases to the environment from municipal disposal facilities not
associated with the supply chain or manufacturing.

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Incineration is a favored disposal method because of its high rates of destruction of
sulfonated compounds. 3M and its consultant are further evaluating the effectiveness of
incineration for this purpose. The basic bond breaking chemistry of thermal destruction
of POSF-based fluorochemicals, the destruction efficiencies of various
technologies/situations such as municipal incinerators, and the products that could result
from incomplete combustion are elements of the study. The study involves a review of
3M and external literature to compile information on the formation and properties of
thermal transformation products of sulfonated perfluorochemicals.

Modeling will be used to determine to the extent practical, the releases to the
environment from the amount of material sent to incineration, wastewater treatment

plants, and landfills.

The goals of the life cycle release studies are:

to identify important fluorochemicals based on volume of release, mode of
release and chemistry:

to provide values for use in modeling the distribution of fluorochemicals in the
environment;

- to determine sampling sites and substantiate sampling results;

to predict which fluorochemical releases may result in exposure to humans and
the environment; and

~ to identify fluorochemicals that require further study as to their transport, fate
and exposure potential.

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7.0 Environmental Transport and Distribution

The transport and fate of chemicals in the environment depends on many factors but
principally on the interaction between environmental conditions (e.g. water, temperature,
sunlight), and chemical properties (e.g. partitioning and reactivity). In the environmental
area, eleven important fate and transport mechanisms for sulfonated perfluorochemicals
have been identified for further study. These are:

Partitioning between air and product, i.e. volatilization from product to air;
Indoor air deposition;

Accumulation on airborne particulates;

Fate and transport to the stratosphere;

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Accumulation at the surface water microlayer;

Degradation (includes hydrolysis, photolysis and biodegradation);
Dissociation in water;

Uptake in plants;

Uptake in fish;

Uptake in birds;

Efficiency of wastewater treatment systems.

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All of these fate and transport mechanisms have been linked to models. Modeling uses
mathematical equations to simulate and predict real events and processes. Many types of
models will be considered for use in this effort to evaluate sulfonated perfluorochemicals.
Simple models of ecosystems, indoor air, and treatment systems (wastewater, landfills)
are being used to screen for possible fate mechanisms, possible exposures, and possible
sample detection limits, For example, one preliminary screening model suggests that top

trophic level species such as fish eating birds and sea mammals should be examined.
This finding was incorporated into the design of the biosphere sampling plan.

Chemicals differ greatly in their behavior. The major differences in behavior of organic
chemicals in the environment are due to physical-chemical properties. Although
laboratory studies are underway on physical/chemical properties of PFOS, EtFOSE
alcohol and MeFOSE alcohol, models are being developed to estimate the
physical/chemical properties of other sulfonated perfluorochemicals. This will reduce the
time and testing required to gather these data for use in environmental fate models.

Fugacity is a concept that is used to describe the tendency of a compound to migrate in
and between one environmental medium and another. Different media include air, water,
soil, sediment, and biota, all of which together compose a dynamic, interactive system--
an ecosystem. Predictions about movement of a chemical must incorporate both its
physical/chemical properties and the environment the chemical is in. For example, a low
vapor pressure does not mean a chemical is not present in air. It may evaporate
appreciably from water despite a low vapor pressure if it has low solubility in water. By
entering the physical-chemical property data on a chemical into a fugacity model of a
generic or specific environment, it is possible to estimate general features of a chemical's
likely behavior and fate. The output of these calculations can be presented numerically
and pictorially. (6)

Fugacity models will be used to predict fate and transport of sulfonated
perfluorochemicals. Existing fugacity models typically are based on experience with
chlorinated organics. An internationally recognized modeling expert is developing/
adapting models to consider the unique properties of fluorochemicals. The goal of this
modeling effort is to have a multimedia model or models to predict the fate of sulfonated
perfluorochemical products and associated byproducts in a variety of ecosystems.

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8.0 Environmental Sampling for Fluorochemicals

8.1 Environmental Levels

8.11 Historical Data

In the late 1970s, 3M conducted a very limited number of studies to assess the
distribution of fluorochemical constituents in the environment. Several freshwater fish
species were tested for a number of fluorochemical compounds. In reviewing the data
obtained from these studies in context of the current knowledge of the behavior of these
materials, 3M has concluded that these historical data are highly questionable and may be
misleading. Therefore, they are not included in this paper. The sections following
present more reliable data and information collected using validated sampling and
analytical methodologies.

8.12 Recent Analyses of Wild Birds and Fish

In analysis in 1999 of the plasma of ten fish eating birds, albatross nestlings at Midway
Island in the Pacific Ocean and eagle nestlings in Minnesota and Michigan, PFOS was
detected in each of the samples from eagles. The samples were collected in 1989, 92, and
93 by Dr. John Giesy of Michigan State University as part of other surveys. Three of the
albatross adults showed no detectable levels of PFOS (< 1 ppb detection level).
Detectable, but not quantifiable levels of PFOS were found in the remaining albatross
samples, both collected from birds less than a year old. All albatross samples were
collected in 1992-93. See Table 7. These data are semi-quantitative, screening quality.
As only a small amount (< ImL) of plasma was available to conduct the analyses, no
matrix spikes were possible to estimate the method's recovery efficiency, but the methods
used have been characterized in other, similar matrices.

After the initial screening results on wild bird plasma, the plasma from a second set of
wild birds was examined for the presence of PFOS. (See Table 7.) The source of the
plasma was three sea eagles collected from the Baltic Sea and seven bald eagles collected
from North America. The samples were collected in 1992-93 and again by Dr. John
Giesy. PFOS was detected in all of the eagle plasma screened. These data are semi-
quantitative, screening quality. Two matrix spikes (250 ppb) prepared from eagle plasma
were extracted and analyzed. Both showed >80% recovery.
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Table 7. Levels of PFOS in the Plasma of Wild Birds

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Species Collection Date | Location Age, Gender PFOS, ppb
Bald Eagle 5 Jun 93 Lower Penn, MI 163 days, F 30
Bald Eagle 3 Jun 93 Lower Penn,MI 228, F 34
Bald Eagle 1989 Upper Penn, MI unknown Ty.
Bald Eagle 1989 Upper Penn, MI unknown 31
Bald Eagle 17 Jun 92 Voyageurs, MN 82 days, M 34
Albatross 13 Dec 92 Midway atoll 6 years BLD
Albatross 18 May 93 Midway atoll 0 BLQ
Albatross 13 Dec 92 Midway atoll 8 years BLD
Albatross 13 Dec 92 Midway atoll 15 years BLD
Albatross 18 May 93 Midway atoll 0 BLQ
Sea Eagle 28 May 93 Baltic, Sweden nestling 125
Sea Eagle 27 May 93 Baltic, Sweden nestling 93
Sea Eagle 23 May 93 Baltic, Sweden nestling 215
Bald Eagle 26 Jun 92 North America nestling 165
Bald Eagle 28 Jun 93 North America nestling 198
Bald Eagle 23 Jun 92 L. Superior ONT nestling, F 494
Bald Eagle 5 Jun 92 North America Adult, F 1047
Bald Eagle 26 Jun 92 Devil's Is., WI nestling, F 226
Bald Eagle 22 Jun 92 Mud Creek,OH nestling, 371
Bald Eagle 8 Jun 92 Carroll Twp, OH nestling 374

BLQ= Below Limit of Quantitation (10 ppb)
BLD= Below Limit of Detection (approximately | ppb)

Following the bird plasma studies, sixty liver samples collected by the U.S. Fish &
Wildlife Service from various species of birds were analyzed. The dead birds were
collected at a variety of sites across the United States. They were not part of a controlled
research study, but were selected for their location and diet. All but sandhill cranes are
fish eating species. The sandhill cranes are an insect eating species. The purpose of the
analyses was to determine if the presence of PFOS could be detected in these sample
matrices. 3M believes that these sets of data are insufficient to draw conclusions with
any statistical merit. The PFOS data in Table 8 are semi-quantitative, screening quality,
with a margin of error estimated at + 30%. The limit of quantitation for PFOS is 6 ppb.

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Table 8. Analysis of Wild Bird Livers.

BLQ= Below limit of quantitation (6 ppb)

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Sample No. | Species Location PFOS ppb
] Sandhill Crane Kearney, NE 41

2 Sandhill Crane Kearney, NE BLQ
3 Sandhill Crane Kearney, NE BLQ
4 Sandhill Crane Kearney, NE BLQ
5 Sandhill Crane Kearney, NE BLQ
6 Sandhill Crane Chochise Co., AZ BLQ
7 Sandhill Crane Chochise Co., AZ BLQ
8 Sandhill Crane Chochise Co., AZ BLQ
9 Sandhill Crane Chochise Co., AZ BLQ
10 Sandhill Crane Chochise Co., AZ BLQ
ll White Pelican Calipatria, CA 35
12 White Pelican Calipatria, CA 1293
13 White Pelican Calipatria, CA 29
14 White Pelican Calipatria, CA 15
15 White Pelican Calipatria, CA 153
16 Brandt's Cormorant San Diego, CA 53
17 Brandt's Cormorant San Diego, CA 46
18 Brandt's Cormorant San Diego, CA 46
19 Brandt's Cormorant San Diego, CA 80
20 Brandt's Cormorant San Diego, CA 2055
21 Dbl. Crested Cormorant St. Martinville, LA 59
22 Dbl. Crested Cormorant St. Martinville, LA 145
23 Dbl. Crested Cormorant St. Martinville, LA 333
24 Dbl. Crested Cormorant St. Martinville, LA 76
25 Dbl. Crested Cormorant St. Martinville, LA 170
26 Brown Pelican Miami, FL 106
27 Brown Pelican Miami, FL 134
28 Brown Pelican Miami, FL 125
29 Brown Pelican Miami, FL 159
30 Brown Pelican Miami, FL 48
31 Sandhill Crane Valenica Co., NM BLQ
32 Sandhill Crane Valenica Co., NM BLQ
33 Sandhill Crane Socorro Co., NM BLQ
34 Sandhill Crane Socorro Co., NM BLQ
35 Sandhill Crane Valenica Co., NM BLQ
36 Dbl. Crested Cormorant Naples, FL 212
37 Dbl. Crested Cormorant Naples, FL 10
38 Dbl. Crested Cormorant Naples, FL 52
39 Dbl. Crested Cormorant Naples, FL 100
40 Dbl. Crested Cormorant | Naples, FL 152
41 Brown Pelican Calipatria, CA 16
42 Brown Pelican Calipatria, CA 36
43 Brown Pelican Calipatria, CA BLQ
44 Brown Pelican Calipatria, CA 6

45 Brown Pelican Calipatria, CA 32

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= Sample No. | Species Location PFOS ppb
‘eos
46 Great Blue Heron St. Martinville, LA 188
47 Great Blue Heron St. Martinville, LA 59
48 Great Blue Heron St. Martinville, LA 1061
49 Great Blue Heron St. Martinville, LA 261
50 Great Blue Heron St. Martinville, LA 173
51 White Pelican Fallon, NV 141
$2 White Pelican Fallon, NV 362
53 White Pelican Fallon, NV 927
34 White Pelican Fallon, NV 133
55 White Pelican Fallon, NV 291
56 Brown Pelican Ft, Lauderdale, FL 194
57 Brown Pelican Ft. Lauderdale, FL 75
58 Brown Pelican Ft. Lauderdale, FL 71
59 Brown Pelican Ft. Lauderdale, FL 31
60 Brown Pelican Ft. Lauderdale, FL 91
In addition to wild birds, some fish from the wild were tested for the presence of PFOS.
The fish were collected in 1997-98 from sites in Michigan as part of surveys conducted
by Dr. John Giesy. They were stored frozen and analyzed in 1999. Six species were
tested. Low levels of PFOS were detected in four of the twelve samples. Since no
sample matrices were available for matrix spike studies, these data are of screening
¢ = quality only. No clear meaning can be drawn from the data. They are being used to
— develop sampling programs. Table 9 reports the findings.
Table 9. PFOS Screening in Fish.
BLD= Below Limit of Detection (approximately 7ppb)
BLQ=Below Limit of Quantitation (approximately 70 ppb)
Sample Species Location Test Matrix Test Result
No.
l Carp Pine River, MI whole body BLD
2 Lake Trout Siskiwit Lake, Isle Royale, MI whole body BLD
3 Lake Trout Siskiwit Lake, Isle Royale, MI whole body BLD
4 Lake Trout Pine River, MI whole body BLQ
5 Lake Trout Lake Superior whole body BLD
6 Walleye Detroit River, MI whole body BLD
7 Ciscowet Lake Superior, Marquette, MI muscle BLD
8 Brown Trout Detroit River, MI muscle BLD
9 Brown Trout Rouge River, MI liver BLQ
10 Channel Catfish Lake St. Claire, MI muscle BLD
11 Channel Catfish Lake St. Claire, MI egg BLQ
= 12 Channel Catfish Lake St. Claire, MI egg BLQ
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8.13 Testing of Fishmeal Used in Rat Studies

While performing human health toxicity studies (see Perfluorooctane Sulfonate: Current
Summary of Human Sera, Health and Toxicology Data, January 1999), 3M found
"endogenous" levels of PFOS in some of the naive rats used in the studies. The levels
found in the rat livers ranged from 29 ppb to 300 ppb. Livers of rats from one supplier
showed no PFOS above the detection limit of 15 ppb. Further investigation revealed
fishmeal to be an ingredient in the rat chow fed to the rats in which PFOS was detected.
Fishmeal was not a dietary component of the rats that had no detectable levels of PFOS.
3M developed a complex analytical method to analyze fishmeal samples collected from
different fish stock. At a detection limit of 2 ppm, PFOS was detected in three samples of
fishmeal and not detected in three samples. At this time, these data are not conclusive.

8.14 Plant Site Analyses

In March of 1998, 3M conducted screening level sampling for PFOS around the Decatur
plant. The outfall of the Decatur wastewater treatment plant is at a bay near the mouth of
Baker's Creek. Baker's Creek flows into the Tennessee River, a large river that supports
barge traffic. About 25 miles downstream is Wheeler Dam. The samples tested were of
water surface film, subsurface water and sediment. A goal of the sampling was to
experiment with sampling techniques and analytical methods. Therefore, the analytical
data are of screening quality only. Data on PFOS from the sampling are in Table 10,

Table 10. Sampling Near the Decatur Wastewater Discharge

Sample Locations:

UP! & UP2: Tennessee River, upstream of discharge

BC1: Baker's Creek below outfall

QI & Q2: Baker's Creek, downstream of discharge, in quiet waters near Tennessee River
WDI1 & WD2: Tennessee River below Wheeler Dam

UPI UP2 BCI Qi Q2 WD1 | WD2
Sub-surface water, in ppm
PFOS <.010 | <.010 0.44 | 0.025 | 0.012 | <.010 | <010
PFOS homologues <.010 | <.010 0.10 | <.010 | <.010 | <010 | <.010
Surface films, in ppm
PFOS N/C N/C 1.60 | 1.00 |028 |N/C | N/C
PFOS homologues N/C N/C 0.02 | <.010 | <.010 | N/C N/C
Sediment,in ppm
PFOS 0.177 | <.050 | 31.1 N/IC | NC <.050 | <.050
PFOS homologues <.050 | <.050 | <050 | N/C | NIC <.050 | <.050

N/C = not collected

Surface film samples were skimmed from the top of the water, at the air/water interface.

Sediment samples were collected from the river bed using an Ekman Dredge. Samples were taken at the
water collection point or, if sediment was lacking there, as close as possible to it.

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Based on this initial sampling, a more extensive sampling was conducted. Sampling
locations extended from about 10 miles upstream of the facility to 25 miles below the
facility. As a result of analytical techniques being developed to lower detection limits,
analyses of these samples is pending.

8.15 Biosphere Sampling

3M is building on recent information with advances in technology to design a program
that could detect traces of sulfonated perfluorochemicals across a range of species,
environmental habitats and geographic locations, including soil, water and organisms.
3M's approach is to use existing, scientifically recognized, sampling and data collection
programs in order to minimize the time needed to obtain information. The goal is to set
some bounds on the geographic regions where sulfonated perfluorochemicals are
currently found, identify areas that should receive more investigation, and eliminate some
general environments from further sampling in the immediate future. Key ecosystems
and species of concern surrounding manufacturing plants are being tested as well as
ecosystems remote from manufacturing and use locations.

Where possible, synoptic samples of soil, sediment, air or water are also being taken, but
the primary focus of initial studies is tissue samples from biological receptors, especially
those in upper trophic levels. The information obtained in the initial studies will be used
to determine appropriate studies for ascertaining critical pathways.

8.2 Human Exposure Levels

Studies to investigate human exposures take several approaches:

|. Environmental exposure of the general U.S. population will be assessed in
phases through a “Multi-Cities Study.” This involves field investigation of
paired cities, one with significant manufacturing or commercial fluorochemical
use, matched with a city without known significant use. The study will involve
direct sampling for dietary and environmental presence.

2. Residential exposure will be assessed through a product’s use and controlled
measurements of the product’s releases. This study will measure releases of

fluorochemical residuals and total PFOS from carpets.

3. The migration of sulfonated perfluorochemicals used in food packaging to the
food is being quantified for several foods.

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8.21 Multi-cities Sampling

The multi-cities study pairs a city having significant manufacturing or commercial use of
fluorochemical products based on customer sales with a city that does not. Initially six
cities, (three pairs) are being examined, This may be expanded, depending on initial
results. The multi-cities sampling will yield environmental distribution data as well as
data on potential sources of human exposure. The cities were selected to represent urban
locations with various levels of fluorochemical releases and various types of municipal
water supplies, The samples to be obtained, where possible, are: urban air, surface water
column and surface microlayer, sediment, river fish, drinking water intake, treated
drinking water, tap water, the influent and effluent to publicly owned waste treatment
works, sludge, and municipal landfill leachate. Additionally a "market basket” of several
food products will be sampled. These include: beef, pork, chicken, hot dogs, catfish,
eggs, milk, bread, green beans, apples from three grocery stores and, if possible, produce
from local farmers' markets.

8.22 Carpet Use Studies

The carpet study will estimate any loss of fluorochemical from normal use of carpets. If
a pilot study of carpets finds significant releases, then the study will assess human
exposure that may occur via inhalation, dermal and ingestion routes.

8.23 Paper and Packaging Studies

Results of past studies on the migration of fluorochemicals from packaging into food
have been submitted to the FDA, and FDA has cleared the use of paper and packaging
protectors for food as indirect food additives. Current work focuses on the development
of new methodologies to extract various fluorochemicals from paper and several foods,
then perform quantitative, low level analyses (< 1 ppb).

8.24 Exposure Scenarios

These scenarios will be developed using data from release, fate and distribution studies.
Their purpose is to prioritize exposure pathways for further study by developing
quantitative estimates of specific exposures under known conditions in a specific
location.

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9.0 Environmental Transformation/Degradation of
Fluorochemicals

There are many physical, chemical and biological mechanisms that operate in the
environment to transform or degrade molecules. They include abiotic mechanisms, e.g.
hydrolysis and photolysis, and biotic mechanisms, especially microbial metabolism.
Because the carbon-fluorine bond is one of the strongest in nature, with high bond
energies, its cleavage requires large amounts of energy. Most chemical and physical
processes naturally occurring in the biosphere lack the required energy. In the laboratory,
perfluoroalky!l chains are not degraded in the chemical oxygen demand (COD) test, nor in
total organic carbon (TOC) analyzers that use very reactive chemical and ultraviolet
degradation mechanisms. Combustion does destroy organic fluorochemicals and
degradation is found in high temperature TOC analyzers.

In perfluorinated molecules, the fluorines surround the carbon chain completely,
shielding the carbon-carbon bonds from attack. The fluorine atoms confer a “rigidity” to
the conformation of the molecule. This rigidity could make it difficult for the molecule
to join with enzymes, thereby blocking biological attack of the carbon-carbon bond. Asa
molecule becomes more fluorinated, carbon-carbon bonds, carbon-hydrogen and carbon-
fluorine bonds all typically increase in strength.

Early work with perfluorochemical products using standardized screening tests for
degradation found little susceptibility to degradation, (See Table 11.) Fluorochemicals
lacking nonfluorinated organic portions produced essentially no biochemical oxygen
demand (BOD). Those with ionically bonded organics showed BODs near those
expected from their non-fluorinated portion alone. Fluorochemical surfactants with
covalently bonded organic portions produced mixed results.

The early data on these degradability studies has been given a reliability code that follows
the test results.

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Table 11. Historical Results of Standard Degradation Tests
on Fluorochemicals

Product Principle COD BOD BOD BOD BOD Photo Other
Fluorochemical mg/Kg 5-day 10-day 20-day 28-day degra-
mg/Kg | mg/Kg mg/Kg mg/Kg dation
POSF 500-720 (4) | nil (4) nil (4) nil (4) N/D N/D N/D
N-MeFOSE alcohol | 163,000 (1) | N/D N/D nil (1) N/D nil (1) N/D
N-EtFOSE alcohol 260,000 (4) | nil (4) N/D N/D N/D nil (1) O2 uptake=
3% of ThOD;
No deg in 6
month shake
flask studies or
7 day activated
sludge studies
(2B)
N-EtFOSA 1,800 (4) | nil (4) nil (4) nil (4) N/D N/D N/D
N-EtFOSEA 240,000 (1) | 12,000 | 19,000 23,000 N/D N/D not readily (1)
(2A) (2A) (2A) biodegradable
N-EtFOSEMA 80,000 (1) 800 2,000 11,000 N/D N/D N/D
(2A) (2A) (2A)
Perfluoro C10, 1,000,000 67,000 | 600,000 | 720,000 | N/D N/D N/D
sulfonic acid, NH4 (2A) (2A) (2A) (2A)
salt
K salt of carboxylic | 462,000 <39,800 | 172,000 | 179,000 | 289,000 | N/D N/D
acid analogue of N- | (1) (2A) (2A) (2A) (2A)
EtFOSE alcohol
PFOS Li’ salt (4) 54,000 N/D N/D N/D N/D N/D N/D
PFOS K salt 4,000 nil nil nil N/D nil no degradation
(4) (4) (4) (4) (4) in Warburg 3
hr study or 2.5
month shake
flask study
(2B)
PFOS DEA salt 78,000 44,000 82,000 | N/D N/D N/D
(2A) (2A) (2A)
N-EtFOSE alcohol 1,070,000 0 N/D 107,000 | N/D N/D 40% removal
(C,H,O),,H adduct | (1) (4) (4) BiAS (3A)
PFOS NH, salt 412,000 (4) | 232,500 | 267,500 | 292,500 | N/D N/D N/D
(4) (4) (4)

COD means Chemical Oxygen Demand. It is a measure of the oxygen equivalent of the organic matter
content of a sample that is susceptible to oxidation by a strong chemical oxidant such as potassium
dichromate.

BOD means Biochemical Oxygen Demand. It is the amount of oxygen consumed by microbial processes
while breaking down a known amount of a test substance.

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ThOD means Theoretical Oxygen Demand. It is the theoretical quantity of oxygen used when the test
compound is fully mineralized. This value is calculated using the structure of the test chemical.

BiAS means Bismuth Active Substances. These are materials, such as water soluble polyethoxylates, that
precipitate with barium tetraiodobismuthate.

N/D means Not Determined.

Code meanings are:
(1) Study used published test guidelines or well-documented procedures.
Concentrations were measured, and all quality control data were acceptable.
(2) Study meets all the criteria for quality testing but has a deficiency
A. Concentrations NOT measured.
B. Analytical methodology questionable.
(3) Study does NOT meet criteria for quality testing; data have one or more flaws.
A. Demonstrated weakness in experimental procedures.
B. Insufficient description of method.
C. Unacceptable performance of controls.
(4) Data are available only as summaries; original reports not found.

9.1 Hydrolysis Studies

Hydrolysis is a major mechanism contributing to abiotic degradation of organic
molecules, although it rarely is responsible for complete degradation. The hydrolysis of
sulfonated compounds is described below.

O O
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7 + H20 == eae + HX
O O

X = halogen, OR, NR

3M is evaluating the potential for hydrolysis of fluorochemicals using EPA guidance
[Fate, Transport and Transformation Test Guidelines, Hydrolysis as a Function of pH and
Temperature |(2), and is conducting pH dependent studies of PFOS and MeFOSE
alcohol, as well as on fluorochemical monomers, to estimate half-lives. Selected
fluorochemical products are being subjected to a single temperature (50°C), variable pH
screening process. For those that demonstrate hydrolysis or a deviation form first order
kinetics, multiple pH, multiple temperature studies are planned. Hydrolysis test data are
being reviewed by an outside expert.

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9.2 Photolysis

Like hydrolysis, photodegradation is a major abiotic mechanism contributing to the
transformation of organic molecules, but rarely responsible for complete degradation.
Photodegradation occurs primarily in air, in shallow water, on soil and vegetative
surfaces. It is likely an important factor in the fate of soluble and volatile compounds,
less so for insoluble and sorbed compounds. Products and intermediates most susceptible
to photodegradation are those most likely to be used outdoors in sunlight.

Initially, the degradation that might occur in products dissolved or suspended in water is
under investigation, The first studies are using the PFOS precursors such as EtFOSE
alcohol, MeFOSE alcohol, MeFOSA, EtFOSA, and FOSA. Later studies will use POSF-
based polymers. If simple methods can be found, gas phase photolysis of volatile and
semi-volatile fluorochemical degradation intermediates will be investigated.

The preliminary results suggest that PFOS is unchanged as a result of light exposure.
However, EtFOSE alcohol, MeFOSE alcohol, ETFOSA and MeFOSA as well as a
surfactant and foamer product all appeared to undergo photolysis to FOSA, PFOA, a
hydride, and olefins. PFOS was not detected. One product, an aromatic perfluorooctane
sulfonate, did photodegrade to form PFOS.

9.3 Atmospheric Studies

Although PFOS has a low volatility, several PFOS precursors are volatile. These include:
EtFOSE alcohol, MeFOSE alcohol, MeFOSA, EtFOSA, and FOSA. When present as
residuals in products, these precursors could evaporate into the atmosphere when the
product is sprayed and then dried. Once in the atmosphere, the compounds can remain in
the gas phase, condense on particulates present in the atmosphere and be carried or settle
out with them, or be washed out with rain. The measured vapor pressure of Et-FOSE
alcohol is sufficiently high that essentially all of it is likely to be in the gas phase and not
condensed on particulate matter. Gas chromatic data suggest that other precursors are
even more volatile. The low water solubility of these compounds makes it unlikely they
washout from the atmosphere in rainwater.

Thus the rate of removal of these precursors from the atmosphere will likely depend on
their photochemical reactivity, e.g. their reaction with hydroxy] ions in the atmosphere.
How widely distributed they are locally, regionally or globally depends on the rate of
photochemical transformation to more soluble or less volatile products.

3M is examining atmospheric lifetimes of these PFOS precursors, Initially EtFOSE
alcohol and MeFOSE alcohol will be tested for reactivity with the OH radical in the gas
phase. Modeling will determine their atmospheric lifetimes and analytical work will
determine their gas-phase degradation products. Then those properties of the degradation

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products that affect removal rates from the atmosphere, e.g. solubility and vapor pressure,
will be determined. This information will be used to predict distribution of these
compounds resulting from atmospheric mechanisms.

9.4 Biodegradation Studies

Biodegradation is essential to the functioning of living systems. Natural systems rely on
living organisms, especially microbes, to break down complex organic molecules to
simple inorganic molecules that can be recycled back into the ecosystem. Some
microbial communities have demonstrated the ability to degrade some xenobiotic
compounds. During biologically catalyzed degradation of these compounds, the
degradation intermediates produced are frequently of a molecular structure that naturally
occurs, Particularly important environments for biological breakdown are: sewage
treatment systems, soils/sediments, estuaries and wetlands. Both aerobic and anaerobic
organisms play important roles in degradation. 3M is studying biodegradation using
several approaches.

9.41 Microbial Studies on Perfluorochemicals

Work at Michigan State University by Blake Key (6,7) under the direction of Dr. Craig
Criddle used a laboratory isolate of a bacterium, a Pseudomonas species, to investigate
the potential for biodegradation of fluorinated sulfonates. The researchers used model
fluorinated sulfonate compounds: difluoromethane sulfonate (DFMS), trifluoromethane
sulfonate (TFMS), 2,2.2-trifluoroethanesulfonate (TES), PFOS and H-PFOS
(1H,1H.2H,2H-perfluorooctane sulfonate).

Criddle et al. demonstrated that the microorganism degraded those fluorochemical
compounds containing hydrogen and used them as sulfur sources for growth under sulfur-
limiting, aerobic conditions. They later found that such degradation occurred in soil even
when sulfur was not limiting. The organism completely defluorinated DFMS. It used
DFMS as the sole source of sulfur, but not as a source of carbon or energy. TES and H-
PFOS were partially defluorinated. Six volatile products were detected for H-PFOS, all
containing oxygen and fluorine but not sulfur. Where the carbons were fully fluorinated,
i.e, TFMS and PFOS, no degradation was found. Criddle et al. concluded that the
transformation of fluorinated sulfonates required the presence of hydrogen at the alpha
carbon on the fluorinated alkyl chain. They theorized that when hydrogen is present at
the alpha carbon, a site for attack is provided and the carbon-sulfur bond becomes more
accessible. Perfluorinated compounds have a rigidity conferred by the fluorine
substitution and no structures that are susceptible to electrophilic or nucleophilic attack.

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9.42 Biological Transformation

When perfluorinated organic molecules do biodegrade, it is not the fluorinated portion
that is affected. Enzymes attack at non-fluorinated side chains. Rather than complete
degradation, i.e. degradation to inorganic compounds, another fluorinated molecule
results from biodegradation processes. Existing studies of metabolism appear to indicate
that for POSF-based compounds, the biological degradation halts when PFOS is formed.

C,F,,SO,-F, + H,0 ————"—"> C,F,,SO,;

POSF PFOS
C.F ,SO,-R > > > C,F SO,
POSF derivative PFOS

Once formed, PFOS has not been shown to degrade any further under any natural
conditions except combustion. Because PFOS is resistant to physical, chemical and
biological degradation, it persists in the environment, but the mechanism of accumulation
is under study.

9.43 Optimizing Conditions for Biodegradation

Past studies on fluorochemicals with hydrocarbon portions have demonstrated resistance
to biodegradation under standard test conditions, i.e. aerobic microbial degradation using
a wastewater inoculum. These studies did not examine all combinations of conditions
that could be optimized to favor the degradation of partially fluorinated chemicals.

3M is conducting new screening studies for biodegradation. These will determine if
aerobic and/or anaerobic degradation of key fluorochemicals occurs using activated
sludge, anaerobic sludge, aquatic sediments and soil. If degradation occurs, the studies
will determine to what extent it occurs and the nature of degradation products. It will
also provide information on the degree of fluorochemical sorption onto microbial sludges
and toxicity to microbes. New studies are being designed to promote degradation. They
will use enriched environments that support biodegradation, e.g. sewage, soil, sediments,
and cultures of microbes selected for biodegradation capabilities.

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10.0 Ecotoxicity Testing of Fluorochemicals

Ecotoxicology is the extension of toxicology to the ecological effects of chemicals.
Ecotoxicological studies measure the effects of a chemical substance in the environment
on indigenous populations of organisms. They provide a mechanism to estimate hazard.
Ecotoxicological data are appropriately interpreted with knowledge of the ecosystem
where the organisms live. In aquatic ecotox studies, what may be toxic under conditions
created in the laboratory, may be more or less toxic in the aquatic environment due to
factors present in the aquatic ecosystem which affect bioavailability. Also the chemical
itself may be transformed as a result of physical and biological mechanisms, including
metabolism. An accurate evaluation of the toxicity of a chemical requires knowledge of
these factors.

Sulfonated perfluorochemicals appear to produce a variety of responses in single species
tests of aquatic organisms. Different species have varied significantly in their response to
the same chemical even when using the same laboratory procedure. In ecotoxicology,
environmental concentration often substitutes for knowing the actual amount or dose of a
chemical entering an organism, but concentration and dose may not be directly related
and their relationship varies from species to species.

Basic environmental toxicity screening data are available for many sulfonated
perfluorochemicals (see Table 12), although their quality is variable. In considering the
toxicity test results, it is important to note the year of the test. Test protocols typically
were developed considering water soluble, stable and well-dispersed compounds.
Compounds such as sulfonated perfluorochemicals challenge test protocols due to their
insolubility, polymeric, or surface active nature. The older data may reflect these test
limitations. Older test protocols are not comparable to recent and current bioassays that
follow accepted, standardized test methods (OECD/USEPA).

Almost all previous testing used products which are complex mixtures and not purified
perfluorochemicals. In old tests, the sulfonated perfluorochemical product used was
likely more variable, with more impurities because manufacturing processes and product
purity have significantly improved over time. Several tests were hampered by the
insolubility of the perfluorochemical and results are expressed as greater than the
measured solubility.

Two sulfonated perfluorochemicals have more toxicity test data than others because of
their use as insecticides in ant and roach bait stations. These perfluorochemicals are N-
EtFOSA and PFOS Li salt. Toxicity data on these compounds may be found in the
disclosures filed by other registrants under the Federal Insecticide, Fungicide and
Rodenticide Control Act (FIFRA).

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3M has evaluated the reliability of its aquatic toxicity test data base. The numerical
descriptor is modeled after the reliability coding used by EPA's Office of Toxic
Substances for the AQUIRE (Aquatic Information Retrieval) toxicology data base.

Table 12. Ecotoxicity Testing on Sulfonated Perfluorochemical

Products
Pimephales promelas= Fathead minnow Lepomis macrochirus= Bluegill sunfish
Salmo gairdneri= Rainbow trout Daphnia magna= Water Flea
Selenastrum capricornutum= Green algae Microtox=Photobacterium phosphoreum
Reliability Codes:

1, Study used published test guidelines or well-documented procedures. Control performance was
satisfactory. Toxicant concentration was measured. Test water temperature, pH and dissolved oxygen were
measured,
2. Study meets all the criteria for quality testing but has one or more of the following deficiencies:
A. Nominal test substance concentration; actual concentration not measured.
B. Test water quality variables not reported or incomplete.
C. A water accommodated fraction (WAF) was used.
D. Analytical methodology was questionable.
3. Study does not meet the criteria for quality testing. Characterized by one of the following:
A. Demonstrated weaknesses in experimental procedures.
B. A static test with unmeasured concentrations was conducted in the presence of precipitate or
some undissolved chemical
C. Insufficient description of methods.
D. Unsatisfactory control mortality.

Product’s Principal Test Organism Study Type Results Year Relia-
Fluorochemical mg/L bility
Code
POSF Pimephales promelas 96 hr LCS50 >1000 84 2A
N-MeFOSE alcohol Lepomis macrochirus 96 hr LC50 >solubiliy | 79 3B
Daphnia magna 48 hr LC50 >solubiliy | 79 3B
N-EtFOSE alcohol S. capricornutum 14 day EC50 >1800 81 3B
Pimephales promelas 30 day hatch, 020 | 78 2D
growth,survival 2D
histopathology 2D
NOEC .020 78 2D
LOEC >.020
N-EtFOSA Daphnia magna 48 hr EL50 14.5 98 2A,C
48 hr EL10 7.3 98 2A,C
48 hr NOEL 5.8 98 2A,C
Pimephales promelas 96 hr LL50 206 98 2A,C
96 hr LL10 115 98 2A,C
96 hr NOEL 130 98 2A,C
Ceriodaphnia dubia 48 hr EL50 328 98 2A,C
48 hr EL10 184 98 2A,C
48 hr NOEL 216 98 2A,C
Daphnia magna 48 hr ECSO 3.2 84 3B
Pimephales promelas 96 hr LC50 34 84 3B

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Product’s Principal Test Organism Study Type Results Year Relia-
Fluorochemical mg/L bility
Code
N-EtFOSEA Pimephales promelas 96 hr LCSO >1000 84 3B
N-EtFOSEMA Pimephales promelas 96 hr LCSO >1000 84 3B
PFOS NH, salt Pimephales promelas 96 hr LC50 85 74 2A
Pimephales promelas 96 hr LC50 100 74 2A
PFOS Li salt Microtox P.phosporeum | 30 min EC50 >1000 94 2A
Daphnia magna 48 hr EC50 210 94 2A
48 hr NOEC 100 94 2A
Pimephales promelas 96 hr LCS0 19 94 2A
PFOS K salt Microtox 30 min EC10 45 91 2A
30 min ECS0 >280 91 2A
Daphnia magna 48 hr EC50 27 84 2A
28 day NOEC 7 84 2A
Selenastrum 4 day EC50 82 82 2A
capricornutum cell count
14 day EC50 95 82 2A
cell count
Pimephales promelas 30 day NOEC l 78 2D
30 day LOEC 1.9 78 2D
96 hr LC50 38 at 2A
Lepomis macrochirus 96 hr LCS0 68 78 2A
Salmo gairdneri 96 hr LC50 1] 78 2A
Daphnia magna 48 hr EC50 50 79 2A
Pimephales promelas 96 hr LCSO 29 74 2A
Pimephales promelas 96 hr LCSO 32 73 2A
PFOS DEA salt Lepomis macrochirus 96 hr LCSO 31 7 Z
96 hr NOEL 18 79 2A
perfluoroC10 sulfonic Daphnia magna 48 hr ECS0 44 92 2A
acid, NH,’ salt Pimephales promelas 96 hr LC50 4.8 92 2A
Microtox 30 min ECS50 330 92 2A
K salt of carboxylic Pimephales promelas 96 hr LC50 97 97 2A
acid analogue of N-Et- 96 hr NOEC 54 97 2A
FOSE alcohol Selenastrum 96 hr ECSO 600 97 2A
capricornutum 96 hr NOEC 216 97 2A
Daphnia magna 48 hr EC50 9.1 97 2A
48 hr NOEC 3.9 97 2A
Microtox 30 min IC50 270 97 2A
Pimephales promelas 96 hr LC50 318 81 3B
96 hr LC50 15 74 3A
N-EtFOSE alcohol Lepomis macrochirus 96 hr LC50 285 78 2A
ethylene oxide adduct Daphnia magna 48 hr EC50 1.5 78 2A

Table Key

EC50= Median Effective Concentration. It is the concentration of a test substance that causes a 50% effect
on a specific characteristic of the test organisms (e.g. immobilization of 50% of the Daphnia, reduction in
algal cell growth by 50% as compared to the controls) after a specified exposure period. It is the usual
endpoint in a toxicity test with Daphnia and other smal! organisms where death is hard to determine or in
tests where growth is measured.

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LCS0= Median Lethal Concentration. It is the concentration of a substance that kills 50% of the test
organisms exposed to it in a specified time. It is the usual endpoint in an acute toxicity test with fish.

1C50= Median Inhibitory Concentration. It is the concentration of a test substance that inhibits a biological
process of a test organism by 50% (e.g. light production, respiration) after a specified exposure period

NOEL= No Observed Effect Level

NOEC= No Observed Effect Concentration

EL=Effective Loading, LL=Lethal loading. These are used where the test substance is not completely
water soluble. A water accomodated fraction (WAF) is prepared. The test substance is loaded into water

at different loadings to prepare each test concentration. The solutions are mixed and the liquid fraction is
decanted to use as the test water.

Additional studies are underway on ecotoxicity using established OECD/EPA methods.
Initially purified PFOS and EtFOSE alcohol are being tested to determine acute and
chronic toxicity to a wide range of species. The results to date are found in Table 13.

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Table 13. New Ecotox Studies on PFOS, potassium salt

Parameter Study Type Results,
Wastewater Bacteria (OECD 209) 3 hr NOEC 1.0 mg/L
3 hr. EC50 >1000 mg/L
Inhibition @ highest conc (1000
mg/L) 39%
Senenastrum capricornutu 96 hr NOEC (growth rate) 48 mg/L
(green algae) 96 hr ErC10 65 (59-69) mg/L
96 hr. ErCS0 138 (125-149) mg/L
Daphnia magna Acute 48 hr NOEC 36 mg/L
(freshwater flea) Acute 48 hr EC10 57 (<12->99) mg/L
Acute 48 hr EC50 66 (36-99) mg/L
Acute 48 hr EC90 69 (<12->99) mg/L
21 day semi-static life cycle NOEC 13 mg/L
21 day semi-static life cycle NOEC 26 mg/L
Mysidopsis bahia Acute 96 hr NOEC 1.2 mg/L
(marine shrimp) Acute 96 hr EC50 4.0(3.3-5.0) mg/L
35 day flow thru life cycle NOEC 0.28 mg/L
35 day flow thru life cycle NOEC 0.6 mg/L
Freshwater mussel Acute 96 hr NOEC 22 mg/L
Acute 96 hr LC50 65 mg/L
Pimephales promelas Acute 96 hr. NOEC 3.6 mg/L
(fathead minnow) Acute 96 hr LC50 10 (8.8-12) mg/L
47 day early life-stage toxicity 0.33 mg/L
NOEC
47 day early life-stage toxicity LOEC 0.65 mg/L
Oyster Shell Deposition Acute 96 hr NOEC 2.1 mg/L
Acute 96 hr EC50 (Solubility limits >3.3 mg/L
precluded EC50)
Inhibition @ highest conc (3.3 mg/L)
28%
Avian Dietary Toxicity Testing Acute Mallard Duck LCS0 730 (532-1059) mg/kg
Acute Mallard Duck, no mortality 160 mg/kg
Acute Mallard Duck NOEC 40 mg/kg
Acute Bobwhite Quail LC50 214 (163-260) mg/kg
Acute Bobwhite Quail, no mortality 80 mg/ke
Acute Bobwhite Quail NOEC 80 me/ke

Data in italics are from draft reports.

All of the results shown in Table 12 suffer from limitations in the reliability of the data,
and there is a clear need for high quality ecotoxicity data using established OECD/EPA
methods. Testing on purified PFOS and EtFOSE alcohol is in progress. However, the
available new data (Table 13) and the historic data are consistent in that almost all
toxicity values for PFOS and related sulfonated perfluorochemicals are greater than |
mg/L and most are greater than 10 mg/L. An exception is the fathead minnow results
reported on Table 12 for N-EtFOSE alcohol where apparently there is no acute toxicity at

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a or above the water solubility level. The available new data on PFOS itself suggest that it

Rags’ has similar aquatic toxicity to that of other anionic surfactants (9). Few other conclusions
can be reliably drawn at this time. For instance, ecological risk assessment typically
relies on chronic toxicity values, but there are too few data on this to draw any
conclusions.

11.0 Comprehensive Plan to Assess Environmental Exposure

The ongoing activities described in the previous sections of this paper are being carried
out as part of a 3M developed comprehensive plan using a combination of 3M resources
and outside experts. This plan, summarized in Figure 1, is designed to assess the
potential pathways of environmental exposure associated with the manufacture, use and
disposal of its sulfonated perfluorochemical products.

11.1 Plan Overview

The plan structure consists of four components:

1. Characterize the properties critical to understanding the fate and transport of
sulfonated perfluorochemicals.

2. Estimate the releases of sulfonated perfluorochemicals.

3. Characterize the distribution of sulfonated perfluorochemicals in the
environment.

4. Estimate human and ecological exposure to sulfonated perfluorochemicals.

Several individual research projects feed information into each component. The early
components provide information needed to complete the later ones, Thus the information
base expands when one goes from component | to component 4,

This section provides an overview of the plan and its research projects. Specific
descriptions of how and why the research projects are being conducted can be found in
the preceding sections of this document. The results generated by this plan will be
combined with the ecotoxicological studies to develop an assessment of risk. A tentative
initiation date for each of the research projects is found in Figure 2. It is expected that the
studies will continue over several years.

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Figure 1. Diagram of Fluorochemical Assessment Plan.

Phys/Chem

Prioritization of ‘ i
Analyses of 3M Properties
eee & Products for Study | are
\ Hydrolysis

Process Wastes t
FC Thermal —p ak Characterize Fateand |__| photodegradation
Destructability Release Estimation _Transport Properties . & Atmospheric
r \ Transport
Mfg.,Supply
Chain and Use Aerobic & Anaerobic
Wastes Biodegradation
Estimation Carpet Food -
- Release Transfer \ Sorption
Estimate Waste Multi ia Multi-City Studies Studies Processes
Releases Modeli Sampling
ing Bioconcentration
Decatur Plant { | y x Bioaccumulation
See Fv Characterize Distribution :
Analyses [?] TT environment Estimate Exposure =
posure
Empirical Sampling eonca +—)_ Scenarios
Fish and —p_ Predictive Modeling
Bird Analyses ft fae
. Charact. & Quant.
ee Of Mammalian
Environmental Metabolites 2
Sampling {Yt Ecological iT.
Risk 4 Ecotoxicity
. Determinations
Evaluation

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Figure 2. Schedule for FC Exposure Plan Components.

1Q=First Quarter, 2Q= Second Quarter, 3Q=Third Quarter, 4Q=Fourth Quarter

Characterize Initiation Dates

Fate & Transport

Properties PFOS Phys/Chem Properties Complete
EtFOSE alcohol Phys/Chem Properties 1Q 2000
MeFOSE alcohol Phys/Chem Properties 1Q 2000
Hydrolysis 1Q 1999
Photodegradation and Atmospheric Transport 1Q 1999
Biodegradation (aerobic and anaerobic) 1Q 1999
Sorption Processes 2Q 1999
PFOS Bioconcentration 2Q 2000
EtFOSE alcohol Bioconcentration 4Q 2000

Estimate

Releases 3M Plant Effluent & Process Waste Analyses 1Q 1999
Estimate Mfg, Supply Chain, & Use Waste Streams Complete
Estimate Waste Releases 1Q 1999
FC Thermal Destructability 2Q 1999

Characterize

Distribution in

Environment Bird & Fish Analyses Complete
U.S.Bird Livers Analyses Complete
Biosphere Sampling Pan 1Q 1999
Multi-media Modeling 1Q 2000
Multi-cities Study 1Q 1999

Estimate

Exposure Carpet Study 2Q 1999
Paper and Packaging Studies 1Q 1999
Exposure Scenarios 2Q 1999

Ecotoxicity

Determinations PFOS Acute Ecotoxicity 1Q 1999
PFOS Chronic Ecotoxicity 2Q 1999
EtFOSE alcohol Acute Ecotoxicity 2Q 2000
EtFOSE alcohol Chronic Ecotoxicity 3Q 2000
FOSA Acute Ecotoxicity 1Q 2000
FOSA Chronic Ecotoxicity 2Q 2000

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11.2 Component 1: Characterize Fate and Transport Properties

This component was developed in three steps. First, the important fate and transport
mechanisms were identified. Next, priorities were set for testing, with the likely
degradation products having the highest priority for testing. Finally, methods and
laboratories were selected to do the testing. For sulfonated perfluorochemicals not tested,
models are being developed that will predict physical and chemical properties. The
specific research projects underway are:

Physical and chemical properties testing.
Hydrolysis testing.

Photodegradation and atmospheric transport testing.
Anaerobic and aerobic biodegradation testing.

Soil and sediment sorption testing.
Bioconcentration testing.

Pere ee ts

11.3 Component 2: Estimate Releases

This component was also developed in several stages. First, product sales data from 1997
were used to identify a study set of products. The study set was based on volume of use
and waste streams, mode of release and product chemistry. Next, evaluation efforts of the
waste streams generated focused on those study set products sold by 3M in the greatest
quantities in the United States. Commercial and residential uses of these products,
including transportation, handling and application during the supply chains that lead to
product use, were examined. Additionally, the releases likely to result from disposal
during these portions of the products' life cycles were also estimated. The estimates
included disposal via incineration, landfilling and wastewater treatment.

Waste streams generated at the start of the products' life cycles, i.e. the manufacturing
process, were also examined. Better estimates are continuing to be developed of waste
streams occurring during the manufacturing process.

11.4 Component 3: Characterize Distribution in the Environment

This component is distinguished by iterative interaction between modeling and field
sampling. Models are being used to suggest sampling locations and detection limits.
Field sampling is planned to obtain empirical data to validate model output and improve
predictions. As new data become available, research projects become more refined and
focused. The research projects completed or planned to characterize environmental
distribution include:

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Field sampling of environmental media near the Decatur manufacturing plant.
Screening of eagle and albatross plasma and fish tissue from archived samples.
Analysis of wild bird livers.

Biosphere sampling plan to determine levels in biota of different geographic
locations.

5. Development of a multimedia model for predicting distribution.

6. Multi-cities studies in which cities of a similar size are paired, one
demonstrating significant manufacturing or commercial uses of sulfonated
perfluorochemicals, the other having no identified use of sulfonated
perfluorochemicals,

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11.5 Component 4: Estimate Exposure

When data from the release and distribution components are available, hypotheses will be
developed about important exposure pathways. Iterative sampling and modeling will be
used to test these hypotheses and to determine the important exposure pathways to be
used in risk assessment. The research projects planned to estimate exposures are:

1. Carpet releases and links to ingestion, inhalation and dermal exposure.

2. Paper and packaging studies and ingestion exposure.

3. Exposure scenarios which combine information from the release, fate, and
¢) sampling studies.

12.0 Ecotoxicity Determinations

In conjunction with the studies described in the four component plan described above,
3M is conducting ecotoxicological studies. Ecotoxicological studies are used to estimate
hazard. Initial ecotox testing is focusing on PFOS, EtFOSE alcohol, and FOSA. The
results of the release, distribution and exposure assessments may provide reasons to test
more substances.

The following research projects on ecotoxicity are planned or underway:

1. Aquatic acute toxicity studies: sewage microorganisms, freshwater and marine
algae, duckweed, daphnia, mysid shrimp, freshwater mussels, fathead
minnows.

2. Terrestrial acute toxicity studies: mallard duck and bobwhite quail dietary
exposure studies, earthworm toxicity studies, and green plant growth and
uptake studies.

3. Aquatic chronic toxicity studies: oyster shell deposition, daphnia, mysid
shrimp, frog embryo development and fish early life stage studies.

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4, Terrestrial chronic toxicity studies: mallard duck and bobwhite quail
reproduction.

13.0 Ecological Risk Evaluation

Evaluating ecological risk is more complex and more uncertain than assessment of human
health risks where a clearer connection can be drawn between dose and response.

As this comprehensive science and exposure assessment program progresses, a
framework in which ecological risk can be evaluated will be developed. The evaluation
of ecological risks and human risks will both use information about distribution in the
environment and exposures generated by this comprehensive exposure plan. Because of
the scope and magnitude of the overall program, aspects of the knowledge gained will be
compartmentalized into discreet elements to create this framework. For example, as data
on ecotoxicological properties, fate and transport mechanisms, and environmental
distribution are developed, they will be used to evaluate ecological risk within a certain
geographic area or locality. The science data and environmental sampling results will be
applied to a very specific area and set of species to evaluate relative risks in that area.
Building a number of these compartmental evaluations will result in a much more
complete picture of ecological risk. This evaluation will identify additional actions 3M
could take to minimize the releases of sulfonated perfluorochemicals.

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THE SCIENCE OF ORGANIC
FLUOROCHEMISTRY

3M
February 5, 1999
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The Science of Organic Fluorochemistry

Introduction

The science of fluorochemistry begins with fluorine. Fluorine is the most abundant member of the halogen
family and is one of the most reactive of all the elements. It is capable of combining with nearly every other
element in the periodic table, which is why elemental fluorine is rarely if ever found in nature. The strength of
the fluorine bond with other elements also made the discovery of elemental fluorine a difficult task. Elemental
fluorine was not isolated until 1886, a relatively late date, as chemical discoveries go. Therefore, the science
of fluorochemistry is relatively young. Because of its strong electronegative properties, ionic fluorine will
form weak bonds with other electronegative atoms and very strong bonds with electropositive atoms. Tonic
metal fluorides are the most common chemical forms of fluorine found in nature, such as fluorspar (CaF2).
Naturally occurring fluorinated hydrocarbon molecules rarely occur in nature because of the energy required to
make or break the carbon-fluorine bond in biological systems. However, partially and fully fluorinated organic
molecules can be synthesized.

3M Experience in Fluorochemistry

3M Company began its history in fluorochemistry with the licensing of specific intellectual property from Dr.
Simons of Penn State University in 1945. Dr. Simons had developed a process, now referred to as Simons
Electro-Chemical Fluorination (ECF), to synthesize organofluorine molecules. In this process, organic
feedstocks are dispersed in liquid, anhydrous hydrogen fluoride, and an electric current is passed through the
solution, causing the hydrogen atoms on the molecule to be replaced with fluorine. The predominant
component of the products produced by this process have the same carbon skeletal arrangement as the

/edstock used with all of the hydrogen atoms replaced by fluorine. However, fragmentation and

“{earrangement of the carbon skeleton can also occur and significant amounts of cleaved, branched and cyclic
structures may be formed. The degree of fluorination of the organic feedstock is also dependent upon the
specific carbon chain length of the feedstock and parameters of the ECF process such as electrical current and
the length of time the process is run. It is possible to synthesize fully fluorinated or perfluoroorganic
molecules where all of the hydrogen atoms of the hydrocarbon feedstock have been replaced by fluorine
atoms. 3M built the first manufacturing pilot scale ECF process in 1949 and has continued to develop and
improve the Simons ECF process for the production of fluorochemical products. Currently, 3M has three
manufacturing sites in the United States using the ECF process (Cottage Grove, MN, Cordova, IL, and
Decatur, AL).

3M Production of Sulfonyl-based Fluorochemicals

3M has produced sulfonyl based fluorochemicals commercially for over 40 years using the ECF process. A
basic building block of such products and the highest production volume fluorochemical 3M manufactures is
perfluorooctanesulfonyl fluoride (POSF). The starting feedstock for this reaction is 1-octanesulfonyl fluoride.

(Reaction 1)

Reaction 1
4,5-7.0 V
2 CgH;7S02.F + 34 HF aonnanene> 2 CgFi7S02F + 17 H2
= ECF
a l1-Octanesulfonyl fluonde Perfluorooctanesulfonyl fluoride (POSF)

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It is important to understand that perfluorooctane sulfonic acid (PFOS) will result from the chemical or
enzymatic hydrolysis of POSF. Under appropriate conditions, the perfluorooctane sulfonate anion can form
salts with monovalent metallic cations. Current information strongly supports that PFOS or its salts cannot be
broken down further chemically. Therefore PFOS is the ultimate degradation product from POSF derived
___sorochemicals and will persist in that form.

The electrochemical fluorination process yields about 35%-40% straight chain (normal) POSF, and a mixture
of biproducts and waste of unknown and variable composition comprised of the following:

1) higher and lower straight-chain homologs, i.¢., n-CnFjn.)SO2F, e.g., CgF 13SO02F, C7FisSO2F,
CoFj9SO02F which comprise about 7% of the process output

2) branched-chain, perfluoroalkylsulfonyl fluorides with various chain lengths, about 18-20% of the
output

3) straight-chain, branched, and cyclic (non-functional) perfluoroalkanes and ethers, which comprise
about 20-25% of the output

4) “tars” (high molecular weight fluorochemical byproducts) and other byproducts, including molecular
hydrogen, which comprise about 10-15% of the output.

Because of slight differences in process conditions, raw materials, and equipment, the mixture produced by the
electrochemical fluorination process varies somewhat from lot-to-lot and from plant-to-plant. The product that
results from electrochemical fluorination is thus not a pure chemical but rather a mix of isomers and
homologues. The commercialized POSF derived products are a mixture of approximately 70% linear POSF
Serivatives and 30% branched POSF derived impurities.

During production, byproducts and waste products are formed. The volatile waste products, such as
perfluoromethane, have been vented to the atmosphere in the past, but improvements are underway to capture
and destroy these releases by thermal oxidation. The tars are incinerated at an in-house, hazardous waste
incinerator, The byproducts, many of which are incompletely fluorinated with hydrogen atoms still present,
can be recycled back into the ECF process or are partially degraded in stabilization processes, and discharged
to controlled, in-house, wastewater treatment systems. The treatment sludge is either landfilled or land-
incorporated. Some of the non-POSF byproducts are recovered and sold for secondary uses.

POSF is itself a commercially viable product, but is primarily an important intermediate in the synthesis of
substances used in many other 3M fluorochemical products. The majority is used to produce functionally
derivatized fluorochemicals and high molecular weight polymeric products. Table 1 identifies some
fluorochemicals, their acronyms, chemical name, and formulas. To a lesser extent, some homologues of
POSF, [CnFan+1)$O2F where n=other than 8], principally perfluorohexanesulfonyl fluoride, are also
intermediates in the formation of other 3M products. PFOS is also a commercialized product for a variety of

specific applications.

Using POSF as a basic building block, unique chemistries can be created by derivatizing POSF through the
sulfonyl fluoride moiety of the molecule using conventional hydrocarbon reactions. Chart 1 outlines the
general classes of fluorinated materials made by 3M. The major intermediates are represented by the trunk of
the “tree”. POSF is reacted with methyl or ethyl amine to produce either N-methyl or N-
w _ylperfluorooctanesulfonamide (F OSA). FOSA is subsequently reacted with ethylene carbonate to form
either N-methyl or N-ethylperfluorooctanesulfonamidoethanol (FOSE).
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Chart 1
POSF Fluorochemical Reaction Tree
Alcohols
Fatty Acid Urethanes
Esters
Phosphate Esters copehanets
Adipates Acrylates
FOSE
(N-Alkylperfluorooctanesulfonamidoethanol)
Silanes
panes Carboxylates
Oxazolidinones Alkoxylates
(N-Alkylperfiuckagstanesulfonamide)
Amines Quaternary Ammonium Salts
Amphoterics Sulfonates (PFOS)

POSF

(Perfluorooctanesulfonyl fluoride)
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jOUBYJSOp!WeUOJ|NSeUeOOON|Pad|AYIaW-N HO7H97HO(FHO)NZ0S4"3°9 SSOS°W-N
(-(jAujeAxo1pAy-z)-N-conyesapejday-g'g'g'/'2'9'9'S'S"p'p'e'e'2'Z'L' L-IAUIO-N ‘epilueudsinsaue}aC-})
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(osonyesepeydey-g'9'g's'2'9'9'S's't'b'e'e Zc L-IAUIe-N ‘@plueudynsaue}eC-)
aplweug)|Nsaue}oooN|ped|AujZ-N EHO*HOHNOS4' 4°O VSOA1S-N
(uoue *-[|Auoyins(jAjoOJONyeOepeIdey)}-N-[AYIO-N ‘@UIDA|)
aYEUIDA|HAUVe-N-[AudyiNS|AjD00s0NYIEd-N} 009"HOFHO*HO)N70S!+3°9 39SOs3-N
(-osonyesepeidey-g'9'g'/'2'9'9'S'S'p'b'€'E'c'c bh ‘eplweuojjnsauepoC-|)
eplweudyinseuePooonped ZHNZOS¢++4*O vso4
(yes winiy}y ‘-ouonyesepeydey-g'g'g'/'2'9'9'S's'p'p'e'c'2'z LL ‘ploe duoyjnsaue}oQ-1)
ayeuoJjNsaue~oO!ON|ped WNIYWT fos*389 wes '1SO4d
(jes winissejod ‘-olonyesapejday-9'g'9'/'/'9'9'S's'p'b'e'C'Z'Z'b'L ‘ploe uayjnsaue}C- |)
@]eUO}|NSaue}DOOJON|Wad WNIsse}og wos? 49 wes WSO4d
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(-oronyesepejday-9'9'g'/'2'9'9'S‘s'b'b'E'e'2'Z LL ‘ploe sJuoynsauepoE--)
ploe d]Uosjnsaue}soqs0N|Wed| Hfos!! "9 HSO4d
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(-osonyesepejdey-g'g'e'L'/'9'9'S'S'b'p'c'e'Z'Z' LL “@puONy [AUOy|NseUe}IO-})
apuony |AuojjnsauepooJoN|ed Fos"! 4"9 4SOd
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eweN jequYyse) ejnWUOY JejNIe]}OW/W uoneub}seq

Asessoj5 jestweysosonjy *p eqey
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The secondary reactions producing all of these derivatives are single or sequential batch processes that do not
necessarily produce pure products. There may be varying amounts of fluorochemical residuals (unreacted or
_sartially reacted starting materials or intermediates, such as FOSA or FOSE) that are carried forward to the
"tal product. Typically, these residuals are present at a concentration of 1% or less. Such processes are under
a continuous improvement plan to reduce or eliminate the presence of unnecessary residuals in the production
of commercializable product. It is important to understand that the non-fluorochemical moieties added to the
sulfoniyl fluoride group of POSF can also be removed through a variety of degradation processes (chemical,
environmental, and metabolic). Again, the terminal product of such degradation will be PFOS.

Physical-Chemical Properties

Fluorinated organics are less well described in the scientific literature than organic molecules bearing other
halogens, i.e. bromine, and chlorine, which have been more thoroughly investigated by many researchers in
published reports. To understand fluorinated organic properties, it is necessary to describe in more detail the
properties of fluorine. Fluorine has several characteristics which differ from the other halogens and contribute
to the unusual properties of fluorochemicals.

Fluorine has a van der Waals radius of 1.35 A, more comparable to that of oxygen and smaller than other
halogens, and is isosterically similar to a hydroxyl group. Fluorine has the highest electronegativity (4.0 —
Pauling scale) of all the halogens, and the highest in the periodic table. This confers a strong polarity to the
carbon-fluorine bond. The carbon-fluorine bond is one of the strongest in nature (~110 kcal/mol). See Table 2
and 3. This very strong, high energy bond contributes to the stability of fluorochemicals. Such stability may
also lead to the persistence of certain fluorochemicals. That stability confers a variety of unique properties to
__orocarbons as described in Table 4.

TABLE 2
Fluorocarbon Structure
Considerations

Bond Atomic Bond

Length Van Der Waals’ Strength
Structure A° Radius A® Kcal/Mole
H;C-H 1.11 1.20 101
H3C-F 1.385 1.35 107
H;C-Cl 1.78 1.80 81
H3C-Br 1.93 1.95 67
H3C-I 2.13 2.15 55
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TABLE 3
Effect of Increasing Fluorination
Bond Bond
Length Strength
Structure A° Kcal/Mole
H3C-F 1.385 107.0
H2FC-F 1.358 109.6
HF2C-F 1,332 114.6
F3C-F 1.317 116.0
TABLE 4

Stability of Fluorocarbons

Chemical
e Unaffected by any normal reagent
e React with alkali metals at high temperatures

Thermal and Oxidative
e Stable in air at high temperatures
e Non-flammable

Electrical
e High electric strength
e Low dielectric constant
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The high ionization potential of fluorine (401.8 kcal/mole) and its low polarizability leads to weak inter- and

intramolecular interactions. This is demonstrated in the low boiling points of fluorochemicals relative to.
_molecular weight, and their extremely low surface tension and low refractive index. Table 5 compares the
"_vuysical properties of a perfluoroalkane with its hydrocarbon analog to demonstrate the effect of low
polarizability.

TABLE 5
Physical Properties
(Effect of Low Polarizability)
CsF is CsHis
Low Boiling Point:
MW 438 114
Bp (°C) 97 125
Low Heat of Vaporization
G-Cal/Gram 20 86.8
Low Refractive Index
ey Np20 1.280 1.3975
Low Surface Tension
Dynes/cm 15.0 21.8

The partitioning behavior of perfluoroalkanes is also unique. Some perfluoroalkanes, when mixed with
hydrocarbons and water, form three immiscible phases, demonstrating that perfluorinated chains are both
oleophobic and hydrophobic. A charged moiety, such as carboxylic acid, sulfonic acid, phosphate or a
quaternary ammonium group, when attached to the perfluorinated chain, makes the molecule more water
soluble because of the hydrophilic nature of these charged moieties. Therefore, such functionalized
fluorochemicals can have surfactant properties.

A conventional hydrocarbon surfactant generally may be represented as:

fz tx)

Insoluble Tail
Hydrophilic Group

Where Ry....represents the hydrocarbon “tail” and “"X represents a solubilizing group.
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In a similar fashion, fluorochemical surfactants can typically be described by the following chemical structure:

‘es Insoluble Tai!

Hydrophilic Group

Where the Rg... portion is the stable fluorocarbon tail, “X represents a solubilizing group. It is this unique
fluorochemical “tail”, modified in length and structure to meet end use needs, which provides the exceptional
resistance to thermal and chemical attack characteristic of the fluorochemical. This fluorochemical portion of
each is basically responsible for its capability to dramatically reduce surface tension, as well as being the major
difference between these materials and conventional surfactants.

The solubilizing group, ~X is commonly water soluble, but can be designed to be oil soluble for use in
nonaqueous systems.

Insoluble [aul

Oleophilic Group

The nature of the oleophilic group varies among the fluorochemical surfactants. By altering it, fluorochemical
surfactants have been prepared which are extremely surface active in a number of environments, including
many systems which would degrade hydrocarbon or silicone surfactants.

Physical properties available on 3M fluorochemical products are principally those parameters needed for
ality control use and material handling. It is important to remember that these physiochemical properties
“suave been obtained from products that are not highly refined, and that may have more than one fluorochemical
component. Some products may have nonfluorochemical components which contribute to the determination
of the values. One observes a wide range in values for physiochemical parameters among low molecular
weight, POSF based, fluorochemicals. Typically these low molecular weight chemistries tend to have higher
water solubility and lower vapor pressure than polymeric products containing them. In addition to being
intermediates in the formation of products, some of these low molecular weight fluorochemicals are also likely
intermediates in the degradation of polymeric compounds.

3M Sulfonyl-based Fluorochemical Products

The 3M product lines that use POSF-based fluorochemicals are summarized below. In some cases, 3M
manufactures the final commercialized product. In other cases, 3M sells a fluorochemical which another
company incorporates into their final product. (Product lines using fluorochemicals which contain no sulfonyl

groups are not listed.)

Surface Treatments
Fabric/Upholstery Protector (High molecular weight [MW] polymers)
Carpet Protector (High MW polymers)
Leather Protector (High MW Polymers)
Paper and Packaging Protector (High MW phosphate esters or high MW polymers)
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Surfactants (Low MW chemical substances)
Specialty Surfactants
Household Additives
Electroplating and Etching Bath Surfactants
Coatings and Coating Additives
Chemical Intermediates
Carpet Spot Cleaners
Fire Extinguishing Foam Concentrates
Mining and Oil Surfactants

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Other Uses
Insecticides (Low MW chemical substances)

Some of the POSF derived chemistries are relatively low molecular weight (< 500 daltons). These
fluorochemicals can be intermediates that 3M or our customers use in making other finished products. Such
fluorochemical intermediates can be covalently bound to a variety of polymeric hydrocarbon backbones to
make products with unique performance characteristics. The majority of 3M fluorochemicals produced for
commercialization are used in such polymeric form for treatment of surfaces and materials. For example,
fluorochemical containing polymers (urethane and acrylate) plus fluorochemical adipates can provide soil,
stain, and water resistance to personal apparel and home furnishings. Such protective products function
through the fluorocarbon moiety on the polymer lowering the surface energy of the material to which they are
applied.

The 3M paper protectors can be divided into two general classes of chemistries. One class is based on
phosphate esters of N-EtFOSE. The other class is a N-MeFOSEA-acrylate copolymer. Applied to paper, the
~ fluorocarbon moiety in these products has the previously described effect of lowering the surface energy of
‘the individual paper fibers. This lowered surface energy greatly contributes to the holdout of low surface

energy liquids such as greases and oils.

As previously described, the POSF-derived fluorochemical products have surfactant properties. Such
fluorochemical surfactants differ greatly from conventional hydrocarbon and silicone surfactants. In most
systems they are far more efficient in reducing surface tension to levels that are unreachable with these other
types. In some aqueous systems, surface tensions as low as 15 to 16 dynes/cm can be attained. The
fluorochemical surfactants normally produce these extremely low values at concentrations as low as 100 parts
per million, or less. Equally important is the fact that certain of these fluorochemical surface active agents are
stable and effective in many extremely hostile environments, including strongly acidic, strongly alkaline and
even strongly oxidizing systems. Table 6 summarizes the features of fluorochemical surfactants.

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Table 6
Features of Fluorochemical Surfactants

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ee
SURFACE ACTIVITY

AQUEOUS SYSTEMS

Some of these surfactants can lower surface tension to less than 16
dynes/cm and function at low concentrations. They are effective in
dramatically reducing surface tension in a wide variety of aqueous

media, including acidic and basic systems.

NON AQUEOUS SYSTEMS

Fluorochemical Surfactants have been developed which uniquely
reduce surface tensions of many organic media to about 20
dynes/cm, including solvents such as esters, alcohols and ethers and
resin systems including epoxies, polyesters, urethanes and acrylics.

WETTING

Reduced surface tensions result in the ability to improve the wetting
of a variety of materals, including such hard to wet surfaces as
plastics and oily metals.

BETTER SPREADING
Low surface tension in combination with low interfacial tension
affects spontaneous spreading of a liquid over various surfaces.
_ >is is important in reducing pinholes, craters, and edge crawling of
____ ings applied to unclean surfaces.
REDUCED WATER SPOTTING

Because of reduced droplet formation, the need for distilled or
deionized water in rinsing operations may be eliminated.

SMALLER GAS BUBBLES

These smaller gas bubbles produced at the surface of metal during
chemical etching will have less tendency to adhere, grow and cause
surface imperfections.

SMALLER DROP FORMATION

Smaller drops are desired in fine aerosol mists.

BETTER LIQUID PENETRATION

The force required to cause liquids to move through small pore
spaces can be greatly reduced.

IMPROVED FILM UNIFORMITY

Smoother, more even films are produced from polishes, finishes and
coatings.

11

LEVELING

Emulsion coatings applied to difficult to wet surfaces can show
greatly improved leveling with the addition of small quantities of
these materials.

FOAMING

Stable foams can be produced in hostile media such as chromic
acid or sodium hydroxide, where conventional surface active
agents would be destroyed.

EMULSIFICATION

While generally not effective as emulsifiers in water-organic
systems, these materials can be quite efficient emulsifiers in
specialty applications, where fluorinated materials comprise either
the continuous or the dispersed phase.

STABILITY

Chemical

Some of these surface active agents are stable in such rigorous
environments as hot chromic acid, anhydrous hydrazine, hot
concentrated sulfuric acid, hot concentrated hydrofluoric acid and
hot concentrated sodium hydroxide solutions.

Thermal

While all of these materials have very good stability at moderate
temperatures, a few can withstand temperatures in excess of

300°F in air.
LOW CONCENTRATION
These materials are normally effective at extremely low

concentrations, and often are utilized at concentrations of 100
parts per million active solids or less.
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- Many applications involve more than just air-liquid interfaces where surface tension alone might be
important. More often liquid-liquid or solid-liquid systems are encountered. In these cases,

jeterfacial tension, as well as surface tension, plays a significant role in the wetting or leveling

\.ocess. Quite often in these cases, a combination of a suitable hydrocarbon surfactant can produce
a degree of wetting which cannot be accomplished by either type alone. Normally, in such a
combination, it is the fluorochemical surfactant which reduces the surface tension, while the
hydrocarbon material aids in the reduction of the interfacial tension. The net result can be a system
that easily wets and spreads on otherwise hard to wet surfaces.

Another unique physical characteristic of fluorochemicals is their ability to form tough, yet resilient
foams. Such foams have been formulated to resist the action of high temperature or aggressive
chemicals and vapors. These formulations have found commercial application in suppressing
flammable liquid, chemical and organic fires or toxic and obnoxious vapors and odors.

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Perfluorooctane Sulfonate:
Current Summary of Human Sera,
Health and Toxicology Data

3M
January 21, 1999
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Executive Summary

3M has prepared this document to summarize the data related to the biological effects of
perfluorooctane sulfonate (PFOS). It also presents current thinking on human health risk
related to PFOS and includes information about future study plans. 3M Medical

Department scientists and physicians, in consultation with outside experts, are the authors.

PFOS has been found at tens of parts per billion levels in serum samples of
nonoccupationally exposed employees, in commercially available human serum and in
pooled samples from multiple blood banks. PFOS is an eight-carbon molecule that is
perfluorinated except for the sulfonate group on the terminal carbon. 3M has
manufactured PFOS and molecules that may be metabolic precursors to it since 1948.

Routes of exposure to PFOS or precursor molecules are not well understood at this time.

PFOS is an example of an “organic” fluorine molecule. Human serum has been known to
contain organic fluorine molecules for over 30 years. The primary constituent of this
organic fluorine fraction was tentatively identified as another molecule
(perfluorooctanoate) in 1976. Current analysis of stored sera samples from a variety of
sources are more consistent with PFOS being a major fraction of this organic fluorine.
Improved analytic techniques allowing a relatively rapid analysis at low levels of detection
make the current analyses possible. These analytic techniques were first available for use
in medical surveillance of exposed workers in 1992. Detection limits have been lowered

to allow the more recent analysis of serum from those without occupational exposure.

Medical surveillance has been done among 3M employees occupationally exposed to
PFOS precursors for over 20 years. To date, no adverse health effect associated with
PFOS exposure has been found in these employees. This conclusion applies at serum
levels up to 6 parts per million, about 100 times higher than levels seen in the general
population. PFOS has a long residence time in the human body. In three retirees, the half-

life in human sera ranges from 1100 to 1500 days. A mortality study at the U.S. plant
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primarily involved with production of PFOS related materials has found no significantly

elevated standardized mortality ratios (SMR's).

Toxicology studies show that PFOS is well absorbed orally and distributes primarily in the
serum and liver, It does not appear to be further metabolized. Some enterohepatic
circulation of PFOS occurs, based on the observation of increased excretion in rats given

cholestyramine. Elimination from the body is slow and occurs via both urine and feces.

Mutagenicity testing is negative in five salmonella species. It is not genotoxic in a mouse
bone marrow micronucleus assay. The acute LDS0 in rats is 250 mg/kg (moderately

toxic). It does not produce dermal or ocular toxicity.

Subchronic studies have been done in rats and primates, PFOS causes liver enzyme
elevations and hepatic vacuolization in rats, and hepatocellular hypertrophy at higher
doses. Higher doses also cause other GI toxicity, hematological abnormalities, weight
loss, convulsions, tremors and death. Monkeys show anorexia, emesis, diarrhea,
hypoactivity and at higher doses prostration, convulsions and death. Atrophy of exocrine
cells in salivary glands and the pancreas, and lipid depletion in the adrenals is found at high

doses in the monkey.

The serum levels at which these compound related effects occurred in these early rhesus
monkey studies are unknown. In a recently completed rangefinder study in cynomolgus
monkeys the first observed biological effect was a decrease in serum cholesterol, first
observed at a serum level of 72 ppm in one of the two monkeys in the high dose group.
Using the relationship between cumulative dose and serum level found in this study, it can
be estimate that significant toxicity occurred at 700 to 800 ppm in the early rhesus monkey
studies, and death at 1100 ppm and above. More complete quantitative absorption,

distribution and excretion data for PFOS is being obtained.
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Available information therefore suggests that no identifiable health risk to humans would
be expected to occur at the PFOS levels found in blood bank or commercial serum

samples.

Extensive further research, which includes epidemiological and laboratory studies, is
planned or underway. The purpose of this research is to explore the potential for chronic
and reproductive effects, understand toxic mechanisms and obtain a better understanding
of absorption, distribution, metabolism and excretion. The plan is to make as much use as
possible of observational data in exposed workers and to establish no effect levels in both

rats and primates for endpoints of importance.
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I. INTRODUCTION

Evidence that organic compounds containing the element fluorine covalently bonded
to carbon (organic fluorine compounds, OF) can be found in human sera has been
available for 30 years. Although all of the specific compounds contributing to the total
amount of OF present are not identified, it now appears that a compound called
perfluorooctane sulfonate constitutes a significant fraction. Recent data provide
evidence that PFOS is present at tens of parts-per-billion (ppb) levels in serum samples
from the general population, averaging 30 ppb in blood bank samples from diverse
locations in the U.S. Single digit parts per million (ppm) levels (approximately 100
times greater) are found in individuals occupationally exposed to PFOS and its
precursors, averaging 2.0 ppm among participating employees at the primary U.S.

manufacturing location for these compounds.

3M produces perfluorinated molecules by mixing anhydrous HF and hydrocarbon feed
stock in an electrochemical cell (electrochemical fluorination). Perfluorooctane
sulfonyl fluoride (POSF) is the cell product from which a group of products is
developed:

F
|
CF;(CF2)s C - $02 —F
|
F

POSF
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Other moieties (“R”) are added to the sulfur, which leads to the creation of materials
that may be polymerized or esterified. The vast majority of POSF produced is used in
this way.
F
CF3(CF2)s C —S80.-R
f
POSF derived molecule

PFOS may result from the loss of the “R” moiety through metabolic processes.
Current evidence would indicate that PFOS is not further metabolized. Some PFOS is
produced and sold directly into industrial applications as a surfactant. This, however,
amounts to only a small fraction of total POSF production.

F
|

CF;(CF2)s C — SOs
PFOS

Most POSF that is produced is used in 2-(N-ethylperfluoroctanesulfonamido)-ethyl
alcohol (N-Et-FOSE) and 2-(N-methylperfluoroctanesulfonamido)-ethyl alcohol (N-
Me-FOSE) based products. Figure I.1 shows the chemical structure of N-Et-FOSE
and metabolites that have been found in rat serum. All except compound VIII have
been verified to metabolize further to PFOS. (Missing Roman numerals represent

hypothesized intermediates not shown in this figure. )
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In vitro studies in both rat and human hepatocytes lead to identification of the same
compounds and hypothesized intermediates. Compound VIII has been detected in
some samples of pooled human sera. A single dose absorption, distribution,
metabolism and excretion study of N-Et-FOSE in cynomolgus monkeys is through the
in life phase and tissue analysis is pending. N-Et-FOSE is esterified to produce larger

molecules that are used on paper and packaging for oil and water repellency,

It is presumed that N-Me-FOSE, in which a methyl group replaces the ethyl group on
the nitrogen, has a similar metabolism. N-Me-FOSE becomes part of very large

molecules that act as protective chemicals on fabrics, leather and rugs.

Outside of the occupational setting, routes of human exposure to PFOS or its
metabolic precursors are not understood, but are the subject of intense study,
Exposure could occur from environmental releases of PFOS or its precursors at the
Decatur, Alabama and Antwerp, Belgium manufacturing sites. It could occur from the
environmental or biological degradation of products to PFOS or molecules
metabolized to PFOS. Products also contain small amounts (generally less than a few
percent) of residuals, such as N-Et-FOSE and other molecules found in Figure I.1,
which are known or suspected metabolic precursors to PFOS. These residuals
represent a source of PFOS that would not require environmental or biological
degradation of large molecules. Downstream industrial users of POSF based products
are also potential sources of environmental releases of PFOS or its precursors. The
relative contribution of these various sources to population exposure is currently

unknown.

Another surfactant is known to be found in the sera of employees and was reported in
general population sera samples in 1976 (Taves). This is perfluorooctanoic acid, or

PFOA:
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CF3(CF2)sCOOH

PFOA is also made by electrochemical fluorination. It is mentioned here because
following Taves' report in 1976 it was presumed to be a significant fraction of the total
organic fluorine found in the sera samples analyzed by Taves and others. This report
was a stimulus for investigation and subsequent medical surveillance of employees in
fluorochemical production, including those producing POSF based materials. It
should be recognized, however, that PFOA is a different and unrelated compound. It
does not metabolize to or become PFOS. It is likely that PFOA was misidentified as a
major fraction of organic fluorine in the 1976 Taves paper. The evidence for this is

discussed in Section II.

The purpose of this report is to describe the data on PFOS levels in human sera, and to
discuss the potential for those levels to affect health based on current scientific
knowledge. A review of current findings and historical information on PFOS levels in
sera is presented in Section II. This is followed in Section III with a description of
3M’s epidemiology and medical monitoring database obtained from studies of its
workers in plants in the United States and Belgium. The animal and other laboratory
toxicology data available on PFOS are presented in Section IV. Section V offers a

preliminary evaluation of the serum findings in light of the available health effects data.

3M is actively developing further human health and toxicological information. Section

VI outlines the current research agenda.

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Ul. HISTORICAL REVIEW AND CURRENT F INDINGS OF
FLUOROCHEMICALS IN HUMAN SERA

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The data on fluorochemicals in human sera is presented in this section. The presence
of organic forms of fluorine in human serum was observed 30 years ago, and PFOA
was thought to account for most of this fraction. 3M finds little current evidence to
support this view. Evidence is presented below that PFOS is more likely to be
consistently found in sera, Based on the limited data provided by historical samples,
there is no evidence of significant change in PFOS concentration in serum samples

taken over the last two to three decades.

The advancement of analytical chemistry technology has had a significant influence on
our knowledge of fluorocarbons in human sera. The techniques developed and used
by researchers in the 1960's and 1970's were time intensive, requiring hours for a
single analysis, The methods were also nonspecific, measuring organic fluorine
(fluorine covalently bonded to carbon) rather than specific molecules. The
development of a rapid analytic technique in the late 1970's decreased analytic time to
under an hour, allowing large scale medical surveillance of production employees at
higher detection limits (about 0.5 parts per million organic fluorine) that were
adequate for the levels found in occupationally exposed individuals. The advancement
of chromatographic/mass spectroscopy technology enabled rapid analysis of specific
fluorochemicals from small volumes of sera in the early 1990's. This technology was
first used in medical surveillance in 1992. Detection limits for PFOS were lowered to
50 parts per billion by 1997. The first report to 3M of PFOS in commercially available
pooled sera occurred in late summer of 1997, prompting more research into the

technique, and confirming its validity over a period of several months.

Since older published data described organic fluorine content rather than a specific

molecule, it is useful to understand the relationship between PFOS levels currently

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observed and organic fluorine content. Fluorine is 65% of the molecular weight of
PFOS. The contribution of a PFOS value to organic fluorine, in ppb, will therefore be
[0.65 x (PFOS value in ppb)]. Conversely, if the measured organic fluorine is entirely

PFOS, the value of PFOS in ppb will be [1.54 x (OF level in ppb)].

This section presents 1) a brief summary of the historical information regarding
organic fluorine in human sera, 2) data from 3M employees involved in fluorochemical
production, 3) data from a small group of non-occupationally exposed 3M employees,
4) data from commercially available human pooled serum samples, 5) data from
pooled sera from 18 regional blood banks and 6) data from current analysis of stored

serum samples.

Historical Finding of the Organic Form of Fluorine in Blood

Taves (1968a) described two forms of fluorine in serum, one that was exchangeable
with radioactive fluorine-18 and one that was not. Pothapragada et. al. (1971) also
described two forms, ionic and nonionic. Taves (1968b) showed that the non-
exchangeable fluorine was bound to albumin. This finding, along with results of
extraction and precipitation and the need for ashing to release this form of fluorine, led
to the conclusion that the non-exchangeable or nonionic fluorine was “organic”, i.e.
covalently bound to carbon (Taves et. al., 1976). Using NMR spectroscopy, these
authors tentatively identified a component of the organic fluorine as perfluorooctanoic
acid (PFOA). There was some variation in the observed spectra from an authentic
sample of PFOA, however, leading the authors to suggest that branching, or the

presence of a sulfonate, was possible.

A number of studies over the past 25 years reported levels of organic fluorine in
human blood serum. Table II.1 presents the study author, level measured, population
studied and methods of analysis. The variety of methods used for determination of

fluorine suggests that some caution be used in interpreting results. All reported means

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were in the tens of part per billion levels. The average of reported values from United

States sources is 37.6 ppb.

Table Il. 1.
Historical Findings of Serum Organic Fluorine Levels

Year Author OF* (ppb) N Method** Source
1972 Guy 30 65 ash Us

1975 Venkateswarlu 36 2 O bomb US

1976 Guy, Taves 25 106 ash US
1978 Belisle 20 9 O bomb US

1979 Singer 45 264 ash US

1980 Paez 85 pooled ash Argentina
1980 Ubel 45 4 mod O bomb US

198] Belisle 11 8 O bomb China
1989 Yamamota 32 Ul LOPA Japan

* Organic fluorine, specific identities not provided.
** Varied methods were used to measure organic fluorine. See papers for details.

Occupationally Exposed Employees

3M has produced PFOA (the ammonium salt) by electrochemical fluorination since the
early 1950’s. It is a surfactant used in fluoropolymer production. The company began
medical monitoring of employees involved in PFOA production in 1976, by measuring
serum levels of organic fluorine (OF) and performing medical assessments. Employee
monitoring was expanded significantly in 1980 following the development of a more
rapid test for organic fluorine. Measured serum levels of OF in these employees

averaged less than 10 parts per million (ppm).

As noted earlier, PFOS is a surfactant used as a wetting and foaming agent in
industrial and commercial processes. Certain fluorochemicals that may transform
metabolically to PFOS have been produced since the early 1950’s by electrochemical
fluorination. Since 1980 this has occurred at primarily one location in the United
States (Decatur, Alabama). This 3M site consists of a fluorochemical plant and a film
plant that are physically separate entities. Chemical plant employees have been offered

a medical monitoring program that includes standard medical testing as well as
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measurement of serum levels of OF. Among employees with six or more
measurements, OF levels averaged 2.9 to 6.5 ppm from 1981 to 1992! (Figure II.1).
With the introduction of high performance liquid chromatography-mass spectrometry,
serum PFOS was measured in 1994 and 1997 (see also Figure I1.1). In these two
years, mean PFOS levels were 2.44 ppm (range 0.25 — 12.83 ppm) and 1.96 ppm
(range 0.10 — 9.93 ppm), respectively.

Another 3M plant in the United States where PFOS has been measured in employees’
serum is Cottage Grove, Minnesota. Some PFOS is manufactured at this plant. In
1997, the mean serum level of PFOS among 74 Cottage Grove fluorochemical
production employees was 0.82 ppm (range 0.05 - 6.25 ppm). Outside the United
States, 3M manufactures PFOS related materials at its Antwerp, Belgium plant. PFOS
levels were measured in Antwerp employees in 1995 (mean = 1.9 ppm, range 0.0 - 9.9

ppm) and in 1997 (mean 1,5 ppm, range 0.1 - 4.8) ppm.

The cross-sectional stratified analysis presented in section III, examining the
relationship between PFOS sera level and various clinical chemistry and hormone
parameters, was conducted at the Decatur, Alabama and Antwerp, Belgium plants.
The Cottage Grove facility was not included because little PFOS related product is

manufactured there. It is also the primary site for PFOA production.

' We are aware of one occasion in 1979 where the serum of 5 Decatur employees was measured
for PFOS by electron capture gas chromatograph and microwave plasma detection methods
[Central Analytical Laboratory, 1979]. Total serum organic fluorine levels for these five
employees were 10,1, 5.7, 9.4, 11.8 and 4.1 ppm. The percent of PFOS found was 60%, 70%,
80%, 55% and 65% of the total serum organic fluorine levels, respectively.

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Non-Occupationally Exposed 3M Employees
A total of 31 3M employees were tested for PFOS in their serum in 1998 (Table II.2).

All were corporate staff or division managers. None had worked in fluorochemical
production or in fluorochemical research and development. Samples were from five
females and 26 males. Employees ranged in age from 37 to 62 years. All employees
had measurable PFOS in their blood serum (mean = 47 ppb; range = 28 to 96 ppb).
Age was significantly associated with increased serum PFOS and accounted for 24%
of the variance in PFOS levels. There was no gender-related difference if age was
considered. Only four employees had PFOA measured above the detection limit of 10
ppb. The average of these four PFOA measurements was 12.5 ppb. Twelve
employees were re-tested eight weeks later to check for reliability of the analytical
method. The findings suggested reliability (R’ = .94) in the range of quantification
(Figure Al in the Appendix).

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Commercial Pooled Serum Samples
Six pooled sera samples, obtained from two commercial sources (Intergen and Sigma),

were tested in 1998. No information was available about the donor pool, such as age, sex
or geographical location. Samples from Intergen came from donor pools consisting of
approximately 500 individuals. Three Intergen pools showed PFOS levels of 43, 44 and
44 ppb (Table 2A.2). Pools from another source, Sigma, were from an unknown number
of donors. The pools from which the samples were drawn were 50 liters, suggesting a
minimum of 200 donors. The three Sigma pools contained PFOS at levels of 26, 28 and
45 ppb.

Blood Bank Pooled Sera

Eighteen blood banks from various geographic areas across the continental United States
and Alaska each donated three to six pooled samples that had from 5 to 10 donors per
pool (Table 11.3). Altogether there were 68 total pools, representing 340 to 680 individual
donors. All pools contained detectable levels of PFOS in tests performed in 1998. The
range found in the pooled serum was 9 to 56 ppb of PFOS (see table on next page). The
location means ranged from 14 ppb in Santa Barbara, California to 52 ppb in Greenville,
South Carolina. PFOA levels were detected in 20 (about one-third) of the pooled samples

but quantifiable in only two samples (12 and 22 ppb).

The blood bank samples from the regional blood banks are not a statistically valid sample
of the U.S. population, but do provide, to date, the best estimate of mean PFOS sera
levels. The overall mean was 29.7 ppb of PFOS, If one wishes to make a comparison
with the organic fluorine levels in the published literature, this level of PFOS would
contribute 19.3 ppb to the total serum organic fluorine level (0.65 x 29,7). An
approximate mean of historic organic fluorine measurements from published literature is
37.6 ppb. If this were all PFOS, a PFOS sera level would have been 57.9 ppb (1.54 x
37.6),

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Table [1.3 PFOS (ppb) Levels from 18 Blood Banks

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City # of Pooled Samples Range Average
Anchorage, AK 4 19-31 24
Billings, MT 3 18-26 23
Cheyenne, WY 3 13-35 23
Corpus Christi, TX 3 26-32 29
Davenport, [A 3 28-40 32
East Orange, CA 3 20-27 24
Grand Rapids, MI 4 18-31 26
Greenville, SC 3 47-56 52
Kansas City, MO 3 24-35 30
Lafayette, LA 3 39-50 46
Las Vegas, NV 3 25-28 23
Meridian, MS 3 27-56 39
Minneapolis, MN 6 41-54 46
Newark, DE 5 21-32 24
Omaha, NE 5 9-27 17
Santa Barbara, CA 3 13-16 14
Santa Rosa, CA 3 23-26 24
Scottsdale, AZ 3 28-47 37

Overall mean = 29.7ppb

Historical Samples

Nine sets of historical samples have been analyzed for PFOS in 1998. These are

summarized in chronological order below.

Korean War era U.S. military recruits, 1948 to 1951. Ten pooled samples consisting of

ten individual samples each were measured. All were below | ppb, the limits of detection.

Swedish samples, 1957. Ten individual samples ranged from below limit of detection to

4.1 ppb. Two were below detection limit (1 ppb). The mean was 1.98 ppb.

Michigan Breast Cancer Study, 1969 - 1971. Five individual samples ranged from 11.8 to

59.4 ppb. The mean was 33.4 ppb.

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Swedish samples, 1971. Ten individual samples ranged from below detection limit (1 ppb)

to 2.8 ppb. Three were below detection limit. The mean was 1.13 ppb.

MBRFIT pooled calibration samples, 1976. MRFIT (Multiple Risk Factor Intervention
Trial) was a cardiovascular risk reduction program conducted in the 1970's and early
1980’s. The number of donors per pool is unknown. Six pooled calibration samples

ranged from 13.7 to 55.5 ppb. The mean was 30.9 ppb.

MRFIT pooled calibration samples, 1980. Three pooled calibration samples ranged from
13.8 to 40,5 ppb. The number of donors per pool is unknown. The mean was 25.5 ppb.

China samples, 1984. Six individual samples from Linxian province in rural China were
all below limits of detection or quantitation. The samples were from an NCI study on

nutrition and cancer prevention.

MRFIT individual samples, 1985. Three individual samples from participants in the
MRFIT study were obtained. One was below limits of quantitation (5 ppb), the other two

were 43.3 and 43.9. Assuming the LOQ for the low sample, the mean was 30.7.
China samples, 1994. Six individual samples from Shandong province in rural China were
all below limits of detection or quantitation. The samples were from an NCI study on

nutrition and cancer prevention.

In addition to the PFOS measurements described above, PFOA was also analyzed in these

historical samples. PFOA was not found in any historical sample at a detection limit of 10

ppb.

Comment

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Organic fluorine has been noted in human serum since the late 1960’s. We have now
identified PFOS as a part of this organic fluorine fraction. PFOS-related materials were
not produced commercially prior to 1948, and only in small quantities for several years
thereafter. Therefore, it is not surprising that samples from 1948 to 1951 show
undetectable levels. There was clearly an increase 20 years later, however the very limited
data shows no further upward trend despite steadily increasing production volumes since
this time. Due to limited knowledge on distribution of this chemical in the body it is
uncertain that body burden is adequately reflected by serum levels. Information on
distribution and kinetics is needed to shed further light. The available data on this topic
will be presented in the toxicology section. It would also be of interest to measure total
organic fluorine and PFOS in the same sample to determine how much PFOS currently

contributes to the total organic fluorine content.
PFOA may have been misidentified as a major component of organic fluorine in 1976

(Taves, 1976). Although detectable in some samples, neither historic nor current samples

confirm this as a major fraction, except in occupationally exposed employees.

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Il. SUMMARY OF MEDICAL SURVEILLANCE AND EPIDEMIOLOGY
STUDIES

Epidemiologic Investigation of Clinical Chemistries, Hematology and Hormones
in Relation to Serum PFOS Levels in Male Fluorochemical Production

Employees

Medical surveillance has been routinely performed on 3M fluorochemical production
workers (in Decatur, Alabama and Antwerp, Belgium) with potential exposure to
PFOS and/or to perfluorinated precursors that may metabolically degrade to PFOS.
A recent study (Olsen et al., 1998) provided an analysis of hematology, clinical
chemistries and hormonal parameters in relation to serum PFOS as determined by
high performance liquid chromatography mass spectrometry methods. These
relationships were assessed in fluorochemical production employees from two time
periods, 1995 (N = 178) and 1997 (N = 149). ? In 1995, for Antwerp and Decatur,
the mean serum PFOS levels were 1.93 and 2,44 ppm, respectively. In 1997, the

mean serum PFOS levels were 1.48 and 1.96 ppm, respectively.

Descriptive simple and stratified analyses, Pearson correlation coefficients, analysis of
variance and multivariable regression were used to evaluate for possible associations
between PFOS and each hematological and clinical chemistry test and hormonal
assay. Age, body mass index, current alcohol consumption (drinks per day) and
cigarette use (cigarettes smoked per day) were potential confounding factors that

were considered in the analyses.

Four categorizations of serum PFOS levels were assessed in relation to the response
variables: 0 - < 1 ppm; 1 - <3 ppm; 3 - <6 ppm; and > 6 ppm (Table III.1). (Note:
other PFOS categorizations were used with comparable findings). In 1995, mean

serum PFOS levels by category were 0.49 ppm, 1.82 ppm, 4.12 ppm and 8.17 ppm,

? Hematocrit, hemoglobin, red blood cells, white blood cells and platelet count, alkaline phosphatase,
gamma glutamy| transferase, aspartate aminotransferase, alanine aminotransferase, total and direct

bilirubin, blood urea nitrogen, creatinine, glucose, cholesterol, low density lipoproteins, high density
lipoproteins and triglycerides, cortisol, dehydroepiandrosterone sulfate, estradiol, follicle stimulating

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respectively. In 1997, mean serum PFOS levels by category were 0.52 ppm, 1.78
ppm, 3.87 ppm and 7.20 ppm, respectively. For both years, 95 percent of the
employees’ serum PFOS levels were below 6 ppm. The two plant populations
differed by age, body mass index and alcohol consumption which resulted in
differences, as expected, in several clinical chemistry parameters (Table III.2). When
analyzed in aggregate, the two plant populations showed no consistent significant
associations for both years between the clinical chemistries and hematology
parameters and the employees’ serum PFOS levels (Figure Al, Appendix). Total
bilirubin levels appeared to trend downwards but upon further analysis this was

restricted to Decatur employees and the values were all within the reference range.

Multivariable regression models were fitted with PFOS analyzed as a continuous
variable using linear as well as non-linear transformations in order to maximize the
possibility of finding associations between PFOS and the parameters of interest
adjusting for potential confounders. No consistent associations were observed by
plant and/or by year. In 1995, hormone values were also obtained from a sub-sample
of employees with the higher PFOS measurements. After adjusting for age and body
mass index, no significant associations were observed between hormones and serum

PFOS levels.

The findings from this study suggest that, among these Antwerp and Decatur male
fluorochemical production employees, significant hematological, clinical chemistry
and hormonal abnormalities were not associated with serum PFOS levels up to 6
ppm. It was not possible to derive inferences from the few employees with serum
PFOS levels > 6 ppm, Limitations of this study included its cross-sectional design, the

voluntary participation rates and the few subjects with levels > 6 ppm.

hormone, 17-alpha hydroxyprogesterone, luteinizing hormone, prolactin, sex hormone binding globulin,
free testosterone, bound testosterone, and thyroid stimulating hormone.

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Table II1.2

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Mean Values of PFOS, Demographic, Serum Chemistry and Hematologic Parameters for
Antwerp and Decatur, 1995 and 1997 Examinations

1995 Data 1997 Data
Variable Antwerp Decatur Antwerp Decatur
PFOS (ppm) 1,93 2.44 1.48 1.96
Age PAsF 45 aa" 44
BMI Z3;QF** 29.2 ZA 5*3* 30.0
Cigarettes 4.7* 79 5.5 6.6
Alcohol L.SF** 0.2 118** 0.1
Alk Phosphatase vere 97 TOt** 87
GGT 41 48 26* 36
AST 26* 29 27 26
ALT 44 47 31 34
Total bilirubin 0.86*** 0.58 0.80*** 0.58
Direct bilirubin 0.22 0.21 0.15*** 0.12
BUN 17.0*8* 14.8 14,9 14.1
Creatinine 0.9*** Ll 0.9** 1.0
Glucose 81 *** 92 B1*** 98
Cholesterol 214 218 206 215
LDL 138 136 134 137
HDL 54*** 43 50*** 42
Triglycerides 115*** 187 Nes 192

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Table III.2 (Continued)

1995 Data 1997 Data
Variable Antwerp Decatur Antwerp Decatur
Hematocrit 47*** 46 46* 45
Hemoglobin 15.4 15.2 15.4 15:3
RBC 49 5.0 5.1 5.1
MCH 31.4*** 30.7 30.5 30.4
MCHC 32,9*** 33.4 B3.a°e* 33.7
MVC 95. 7*** 91.8 91.6* 90.0
WBC 6.4*** 7.5 6.5 6.4
Platelets 224 229 237* 217

*p<.05; **p<.01; ***p<.001 (Antwerp compared to Decatur)

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Mortality Study of Employees at the 3M Plant in Decatur, Alabama

A retrospective cohort mortality study of 1,957 employees who worked at least one
year at the 3M plant in Decatur, Alabama was conducted by epidemiolo gists at the
University of Minnesota School of Public Health (Mandel and Johnson, 1995). The
purpose of this study was to determine whether the mortality experience of these
employees was significantly different from that which would be expected ina
comparable population. The cohort was followed from March 1, 1961 through
December 31, 1991. Table A2 (Appendix) provides a description of the final
employment and vital status for the male (n = 1,639) and female (n = 318)
employees. These totals include both the Decatur chemical and film plant employees.
The two plants are physically distinct entities (approximately 300 yards apart)
located at the Decatur site. The vital status of 99.7% of the cohort was identified.
The male and female employees contributed 33,108 and 4,807 person-years
experience, respectively (Table A3, Appendix). The majority of the male employees
were hired between 1965 and 1974 (Table A4, Appendix) whereas the majority of
the female employees were hired between 1975 and 1979 (Table AS, Appendix),
Altogether there were 74 deaths (70 males and 4 females). Among males, SMRs
were below the null value for all major causes of death regardless of the comparison
population used to calculate the expected values (Table III.3). Data analyses were
also restricted to examining the mortality experience of employees who ever (n =
1,050) and only (n = 485) worked in the Decatur chemical plant (Tables A6 and A7,
Appendix). Neither analysis resulted in significantly (p < .05) elevated SMRs. There
were no analyses conducted by duration of employment within the chemical plant.
The data were also restricted to employees who were ever (n = 1,116) and only (n=
547) employed at the Decatur film plant (data not shown). None of these analyses
resulted in significantly elevated SMRs. There were four deaths among female
employees (SMR = 62.6; 95% CI 17.1 — 160.4). Of these four deaths, three were
from external causes (SMR = 213.4; 05% CI 44.0 - 623.6). By examining the death

certificates for the specific causes of death and circumstances surrounding the

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deaths, it was determined that the excess mortality among females due to external
causes was not work-related. The only recommendation by the University of
Minnesota investigators was that the mortality experience of Decatur plant
employees be updated in 1998 which would extend the vital status search, via

National Death Index records, through 1996.

In addition to the Decatur mortality study, the University of Minnesota investigators
have also followed the mortality experience of a cohort of employees associated with
fluorochemical production at the 3M Cottage Grove (Gilliland and Mandel, 1993).
Unlike the Decatur plant, the greatest potential for exposure at Cottage Grove is to
PFOA (perfluorooctanoic acid) although the plant does produce PFOS. The total
cohort consisted of 2,788 male and 749 female workers employed between 1947 and
1983. There was no significantly increased cause-specific SMR for either men or
women, Ina proportional hazard regression model, ten years of employment in jobs
associated with the chemical division was associated with a 3.3-fold increase (95%
CI 1.02 — 10.60) in prostate cancer mortality compared to no employment in the
chemical division. The authors suggested that this finding may be biologically
plausible with exposure to PFOA as animal toxicology and human data had
associated PFOA with reproductive hormone changes (Gilliland, 1992). However,
the authors urged caution in the interpretation of this result due to the nonspecificity
of the exposure index as well as the few subjects (n = 4) considered ‘exposed.’
Subsequent research on the Cottage Grove male workforce involved with PFOA
production has provided reasonable assurance that there are no significant hormonal

changes associated with PFOA at the serum levels measured (Olsen et al., 1998).

Current and proposed human health and exposure research initiatives are found in

Section VI.

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Table III.3. Selected Cause - Specific SMRs for Men
by Comparison Population (n = 1,639)
SMR
(95% Confidence Interval)
Observed AL Regional

Cause of Death Deaths US. Alabama Counties
All Causes of Death 70 62.9 54.8 52.0

(49.0, 79.5) (42.7, 69.3) (40.5, 65.7)
All Malignant Neoplasms 15 68.4 60.9 59.9

(38.3, 112.8) (34.1, 100.4) (33.5, 98.8)
Cerebrovascular Disease | 33.5 27.8 26.5

(0.8, 186.8) (0.7, 155.2) (0.7, 147.5)
All Heart Disease 17 59.1 53.2 49.1

(34.4,94.7) (31.0, 85.1) (28.6, 78.6)
Respiratory Disease 0 --- --- ---

(0.0, 91.2) (0.0, 80.2) (0.0, 73,9)

External Causes 25 74.5 59.0 55.0

(48.2, 110.0) (38.2, 87.1) _(35.6, 81.3)

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IV. SUMMARY OF TOXICOLOGY DATA ON PFOS

Introduction

This section summarizes the existing database with respect to the potential mammalian
toxicity of PFOS. Toxicology data are valuable in identifying potential health effects
and provide a basis for risk characterization. The use of this information in risk

characterization will be described in Section V.

With few exceptions, past toxicology studies either did not characterize blood and
tissue concentrations associated with exposure or were not completely specific in
characterizing blood and tissue concentrations. For these past studies, blood and
tissue concentrations can only be estimated based on limited pharmacokinetic data and
results from more recent studies, most of which have been designed to include a
pharmacokinetic component to obtain highly sensitive and specific identification of
PFOS in blood and tissues. Also, the extent of potential interspecies and intraspecies
variability in pharmacokinetic handling of PFOS is not presently well defined.
Comparison of serum concentrations of PFOS from toxicity studies to measured
human serum concentrations may be an interesting and convenient comparison,
however, body burden and/or target organ tissue concentration may be more
meaningful in characterizing risk. The available body of animal toxicity data cannot be
related quantitatively and without uncertainty and speculation to the concentrations of
PFOS in human blood reported in Section II and the results of epidemiologic

investigation as reported in Section III.

Despite the current limitations in the ability to characterize risk based on the
relationship of blood and tissue PFOS concentrations from toxicity studies to human
blood concentrations of PFOS, the existing toxicology database on PFOS does
provide valuable insight into potential health hazards and forms a foundation for risk

characterization.

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It should be mentioned that the specific sources of PFOS identified in the serum of
non-occupationally exposed humans are currently unknown. The PFOS molecule
itself may not be the primary source. PFOS in the serum of non-occupationally
exposed humans may derive from metabolism of higher molecular weight molecules
present in industrial, commercial and consumer products or manufacturing by-

products.

The studies described in the following discussion reflect the toxic responses resulting
from direct dosing with PFOS. The studies that are summarized in this section were
performed with the potassium salt of PFOS unless otherwise annotated, Studies on
related compounds are considered outside the scope of this discussion and will only be
mentioned when they provide valuable insight into the toxicity of PFOS. Some data
will be discussed from studies which are currently in progress or incomplete, Tabular
summaries of rodent repeated-dose toxicity studies, primate repeated-dose toxicity
summaries and developmental and reproduction studies will be found at the end of this
section (Table IV.9, IV.10, and IV.11, respectively). In addition to these summary
tables, Tables I'V.12 presents the results of rodent and primate 90-day sub-chronic
studies organized by increasing nominal mg/kg dose level. A list of studies initiated in
1998 can be found at the end of this section in Table I1V.8 and summary descriptions of

these studies can be found in the Appendix.

Pharmacokinetics of PFOS

The absorption, tissue distribution, potential metabolism and excretion of PFOS has
been studied most extensively in rats by both radiolabel and direct quantitation.
Limited data relating oral dose to serum and liver concentrations of PFOS in the
cynomolgus monkey is available from a recent 28-day rangefinder capsule dosing
study. In addition, serum PFOS concentrations in three retired male 3M chemical
workers have been followed in an attempt to estimate an elimination rate constant for

the human.

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In general, PFOS:

e is well absorbed from the digestive system;

e has some limited potential for dermal absorption;

e distributes predominantly to the blood and liver, with liver concentrations being
several times higher than serum concentrations;

© appears to have a serum half-life shorter than the elimination half-life after a single
dose;

¢ appears to have extended elimination half lives in rats, monkeys and humans;

e shows slight but consistent sex differences in serum and liver concentrations on
repeated dosing in the rat but not the cynomolgus monkey;

© appears to undergo enterohepatic recirculation,

e does not appear to be metabolized, including conjugation reactions.

Absorption: At least 95% of a single oral dose averaging 4.2 mg/kg [""C]PFOS
administered to two groups (24 hour and 48 hour sacrifice) of 3 male Charles River
CD rats (248-315 g, mean = 285 g) was absorbed within 24 hours (Johnson and Ober,
1979). The radiochemical purity of the ['*C]PFOS used in this and the other
radiolabel studies listed below was >99% (Johnson and Behr, 1979),

PFOS was applied to skin that had been clipped free of hair as a suspension in water at
5,000 mg/kg covering 40% of the total body surface area of ten male and ten female
rabbits. An impervious plastic sheet occluded the skin for 24 hours and was then
removed. Animals were maintained and observed for a 28-day period. Blood samples
were obtained on days 1, 7, 14, and 28. Analysis for total blood fluoride was
performed on the day one and day 28 samples from a single male and single female.
Total serum fluoride values for the male were 10.3 ppm for day one and 130 ppm for
day 28, The respective values for the female were 0.9 ppm and 128 ppm. Although

this study indicated some dermal absorption, it is limited in that the values from only

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two animals were measured, and only from the day one and day 28 samples (O’ Malley

and Ebbens, 1980).

Three male and three female albino rabbits per dose group were exposed dermally
under occlusion for 24-hours to an aqueous suspension of PFOS (0.06 %) at doses
equal to 0, 0.003, 0.06, and 0.3 mg PFOS / kg and held for 28 days (Glaza, 1995).
Liver samples taken at term were analyzed for total organic fluorine. No quantifiable
organic fluorine could be detected in the 28-day livers by combustion or by

electrospray mass spectroscopy (Johnson, 1995).

Distribution: By 89 days after a single iv dose of PFOS-“C (mean dose, 4.2 mg/kg)
six Charles River CD male rats (initial body weights 262-303 g, mean = 288 g)
excreted a mean of 30.2% of the total carbon-14 via urine. Mean cumulative fecal
excretion was 12.6%, At 89 days, mean tissue concentration of total carbon-14
expressed as pg PFOS-'"C equivalents/g were: liver, 20.6; plasma, 2.2; kidney, 1.1;
lung, 1.1; spleen, 0.5; and bone marrow, 0.5. Lower concentrations (<0.5) were
measured in adrenals, skin, testes, muscle, fat and eye. No radioactivity (<0.05) was
detected in brain. The carbon-14 in liver and plasma represents 25 and 3 percent of

the dose, respectively (Johnson etal, 1979),

Serum PFOS concentrations were measured throughout a 28-day oral rangefinder
study in which male and female cynomolgus monkeys weighing 2.1 to 2.4 kg were
given capsules containing PFOS at either 0.0 mg/kg/day (two males and two females),
0,02 mg PFOS/kg/day (three males and three females), or 2.0 mg/kg/day (one male
and one female) (Thomford, PJ, 1998). The monkeys dosed with PFOS (0.02 and 2.0
mg/kg/day) demonstrated an extremely linear (r-squared > 0.99) increase in serum
concentration throughout the exposure period (28 days). There was no apparent sex
difference and the individual slopes of the cumulative PFOS dose versus serum PFOS
concentration curve appeared to be virtually identical between the monkeys in the two

dose groups. The average slope of the curve in the 0.02 mg/kg/day group (n = 6) was

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5.22 + 0.74 ppm PFOS in serum per mg/kg cumulative dose, and for the two monkeys
in the 2.0 mg/kg/day dose group, the average was 5.40 + 0.61 ppm PFOS in serum per
mg/kg PFOS cumulative dose. At the end of the 28-day dosing period, serum
concentration in the 0.02 mg/kg/day dose group reached approximately 3 ppm and in

the 2.0 mg/kg/day dose group, serum concentrations reached approximately 300 ppm.

This data suggests a volume of distribution of 0,19 L/kg for continuous dosing over a
dose range of two orders of magnitude for the male and female cynomolgus monkey.
This is calculated as follows:
One (1) mg/kg results in 5.3 ppm serum PFOS;
This is equivalent to 5.3 mg/L of serum (mg/L = ppm weight/volume),
One (1) mg/kg given to 2,2 kg monkey results in a total dose of 2.2 mg;
Va (L) is calculated as 2.2 mg / 5.3 mg/L = 0.41 L,
Normalizing this for body weight gives 0.41 L / 2.2 kg = 0.19 L/ kg = Va (L/ kg);
V, for a 60 kg woman is estimated to be 0.2 L/ kg x 60 kg = 12 L= Va (L).

Metabolism: Preliminary data from analysis of urine, feces and tissues of rats as well
as the inherent stability of perfluorinated anions suggest that PFOS is not metabolized
(Johnson et al., 1984). Exposure of primary human and rat hepatocytes to PFOS did
not result in further metabolism (Gordon, 1998), Analysis by LC/MS of serum and
liver samples from studies currently in progress have not revealed any evidence of

metabolism.

Excretion: In the previously mentioned study (Johnson etal, 1979) single intravenous
doses (mean 4.2 mg/kg) of ["“C]PFOS in 0.9% NaCl were administered to male rats.
By 89 days after dosing, 30.2% of the administered '4C had been excreted in the urine

and 12.6% had been excreted in the feces.

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Whole body elimination in the male rat appeared to be biphasic. Initial redistribution
from the plasma yielded a plasma elimination half-life of SC of 7.5 days following
single oral administration of ['“C]PFOS (mean dose 4.2 mg/kg) to male rats (Johnson
and Ober, 1979). In the aforementioned intravenous study, elimination of only 42.8 %
of the dose through urine and feces after 89 days indicates that the half-life of

elimination from the body is > 89 days in the male rat.

Serum PFOS levels in three retired male 3M chemical workers have been followed for
five and one-half years and suggest a mean serum elimination half-life of 1,428 days.
Over that time period that these serum samples were taken and analyzed, the analytical
method changed from thermo-spray mass spectrometry to electro-spray mass
spectrometry, and the analytical laboratories changed. These changes should not have
affected the values reported to any appreciable extent. Since urine and feces have not
been followed, it is difficult to ascertain if this represents a true elimination half-life
from the body; however, this is the closest value for elimination half-life applicable to
humans in existence. The actual data from these three retired chemical workers is

presented in Table [V.1.
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Table IV.1 Serum Elimination of PFOS in Retired 3M Chemical Workers.

Serum [PFOS] in mg/L (ppm)
Retiree | Retiree 2 Retiree 3
3/4/92 5.8 3/18/92 1.6 3/18/92 4.2
9/20/93 6.0 11/15/93 | 1.4 11/29/93 | 3.3
3/1/94 4.0 5/5/95 0.7 5/4/95 1.7
6/19/95 3.0 11/18/97 | 0.7 10/23/97 | 1.4
12/5/97 | 2.6
Serum Elim. | - 0.0132/month - 0.0136/month - 0.0176/month
Constant (A)
Serum Elim. | 52.5 mo/1575 d 50.9 mo/1527 d 39.4 mo/1182 d
Tia

Fecal and total excretion of C were markedly increased in male rats administered
cholestyramine (~ 2.7 g/kg/d) in their diet following single intravenous doses of
['“C]PFOS. The results suggest that there was significant enterohepatic circulation of
PFOS (Johnson and Gibson, 1980, 1984). Cholestyramine administered at 4% by
weight in feed to male rats decreased the retention of carbon-14 in liver, plasma, and
red blood cells and increased the elimination of carbon-14 via feces after iv dosing
with PFOS-"C. Groups of five rats (twelve-week old Charles River CD averaging
320 g) were dosed intravenously with PFOS-"C (mean dose, 3.4 mg/kg). Groups of
five control rats were dosed similarly but were not treated with cholestyramine. Rats
were sacrificed at 21 days post dose. The mean liver, plasma, and red blood cell

concentration as well as fecal and urinary excretion of 4C for cholestyramine-treated

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rats were compared to mean control rat values. Mean cholestyramine-treated rat '“C
concentrations in liver (9.4ug/g), plasma (0.9pg/ml), and red blood cells (0.3 g/g)
represent a decrease from mean control rat concentrations of 3.8, 7.7, and 6.0 fold,
respectively. Fecal elimination (75.9% with cholestyramine treatment) was increased
9.5 fold. The extent of urinary “C elimination, as a result of the relatively high rate of
fecal elimination of '*C was lower in cholestyramine-treated rats, The extent of total
elimination of '“C (urine plus feces) was higher in the cholestyramine-treated rats.
Since cholestyramine is approved for use in humans as a cholesterol lowering agent,
these results in rats support the concept of testing cholestyramine in humans to

promote excretion of PFOS (Johnson et al, 1980).

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Acute Toxicity

Acute Oral Toxicity: PFOS was administered by gavage in a 20 : 80, acetone: corn
oil suspension to five male and five female rats at dose levels of 100, 215, 464, and
1000 mg/kg. Observations of toxicity were made over a 14-day period. All rats in the
1000 and 464 mg/kg dose groups died. The signs before death included hyperactivity,
decreased limb tone and ataxia. At 215 mg/kg, three of ten animals died. At 100
mg/kg, no deaths were observed. The combined acute oral LDSO in male and female
rats is 251 mg/kg (95% C.L.: 199-318 mg/kg). PFOS is considered moderately toxic

on acute oral administration under the conditions of this study (Dean et al., 1978).

Acute Dermal Toxicity: Ten male and ten female albino rabbits were clipped free of
hair and an aqueous suspension equivalent to 5 g/kg PFOS was placed over 40% of
the total body surface area, occluded with an impervious plastic sheet and left in
contact with the skin for 24 hours, then removed. Animals were maintained and
observed for a 28-day period after which they were necropsied. Blood samples were
obtained on days 1, 7, 14 and 28. Day 0, 7, 14 and 28 body weights were recorded.
Hyperactivity was noted in 5 of 10 males on day 6. All animals recovered by day 7
and remained asymptomatic throughout the study period. Weight gains were observed
for all rabbits. No visible lesions were noted at necropsy. Analysis of total blood
fluoride from day 1 and day 28 blood samples of one male and one female indicated
that PFOS was absorbed through the skin, reaching blood concentrations of
approximately 130 ppm after 28 days (see section above on absorption). PFOS can be
considered practically non-toxic on single dermal contact (O’Malley and Ebbens,
1980).

Acute Inhalation Toxicity: Groups of five male and five female Sprague-Dawley
rats were exposed by inhalation for one-hour to nominal exposure concentrations of
24, 7.1, 6.5, 4.9, 2.9, 1.9 and 0.0 milligrams PFOS per liter of air. The rats were
observed hourly for the first four hours and daily thereafter for 14 days. All rats

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exposed to 24 milligrams per liter died. Partial mortality was produced at nominal
exposure concentrations of 7.1 (80%), 6,5 (80%), 4.9 (20%) and 2.9 (10%) milligrams
per liter. Symptoms observed during the exposure and post-exposure periods were
labored breathing, reduced activity, excessive salivation and lacrimation, mucoid and
red nasal discharge, yellow staining of the ano-genital fur, and dried red material on
the facial area. The most frequent abnormal necropsy observations were of lung and
liver discoloration. Lung discoloration was also observed in a high number of control
rats and thus may not be treatment-related. The nominally determined median lethal
concentration (LC50) for a one-hour exposure to PFOS was determined to be 5.2
milligrams per liter with 95% confidence limits of 4.4 milligrams per liter and 6.4

milligrams per liter (Rusch and Rinehart, 1979).

Primary Irritation
Ocular Irritation: PFOS was found to be mildly irritating to the eyes of albino

rabbits when tested according to standard Federal Hazardous Substances Act
guidelines. The ocular irritation was limited to the conjunctivae in the six test rabbits.
Irritation was noted at the 1, 24 and 48 hour post-instillation reading times. The
maximum irritation score was 9.3 out of a highest possible score of 110 at the 24 hour
reading. By 72 hours post-instillation all readings were zero (Biesemeier and Harris,

1974).

Dermal Irritation: PFOS was found to be non-irritating to the skin of albino rabbits
when tested under conventional Draize procedures. No signs of dermal irritation were
observed in any of the test animals at any time during the study period. The primary
skin irritation score was 0.0 out of a highest possible score of 8.0 (Biesemeier and
Harris, 1974).

Genotoxicity

Gene Mutation: PFOS was not mutagenic in Salmonella typhimurium strains TA-

1535, TA-1537, TA-1538, TA-98, TA-100 or in Saccharomyces cerevisiae strain D4

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in a standard plate incorporation assay with or without metabolic activation.

(Jagannath and Brusic, 1978).

Chromosomal Effects: PFOS did not cause chromosomal aberrations in an in vivo
mouse bone marrow micronucleus assay. PFOS in water was administered by oral
gavage at 0, 237.5, 475, and 950 mg/kg to five male and five female mice for each
dose/ harvest time group. The mice were euthanized 24, 48 and 72 hours after dosing
for extraction of bone marrow. No increase in bone marrow polychromatic

erythrocytes was observed (Murli, 1996).

Repeated-Dose Toxicity

A number of repeated-dose toxicity studies have been conducted with PFOS and will
be discussed in this sub-section. A tabular summary of these studies will be found at
the end of this section in Table [V.9 for rodent studies and Table [V.10 for primate
studies. In addition to these summary tables, Table IV.12 presents the results of
rodent and primate 90-day sub-chronic studies organized by increasing nominal mg/kg

dose level.

90-Day Dietary Study in Rats: PFOS was fed in the diet at levels of 0, 30, 100,
300, 1,000 and 3,000 ppm to groups of five male and five female Charles River CD
rats for 90 days. These doses represent approximately 0, 2,6, 18, 60 and 180
mg/kg/day. The rats were observed twice daily for overt signs of toxicity and
mortality. Individual body weight and sex group food consumption were recorded
weekly. Hematological, biochemical and urinalysis studies were conducted prior to

commencement of dosing, at one month and at study termination.
At the 30 ppm (approximately 2 mg/kg/day) dosage level, no rats showed any

compound related changes in appearance or behavior. Mean body weights were

slightly lower when compared to the controls. At one month, one female rat showed a

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slightly elevated blood glucose, and one male rat showed a slightly elevated serum
alkaline phosphatase. At three months, one male rat had slight to moderate elevations

in blood glucose, blood urea nitrogen and gamma-glutamyl transpeptidase activity.

At the 100 ppm (approximately 6 mg/kg/day) dosage level, mean body weight and
food consumption was significantly lower than the control group. One male and two
females died. Slight increases in creatinine phosphokinase (CPK) and serum alkaline
phosphatase activity, slight to moderate increases in blood glucose and blood urea
nitrogen, and slight to marked increases in plasma transaminase activities (AST and
ALT) were seen at one month. At three months, all rats in the 100 ppm dose group
had slight to moderate decreases in hemoglobin, hematocrit and erythrocyte counts,
and slight to moderate increases in transaminase activities were seen for two of the

three surviving female rats.

At dosage levels of 300, 1,000 and 3,000 ppm (approximately 18, 60 and 180
mg/kg/day) all rats died prior to scheduled termination of the study. Time of death
was dose-related. Overt clinical observations of toxicity included emaciation,
convulsions, altered posture, red material (right eye and/or mouth), yellow material in
the ano-genital region, increased sensitivity to external stimuli and reduced motor
activity. Compound-related gross changes such as emaciation and areas of
discoloration involving the stomach and liver were observed among treated rats that
died prior to sacrifice. Similar changes were also observed in the liver of a few rats

sacrificed at termination of study from the 30 and 100 ppm groups.

Morphological changes consisting of centrilobular to midzonal cytoplasmic
enlargement (hypertrophy) of hepatocytes and necrosis of liver cells was present in all
PFOS dose groups. The incidence and relative severity of the above lesions were
more evident among male rats. In addition, rats from the 300, 1,000 and 3,000 ppm

dosage levels displayed compound-related changes involving the primary (thymus,

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bone marrow) and secondary (spleen, mesenteric lymph nodes) lymphoid organs,

stomach, intestines, muscle and skin (Goldenthal et al, 1978a).

Two-Year Dietary Study in Rats, Four and Fourteen Week Results; Results are
available from four-week and fourteen-week interim sacrifices in Sprague-Dawley rats
which are part of an on-going 104-week dietary study (Covance, 1998). In these sub-
studies, groups of five male and five female rats (four and 14-week sacrifice groups)
and ten male and ten female rats (14-week sacrifice groups) were exposed to either 0,
0.5, 2, 5, or 20 ppm PFOS in the diet for four or 14 weeks. Clinical observations were
made twice daily. Body weights and food consumption were measured once a week.
Organ weights were measured at term. Samples were taken at both sacrifices for
PCNA, liver palmitoyl CoA oxidase activity, serum and liver PFOS concentrations and
at the 14-week sacrifice for hematology, clinical chemistry (including urinalysis), and
histopatholgy. During weeks 4 and 14, blood and urine were collected for
hematology, clinical chemistry, urinalysis, and urine chemistry tests from ten
animals/sex in Groups | through 5. Five animals/sex in Groups | through 5 were
sacrificed during Week 4; livers were collected and weighed. A portion of the liver
was prepared for PFOS analysis, a portion was shipped to Pathology Associates
International for hepatocellular proliferation rate (PCNA) measurements, and a portion
was used for determination of palmitoyl-CoA oxidase activity, At week 14, necropsies
were performed on five animals/sex in Groups | through 5. At necropsy, macroscopic
observations were recorded, organ weights were obtained, and tissues were placed in
fixative as specified by the protocol. In addition, liver samples were collected for
PFOS analysis, hepatocellular proliferation rate measurement, and palmitoyl-CoA
oxidase determination. Microscopic examinations were done on selected tissues from
animals necropsied during week 14. The tissues were adrenals, brain, eyes, kidney,
liver, mesenteric lymph node, pancreas, spleen, testes, and ovaries. In addition,
microscopic examinations were done on tissues from animals that died or were

sacrificed due to poor health,

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There were relatively few statistically significant or otherwise notable differences for
clinical pathology results between the control and treated groups. Although none of
the statistically significant differences for high dose animals were consistent at both
testing intervals, it was considered likely that administration of the test material was
associated with mildly higher urea nitrogen at Week 14 for males and females fed 20.0
ppm and moderately lower cholesterol and mildly higher alanine aminotransferase at
Week 14 for males fed 20.0 ppm. There were no correlative microscopic renal
findings for the minor change in urea nitrogen. The findings for alanine
aminotransferase and cholesterol were likely associated with the histopathological

findings of hepatocellular hypertrophy and vacuolation.

Of uncertain relationship to the test material was mildly, but statistically, higher
absolute neutrophil count for males fed 20.0 ppm. Females were unaffected, and there

were no correlative microscopic findings for this small difference.

All other statistically significant differences for clinical pathology results between the
control and treated groups were considered incidental. Lower glucose at Week 4 for
high-dose males and lower aspartate aminotransferase at Week 4 for high dose females
were considered incidental because they were not present at Week 14. Higher albumin
at Week 14 for high dose females was considered incidental because the low dose

females had a similar, but higher, statistically significant difference for albumin.

Table [V.2 and IV.3 summarize key clinical pathology results at 14 weeks for males

and females, respectively.

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_ Table IV.2 Clinical chemistry and hematology in Male rats at week 14 (n=10)
Map!
Average Value and Std Dev. by Dose Group (ppm PFOS in. | ANOVA
Diet)
Parameter 0 ppm 0.5 ppm 2 ppm 5 ppm 20 ppm | Pr>F
ALB 5 +0.17 §+0.2 4.8+0,35 | 540.3 5+0.16 0,32
ALT (SGPT) | 38+31 42+7 40 +6 51 +15 81+74 0,28
AST (SGOT) | 109 +31 121414 | 139+14 | 137410 | 159+77 | 0.34
CHOL 64 + 13 53+22 |50+16 |57+8 36+18* | 0.13
GLU 103 +8 104413 | 83415 93 +8 92+ 14 0.062
N_SEG 1+0.4 12+0.3 | 0.94+0.2 | 13+0.46 | 1.7+03 | NA
UN 13 +2 14+2 14+2 14+0 17+1* | 0.0007
PCoAO 4.6+1.34 |4843.3 | 5443 18418 |54+1.9 |0.14
* Mean significantly different (Dunnetts’ T-test, p < 0.05) than the control group value
Table IV.3 Clinical chemistry and hematology in female rats at week 14 (n=10)
No Average Value and Std Dev. by Dose Group (ppm PFOS in Diet) | ANOVA
Parameter 0 ppm 0.5 ppm 2 ppm 5 ppm 20 ppm Pr>F
ALB 5.5+0.25 | 6.1+0.5* |5.7+0.17 | 6.24+0.2* | 6.1+0.24* | 0.0057
ALT (SGPT) | 34+2 39+ 11 30 +5 36+5 33 +5 0.24
AST (SGOT) | 103 +21 108+23 | 98+8 109 + 22 79+9 0.092
CHOL 78 +19 79+ 14 70+ 12 68 +19 65 + 16 0.64
GLU 102+16 | 100+12 | 105+3 90 +8 100 +7 0.31
N_SEG 0.8+0.36 |09+04 | 053+0.13 | 0.56+0.1 |064+0.1 | NA
UN 14+1 1644 14z2 16+ 1.7 16+1.8 0.26
PCOAO 18+16 |30+26 | 1+08 16+26 |5+2.9 0.10
* Mean significantly different (Dunnetts’ T-test, p < 0.05) than the control
group value

Body and Organ Weights: Terminal body weights at 14 weeks for the 2 ppm dose
group were reduced in comparison to controls by 4.5% in the males and 11.7% in the
females. Absolute and relative liver weights were significantly increased by

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approximately 35% in the males given 20.0 ppm PFOS in the diet. In females given

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20.0 ppm, the absolute liver weights were increased by approximately 30% over
control values, but only the liver-to-body weight percentage was significantly
increased. The absolute spleen weight was significantly decreased in the females given
20.0 ppm, as was the absolute lung weight in females given 2.0, 5.0, or 20.0 ppm.
Spurious significant increases in left thyroid/parathyroid-to-body weight ratios were

seen in females given 5.0 or 20.0 ppm.

Macroscopic Observations: There were no macroscopic observations that could be

attributed to the administration of the test material.

Microscopic Observations: Test material related histomorphologic changes were
limited to the liver in the males given 5.0 or 20.0 ppm and in the females given 20.0
ppm. The changes consisted of hypertrophy of hepatocytes in centrilobular areas, and
midzonal to centrilobular hepatocytic vacuolation. The incidence and severity of the

changes tended to be greater in the males.

There were no apparent test material-related lesions in the remaining tissues examined.

Serum and liver concentrations of PFOS increased with dose and with length of

exposure, and liver values were significantly higher than corresponding serum values.

These analytical results are presented in Tables [V.4 and IV.5 for serum and liver,

respectively.

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Table [V.4 Mean Serum PFOS Concentrations (ppm) After 4 and 14 Weeks Dietary
Exposure

Serum [PFOS] in ppm by Dietary Dose Group (ppm PFOS in Diet)

n= 5 per sex per dose group

Time Dose 0 ppm 0.5 ppm 2 ppm 5 ppm 20 ppm

Interval | Group

4 Weeks | Male < MDL** 1.144007 |5.05+12 | 8954231 | 464+8.46
Female | 0.04 +0.003 | 1.90+0.22 | 7.50+0,053 | 14.3+1.85 | 59.4+8.46

14 Weeks | Male <MDL** 4.22+0.83 | 17.9+1.23 | 45.6+5,73 | 1524133
Female | 2.45+4.19* | 6.65+1.08 | 26.94+2.26 | 62.9+6.19 | 216+21.9

*0 ppm female [PFOS] in serum at 14 weeks without one outlying value (7=4) is 0.59 +

0.59 ppm.

**MDL = Method Detection Limit, which was 15 ppb.

Table [V.5 Mean Liver PFOS Concentrations (ppm) After 4 and 14 Weeks Dietary
Exposure

Liver [PFOS] in ppm by Dietary Dose Group (ppm PFOS in Diet)

n= 5 per sex per dose group

Time Dose 0 ppm 0.5 ppm 2 ppm 5 ppm 20 ppm
Interval | Group
4 Male 0.1140.74 | 11+1.70 33 +8.0 49+12 295 + 45
Weeks
Female | 0.11+0.05 | 8.6+0,57 25 + 6.2 80 +17 357+ 43
14 Weeks | Male 0.44+0.05 | 26+44 777.5 387 +33 600 + 116
Female | 1.58 +2.1 19+3.4 68 + 3.0 362 + 26 618 + 50

90-Day Drinking Water Study with Lithium Perfluorooctane Sulfonate (LPOS)

in Rats: The lithium salt of perfluorooctane sulfonate was administered to male and

female Sprague-Dawley rats in drinking water for 90 consecutive days. With the

exception of controls, male and female doses did not directly correspond and each

dose group was either ten males or ten females. Female LPOS doses, expressed as

mg/kg body weight, were: 0 (two separate controls, one added later as a concurrent
control for the 0.6 mg/kg dose group); 0.02; 0.06; 0.2; and 0.6 mg/kg (added later),
Male LPOS doses, also expressed as mg/kg body weight, were: 0; 0.3; 1.0; and 3.0.

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Clinical observations included weekly body weight, daily observation, eye examination
(day 0 and one week prior to termination), and food and water consumption. Clinical

chemistry was performed on blood samples taken at termination. Gross pathology and
organ weights were noted at sacrifice and histopathology was performed on preserved

tissues.

All rats gained weight in the course of the study. There were no compound-related

early deaths.

Clinical pathology demonstrated effects on hematologic and serum chemistry
parameters in the mid-dose and high-dose males as well as the high-dose females.
Significant hematologic effects in male rats were: 1) decreased hemoglobin, hematocrit
and RBC (0.3 and 1.0 mg/kg dose groups); 2) decreased mean corpuscular
hemoglobin content (3.0 mg/kg dose group); and 3) higher eosinophil counts (0.3
mg/kg dose group). Significant hematologic effects in female rats were: 1) decreased
hematocrit and RBC count (0.6 mg/kg dose group); decreased mean corpuscular
volume (0.02 and 0.2 mg/kg dose groups); 3) decreased mean corpuscular hemoglobin
and mean corpuscular hemoglobin content (0.02, 0.06 and 0.2 mg/kg dose groups);
and 4) increased mean corpuscular hemoglobin and mean corpuscular hemoglobin
content (0.6 mg/kg dose group). These hematologic effects did not have a consistent
dose-related pattern. Significant serum chemistry effects in male rats were: 1) an
elevation in alkaline phosphatase and blood urea nitrogen and decreased cholesterol
(1.0 and 3.0 mg/kg dose groups); 2) increased total bilirubin (3.0 mg/kg dose group)
and 3) decreased triglycerides (0.3, 1.0 and 3.0 mg/kg dose groups). There were no

significant treatment-related serum chemistry effects in female rats.

Gross pathology revealed the following organ-weight effects in male rats: 1) increases
in absolute liver weights and liver weight relative to brain weight and liver weight
relative to body weight (1.0 and 3.0 mg/kg dose group) and 2) decreased absolute

heart weight, decreased heart weight relative to body weight and increased brain

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weight, kidney weight and testes weight relative to body weight (3.0 mg/kg dose
group). Gross pathology revealed the following organ-weight effects in female rats: 1)
increases in absolute liver weights and liver weight relative to body weight (0.06, 0.2
and 0.6 mg/kg dose groups); 2) increased liver weight relative to brain weight (0.2 and
0.6 mg/kg dose groups); 3) decreases in absolute heart weight, heart weight relative to
brain weight and heart weight relative to body weight (0.02, 0.06, 0.2 and 0.6 mg/kg
dose groups); 4) increased brain weight relative to body weight (0.02 and 0.06 mg/kg
dose groups) and 5) increased kidney weight relative to body weight (0.2 mg/kg dose
group). With the exception of liver, these organ weight changes were related to
reduced body weight gain and were not associated with histopathologic alterations.
The dose-related increases in liver weights and reductions in serum cholesterol and
triglycerides are supported by the histopathologic finding of hepatic vacuolization in

the 1.0 and 3.0 mg/kg male rats.

90-Day Oral Gavage Study in Rhesus Monkeys: In an initial study, five groups
consisting of two male and two female rhesus monkeys initially weighing between 2.75
and 4.10 kg were given daily doses of 0, 10, 30, 100 and 300 mg PFOS / kg by gastric
intubation (gavage) as distilled water suspension. This study was terminated after 20
days due to the death of all PFOS-dosed monkeys (Goldenthal, 1978). Time of death
was dose-related. Monkeys in the 300 mg/kg/day dose group died between the
second and fourth day. The 100 mg/kg dose group died between the third and fifth
day. At 30 mg/kg, deaths occurred between the seventh and tenth day. The 10 mg/kg
dose group died between days 11 and 20, All PFOS-treated monkeys lost weight.
Clinical observations of toxicity were similar for all PFOS dose groups, and time of
onset of toxic effects was dose-related. These toxic symptoms included anorexia,
slight to severe decreased activity, frothy or food-like emesis, and occasional diarrhea.
Prior to death, body and limb stiffening, general body tremors, convulsions and
prostration were observed. The 10 mg/kg dose group included one monkey who had

black stools and one who developed facial erythema. Gross pathology revealed a

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yellowish-brown discoloration of the livers of several monkeys in the 100 mg/kg and
300 mg/kg dose groups. Organ weights appeared within normal limits; however, due
to early deaths of PFOS-treated monkeys and the reuse of control monkeys on a
follow-up study at lower dose levels, concurrent control data was not available.
Histopathologic examination of tissues from treated monkeys did not reveal any
consistent observations which could be directly related to an effect of PFOS.
Congestion and lipid depletion of the adrenal cortex was seen in all dose groups and
was considered agonal. The study was terminated after the death of the last 10 mg/kg

dose-group monkey.

After termination of the initial study after early deaths of all PFOS-treated monkeys,
the control group monkeys were used in a follow-up study at lower doses (Goldenthal
etal, 1978b). In this study, five groups consisting of two male and two female rhesus
monkeys initially weighing between 2.55 and 3.75 kg were given daily doses of 0, 0.5,
1.5, and 4.5 mg PFOS / kg by gastric intubation (gavage) as distilled water suspension
for 90 days. The monkeys were observed twice daily for general physical appearance,
behavior and other clinical signs of toxicity. Body weights were recorded weekly.
Hematological and biochemical studies and urinalysis were conducted once in the

control period and at the end of the first and third month of the study.

The monkeys treated at the 4.5 mg/kg/day dosage level died or were sacrificed in
extremis between weeks 5 and 7 of the study. These monkeys exhibited
gastrointestinal symptoms including anorexia, emesis, black stool and dehydration
from the first or second day of study. These monkeys also exhibited decreased activity
and showed marked to severe rigidity, convulsions, generalized body trembling,
prostration and loss of body weight prior to death. The mean body weight decreased
from 3.44 kg at the beginning of the study to 2.70 kg at week 5 of the study. All
monkeys at the 4.5 mg/kg/day dosage level had decreased serum cholesterol values

and serum alkaline phosphatase activity at one month.

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All monkeys at the 1.5 mg/kg/day dosage level survived to the end of the study.
These monkeys exhibited slightly decreased activity from the first week of the study
which occasionally became moderate to marked. In addition, they occasionally had
black stools, diarrhea, mucous in the stool and bloody stool and exhibited dehydration
or general body trembling at the end of study. The monkeys from this group had a
slight decrease in mean body weight. Slight decreases in serum alkaline phosphatase
activity and serum inorganic phosphate concentrations were evident at the end of the

study in addition to a marked decrease in serum cholesterol.

All monkeys at the 0.5 mg/kg/day dosage level survived to the end of the study.
Monkeys at this dosage level exhibited an occasional soft stool, diarrhea, anorexia and
emesis, all of which also occurred occasionally in the control group. Slightly
decreased activity was noted intermittently in three monkeys at this dosage level. At
three months of study a statistically significant decrease in the serum alkaline
phosphatase activity was noted in the males as compared to control values; however,
the toxicologic significance of this finding is questionable when compared to individual
pre-dose values. The 0.5 mg/kg dose has been considered to present a LOEL by past
reviewers. Recent evaluation of the study by 3M toxicologists lend to a conclusion

that this dose more likely represents a NOAEL, if not a NOEL.

No treatment-induced gross or microscopic pathological lesions were seen in tissues
other than the adrenals, pancreas, and submandibular salivary glands of male and
female rhesus monkeys at the 4.5 mg/kg/day dosage level. Microscopically, the
adrenals from male and female monkeys at the 4.5 mg/kg/day dosage level had
compound-related marked diffuse lipid depletion; the pancreas from male and female
monkeys at the 4.5 mg/kg/day dosage level had compound-related moderate diffuse
atrophy of exocrine cells; the submandibular salivary glands from male and female
monkeys had compound-related moderate diffuse atrophy of the serous alveolar cells.
No statistically significant variations in sex group mean weights of organs occurred

between the control and experimental groups.

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Table [V.6 summarizes the individual cholesterol values for all dose groups.

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Table IV.6: Longitudinal analysis of serum cholesterol and PFOS concentrations of
individual male and female rhesus monkeys during 90 days dosing with either 1.5 or
4.5 mg/kg PFOS (7 = 2 per sex per dose group) (Goldenthal etal, 1978b).

Dose Group

0
mg/kg/day
Dose Group
Monkeys

0.5
me/kg/day
Dose Group
Monkeys

1.5
mg/kg/day
Dose Group
Monkeys

4,5
mg/kg/day
Dose Group
Monkeys

Individual

3 (ID # 7355)
3 (ID # 7358)
9 (ID # 7368)
@ (ID # 7372)

3 (ID # 7463)
6 (ID # 7483)
2 (ID # 7466)
? (ID # 7504)

3 (ID # 7462)
3 (ID # 7486)
@ (ID # 7500)
9 (ID # 7501)

g (ID # 7484)
3 (ID # 7485)
@ (ID # 7502)
9 (ID # 7503)

Individual Serum Cholesterol (mg /100 ml)
by Study Period and Cumulative Dose (CD

Pre-Dosing

196
174
172
236

CD

il

186
194
182
170

0

52

in mg/kg)

Survivors

% of Pre-
Dosing Value
at_ Term

93.2
82.8
92,9
90.7

87.9
88.8
85.6
76.9

67.3
64.4
74.4
40.7

40.9
50.0
70.3
56.4
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28-Day Range-Finding, Oral Capsule-Dosing Study in Cynomolgus Monkeys: Male
and female cynomolgus monkeys weighing 2.1 to 2.4 kg were given capsules placed
directly in the stomach that contained PFOS at either 0.0 mg/kg/day (two males and two
females), 0.02 mg PFOS/kg/day (three males and three females), or 2.0 mg/kg/day (one
male and one female) for 28 days in a range-finding study to determine doses for a six-
month chronic oral capsule-dosing study (Thomford, PJ, 1998). Blood was collected for
clinical chemistry on study days - 7 (baseline values) , 2, 7, 14 and 29. In addition to
standard hematologic parmeters and serum chemistry determinations, sex and thyroid
hormones, cholecystokinin (CCK) and pancreatic amylase were measured. At the same
time points and on day 3, blood was also obtained for determination of serum PFOS
concentration. Tissues were obtained at necropsy, weighed, fixed and prepared for
histopathologic analysis. In addition to histopathologic samples, liver specimens were
obtained for analysis for proliferating cell nuclear antigen (PCNA), determination of PFOS
concentration, and determination of palmitoyl CoA oxidase activity. Serum PFOS
concentrations increased with a high degree of linearity at both dose levels, with no
difference between males and females and at a linear rate of 5.3 ppm serum PFOS per
mg/kg (for details please see subsection on toxicokinetics), At the end of the 28-day
dosing period, serum PFOS concentration in the 0.02 mg/kg/day dose group reached
approximately 3 ppm and in the 2.0 mg/kg/day dose group, serum concentrations reached
approximately 300 ppm. The only treatment-related effect observed in the study was a
dramatic reduction in serum cholesterol in the male and female that received a dose of 2.0
mg/kg/day. Serum cholesterol dropped from baseline values of 150 and 141 mg/dl for the
male and female, respectively, to 91 and 62 mg/dl at termination on day 29. The first
evidence of a significant decrease occurred between day 2 and day 7 for the female, with a
day 2 value of 136 mg/dl and a day 7 value of 117 mg/dl. The male cholesterol value fell
from to 151mg/dl on day 2 to 137 on day 7. The day 7 values for the male and female
corresponded to a serum PFOS concentration of 72 ppm. This cholesterol data and
corresponding cumulative dose and serum PFOS concentrations are summarized in Table

IV.7. There were no other significant findings.

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Table I[V,7: Longitudinal analysis of serum cholesterol and PFOS concentrations in
male and female cynomolgus monkeys (” = | per sex) during 28 days dosing with 2.0

mg/kg PFOS.
Study Day -7 2 7 14 29
Cumulative Dose (mg/kg) 0 2 12 26 56
3 Serum Cholesterol (mg/dl) 150 151] 137 132 91
3 [PFOS] in serum (ppm) 0.013 12.6 71.8 129 313
? Serum Cholesterol (mg/dl) 141 136 117 107 62
2 [PFOS] in serum (ppm) 0.014} 144 72.7 143 299

Six-Month Oral (Capsule) Study in Cynomolgus Monkeys

Unaudited clinical pathology and clinical observations through 90 days of dosing are

available from an ongoing six-month oral (capsule) dosing study in cynomolgus
monkeys (Covance Study Number 6329-223, in progress). In this study cynomolgus
monkeys are being dosed by capsule with either 0, 0.03, 0.15, or 0.75 mg/kg/day
PFOS for a period of six months. Dose groups include six monkeys per sex per group
with the exception of the 0.03 mg/kg/day dose group which includes four monkeys per
sex. The only significant finding through 90 days is a reduction in serum total
cholesterol in the males and females of the high dose group. While serum PFOS
concentrations have not yet been analyzed and reported, previous experience in the
range-finder for this study suggests that the serum concentrations are expected to
center on approximately 350 ppm PFOS as 90 days for the high-dose monkeys.
Reproductive and Developmental Toxicity

This sub-section discusses the available information on developmental and

reproductive toxicity. A summary of this data in tabular form can be found at the end

of this section in Table IV.11.

Oral Developmental Toxicity (Teratology) in Rats: A rat PFOS oral teratology

study was conducted at Riker Laboratories (Gortner etal, 1980). Dose levels (oral)

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given to the pregnant rat dams were 0, 1, 5, and 10 mg/kg. Maternal toxicity (reduced
weight gain) occurred at the high dose of 10 mg/kg on days 6 through 15 of gestation.
Evidence of fetal toxicity was not found at any dose level. No skeletal and soft tissue
teratogenic changes were found at any dose level with one exception. A change in the
lens of the eye was found in all dose groups including the control but the incidence in
high dose group was significantly higher. This change was reported out as a
developmental eye abnormality and the summary of the report states the compound
was teratogenic. An outside consultant and teratology expert, Dr. E. Marshall
Johnson from Jefferson Medical College, visited 3M and reviewed the rat pup eye
specimens in question. He concluded that the eye/lens changes were, in fact,
sectioning artifacts and not compound related teratology abnormalities. Thus, the
weight of the evidence indicates that PFOS does not cause teratogenic effects in rats
when dosed at levels which are not maternally toxic. The lens change observed in rat
pups in Riker Laboratories studies was a sectioning artifact and was not found upon

repeat studies at independent laboratories.

Oral Developmental Toxicity (Teratology) in Rats: In a subsequent study, PFOS
(suspended in corn oil) was administered on gestational days 6-15 by oral gavage to
groups of 25 pregnant Sprague-Dawley CD rats at doses of 0 (control), 1, 5, and 10
mg/kg/day (Wetzel, etal, undated). Severe maternal toxicity occurred in the 5 mg/kg
and 10 mg/kg dose groups, as evidenced by significant reductions in mean body
weight gain, terminal body weight minus gravid uterine weight and food consumption
compared to control dams, actual losses in body weight on commencement of
treatment among numerous dams and death in two dams in the 10 mg/kg dose group
prior to gestational day 20. Mean body weight gains (days 0-20) at 5 and 10 mg/kg
were 104 + 35 (S.D.) and 34 + 73 (S.D.), respectively, as compared to 125 + 24
(S.D.) in the control group. Mean food consumption values (days 0-20) at 5 and 10
mg/kg were 363 + 60 (S.D.) and 264 + 90 (S.D.), respectively, as compared to 421 +
28 for the control group. Mean terminal body weight minus gravid uterine weight at 5

and 10 mg/kg was 293 + 28 (S.D.) and 241 + 60 (S.D.), respectively, as compared to

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321 + 23 (S.D.) in the control group. Clinical signs in surviving dams included
hunching, lower body weight, alopecia, rough haircoat, anorexia. Gastrointestinal and

kidney lesions were noted in the high-dose dams.

Treatment-related fetal effects that were attributed to maternal toxicity included;
increased resorptions and fetal death, decreased fetal body weight, delayed skeletal
ossification, cleft palate, subcutaneous edema and cryptorchism (undescended
testicles), These effects occurred primarily in the high-dose group. The maternal and
fetal NOAELs for this study were both | mg/kg/day.

Oral Developmental Toxicity (Teratology) in Rabbits: A final draft report of an
oral developmental toxicity study in rabbits was recently received (York, 1998). In
this study, dose groups of 22 pregnant new zealand white rabbits were dosed on days
7 through 20 of gestation with either 0, 0.1, 1.0, 2.5, or 3.75 mg/kg/day PFOS.

Maternal toxic effects included: |) decreased body weight at the highest three dose
levels with a minimal effect at the 1.0 mg/kg dose; 2) decreased food consumption at
the highest two doses; 3) frequent scant feces at the highest dose, and 4) increased

abortions at the highest two doses.

Fetal toxic effects included reduced fetal weight and an increase in delayed ossification

at the highest two doses. No teratogenic events were observed in the study.

Based on this draft final report, PFOS was not teratogenic under conditions of the
study and the maternal and fetal NOELs are 0.1 mg/kg/day and 1.0 mg/kg/day,

respectively.
Two-Generation Reproductive Toxicity in Rats by Oral Gavage: Interim results

are available from an on-going two-generation reproduction study in rats by oral

gavage (Argus, 1998), In this study, groups of 35 male and 35 female rats were

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exposed to 0, 0.1, 0.4, 1.6 and 3.2 mg/kg by daily oral intubation six weeks prior to
and during mating. For the females, treatment continued during gestation, parturition

and lactation.

A pre-mating reduction in mean body-weight gain as compared to controls occurred in
females and possibly in the males at the high dose level. At the 3.2 mg/kg dose level,
male body-weight gain was 97.2 % of control and female body-weight gain was 91,5

% of control. There was no effect on the number of pregnancies.

During gestation, females showed a reduction in mean body-weight gain at the three
highest dose levels, reaching 86.9% of the control at 3.2 mg/kg. A group of ten dams
per dose group was sacrificed on day 10 of gestation. No increases in resorptions
occured, and there were no decreases in the number of implantations or number of live

fetuses.

At parturition in the 3.2 mg/kg high-dose group, the mean number of pups delivered
was decreased compared to the control (10 versus 14) and the percent of pups
delivered stillborn was increased significantly (24.9 % as compared to 2.2 %.)
Survival of pups during days one through four of lactation was severely affected at
1.6 and 3.2 mg/kg (66 % and 0% survival, respectively.) Most deaths at the high dose
occured within the first 24 hours after birth. Surviving pups in the 1.6 mg/kg dose
group showed severely depressed mean body-weight gains through day 21 of lactation
(72.1 % of controls.)

A series of follow-up studies are to be initiated in November, 1998 to gain a better
understanding of the reduced perinatal survival at the high dose levels. These will
include a complete cross-fostering study, and two pharmacokinetic studies with

pregnant dams,

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The post-weaning F, generation currently exhibits no signs of toxicity at 0.1 and 0.4

mg/kg/day.

Mechanistic Studies

The specific mechanisms relating to PFOS toxicity are not completely understood.
Several studies provide clues to the potential operative mechanism(s) of toxicity.
Effects on lipid and lipoprotein processing, cholesterol synthesis and bioenergetics

have been studied,

Mitochondrial Bioenergetics: Studies in isolated rat liver mitochondria at PFOS
concentration in the range of 10 uM demonstrate: 1) detergent type effects on
mitochondrial membranes; 2) stimulation of mitochondrial respiration, and 3)

fluidization of the inner mitochondrial membrane (Wallace and Starkov, 1998).

Interference with Fatty Acid Binding and Transport: Interference of PFOS (1-10
uM) with endogenous fatty acid binding to carrier protein substrates, liver fatty acid
binding protein (L-FABP) and albumin (BSA) has been investigated and show a 66%
reduction of initial fluorescence when added to solutions containing 1mM L-FABP

and 1mM DAUDA and an ICsp of 4.9 uM (Nabbefeld et al., 1998; Nabbefeld, 1998).

Peroxisome Proliferation: Liver biochemical effects associated with peroxisome

proliferation have been investigated in two published studies.

Sohlenius et al. (1993) exposed mice to 30 mg/kg/day PFOS for five days (0.05% in
diet). In addition to weight loss, increases in each of the following hepatic parameters
were observed: 1) relative liver weight (slight elevation); 2) mitochondrial and
microsomal protein; 3) palmitoyl-CoA oxidation; 3) catalase in mitochondrial and
cytosolic fractions; 4) glutathione transferase, 5) epoxide hydrolase and 6) DT-

diaphorase, Q- and Q-1-hydroxylation (Sohlenius et al., 1993).
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Ikeda et al. (1987) exposed male rats were to 0.02% PFOS in the diet for 2 weeks.
The prominent induction of peroxisome proliferation was demonstrated by electron
microscopy. Activities of catalase, fatty acyl-CoA oxidizing system, carnitine acetyl
transferase and cytochrome P450s responsible for the Q-hydroxylation of lauric acid

were increased (Ikeda et al., 1987).

Hypolipidemia: The mechanism of the hypolipidemic effect of PFOS has been
studied. Rats were fed 12 mg/kg/day for 7 — 14 days (0.02% in diet). Decreased body
weight, increased liver weight, increased liver triacylglycerol, increased liver free
cholesterol, decreased liver cholesterol ester, decreased serum cholesterol and
triacylglycerols were observed. Hepatocytes isolated from treated rats showed
reduced synthesis of cholesterol from acetate, pyruvate and hydroxymethylglutarate
but not from mevalonate, increased oxidation of palmitate and reduced fatty acid
synthesis. Activities of liver hydroxymethyl glutaric acid-CoA reductase and acyl-
CoA:cholesterol acyltransferase were reduced. These results suggest that the
hypolipemic effect of PFOS may be due to impaired production of lipoprotein particles
due to reduced synthesis and esterification of cholesterol together with enhanced

oxidation of fatty acids in the liver (Haughom and @ystein, 1992).

On-Going Research Program
A number of studies were initiated in 1998 to gain better insight into the potential

health hazards of PFOS and to provide a strong foundation for risk characterization.
These studies are discussed in Section VI, and outlines of them can be found in the

Appendix.

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V. RISK CHARACTERIZATION

The principal issue of concern is the potential health risk associated with the levels of
PFOS identified in serum samples from non-occupationally exposed employees,

commercially available serum and blood bank samples. The purpose of this section is
to evaluate this risk using available human and animal data. Sources of exposure and

their control are discussed in a companion document.

As noted previously (Section III), 3M has conducted medical surveillance programs at
manufacturing locations where employees are exposed to PFOS or precursor
molecules. These employees have PFOS serum levels that range from less than one
ppm up to 12 ppm in the most recent testing. The 1997 mean among participating
employees at the Decatur, Alabama plant, the U. S. location where PFOS related
materials are principally produced, was 2.0 ppm. The best current estimate of serum
levels in non-occupationally exposed individuals comes from the pooled samples
collected from regionally diverse blood banks. These values ranged from 14 to 56
ppb, and averaged 30 ppb. It should be noted that while this is our best estimate, it
cannot be considered representative of the U.S. population since blood donors are not
necessarily representative of the U.S. population. In addition this data, since it is from
pooled samples, does not reflect the variability and range one would expect to find

among individuals.

Analysis of data collected in 1995 and 1997 reveals that the serum concentrations of
PFOS identified in production workers are not associated with alterations in the
hematological or clinical chemistry parameters that were evaluated. This includes
measurement of the parameters that would reflect the pathology found in high dose
animal studies (see below). In addition, no differences from normal were detected in
ten different hormone levels. These analyses included employees of the 3M Belgium
manufacturing facility, where serum levels are slightly lower than Decatur. The

findings apply for PFOS serum levels up to 6 ppm, approximately two orders of

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magnitude above the upper end of the range seen in the U.S. regional blood bank
samples. The mean serum concentration in participating Decatur plant employees in

1997 was 68 times the mean of these blood bank samples.

In 1995, epidemiologists from the University of Minnesota completed a mortality
study of the Decatur employee cohort. No higher than expected mortality rates were
found for any cancer or for any other cause of mortality. This study involved 1,957
employees who had worked at least one year at 3M’s Decatur, Alabama plant, and
their mortality experience was traced from 1961 through the end of 1991. Details of

this study can be found in Section III.

Animal toxicology data has been reviewed in Section IV. An older data set from
rhesus monkeys exists and new data from a rangefinder study in cynomolgus monkeys
is available. Serum PFOS concentrations were not measured in the older rhesus
monkey studies, but can be estimated based on data from the cynomolgus monkey
studies. It is recognized that uncertainties are introduced by such estimates, and that

derived numbers need to be confirmed in ongoing or planned studies.

Data from the cynomolgus monkey rangefinder study itself documents that a decrease
in cholesterol, an early biological effect in both rodents and primates, was observed at
a PFOS serum level of 72 ppm in one of the two high dose animals. In the rhesus
monkey studies, lowered cholesterol was observed after 90 days of oral dosing at 1.5
mg/kg/day. Severe toxicity, resulting in death, occurred at doses equal to and greater
than 4.5 mg/kg/day, in seven weeks or less. Serum concentrations of PFOS that might
have been achieved in the older rhesus monkey studies have been estimated from the
cumulative dose - serum concentration of PFOS relationship seen in the recent
cynomolgus study. These estimates suggest that severe toxicity occurred at serum

levels of 700 to 800 ppm and death at 1000 to 1200 ppm.

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Other available toxicity data also provide valuable information. PFOS is not
mutagenic in five different bacterial strains. It fails to cause chromosomal aberrations
in the mouse bone marrow micronucleus assay. Developmental studies in rats show
that the compound causes adverse effects on fetal structural development only at doses

that are clearly toxic to the mothers.

Preliminary results from an ongoing two generation reproductive study in rats, through
F1 weaning, show no interference with sexual maturation, mating behavior,
fertilization, number of resorptions, or litter size. At the highest two dose groups (1.6
and 3.2 mg/kg/day) there was significant perinatal mortality in the Fl generation. This
effect was not seen at 0.4 mg/kg/day. The study cannot be used in risk assessment
until it is completed and fully evaluated, but is discussed here because we are aware of
these interim results. The doses observed to cause effect are in the range where

toxicity is observed in 90 day rat studies.

Several 90-day studies in rats, involving PFOS administration over a wide range of
doses in the diet, in drinking water, and by stomach tube, reveal that no significant
toxic effects are produced at or below a dose of 0.2 mg/kg/day. Above this dose
adverse effects on the liver, body weight, and changes in several indicators of fat

metabolism are demonstrable.

Possible explanations for the absence of detectable toxicity in production workers are
that the workers’ serum and tissue levels of PFOS are significantly below those
achieved in the animal studies, as estimates would indicate, or human beings are less
sensitive to the effects of PFOS than are laboratory animals. Of these two
explanations, the former seems more likely, because both primates and non-primates
were shown to be susceptible to PFOS exposure in the animal studies, so there is no
obvious reason to expect large interspecies differences in sensitivity. The second
possible explanation — that humans are less sensitive — cannot be ruled out based on

available data. It is also possible that the human studies were insufficiently powerful,

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because of sample size limitations, to detect the toxicity of PFOS. This seems unlikely
because the animal studies showing toxicity involved even fewer subjects, and, at a
given dose, all or most animals responded in similar ways. Sample size would not
seem to be a significant factor for evaluating clinical, hematological, or hormonal

effects.

Excess mortality, including that associated with cancer, has not been observed in
production workers. The experimental data showing that PFOS is not mutagenic
(Ames tests) and does not cause chromosomal aberrations (mouse bone marrow

micronucleus assay) is consistent with these findings.

Non-occupationally exposed populations appear to exhibit serum levels that are
approximately two orders of magnitude lower than those exposed occupationally,
more than three orders of magnitude below levels estimated to show minimum
biological effects (cholesterol reduction) in primate studies and three to four orders of
magnitude below levels associated with significant toxic effects. None of the health
effects evaluated and found to be absent in the worker studies would be expected to
occur in the non-occupationally exposed populations. The additional information
provided by the two generation reproductive study in rats is not interpretable at this
time, but the dose at what currently appears to be a no effect level is comparable to
doses that produce no effect for other endpoints. The animal data revealing adverse
effects are not yet fully useful for quantifying human risks, but estimates from current
and ongoing studies suggest that PFOS serum levels achieved in those earlier animal
studies with compound related effects must have been greater than those experienced
by workers and therefore much greater than those experienced by non-occupationally

exposed populations.
The currently available evidence does not suggest there is health risk associated with

the levels of PFOS found in the serum of occupationally or non-occupationally

exposed employees, blood bank samples or commercially available serum.

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Several avenues of further investigation are needed. The long-term consequences of
PFOS exposure require additional study. Although the available worker studies do not
suggest a health problem or evidence of increased mortality rates, animal data
reflecting chronic exposures are not yet available. Such data are recommended
because worker studies, involving relatively small populations, are generally not
sufficiently powerful to detect small excess risks. A two year PFOS feeding study in
rats was started in April of 1998. The utility of the available animal data is limited
because serum levels associated with adverse events can only be estimated at this time.
This limitation is being remedied by collecting additional animal data, including
sufficient kinetic information to assess the relationship between administered doses and
serum and tissue levels, as cited above for cynomolgus monkeys, as well as more

definitive data on compound distribution and elimination.

There is data suggesting that PFOS can, at sufficiently high doses, induce peroxisome
proliferation in rodents and alter metabolic processes in laboratory models. Further
study of these effects is desirable to determine whether they can occur at serum and
tissue levels relevant to those observed or estimated in humans. Section VI of this
report describes additional 3M studies that will address these issues. Further follow-
up on worker mortality experience is also underway, including an attempt to better

classify workers with regard to PFOS exposure.

Finally, studies are underway to improve knowledge about possible sources of PFOS,
and the pathways by which non-occupationally exposed individuals are exposed.
Although there is no current evidence that the reported serum levels, and
corresponding body burdens, represent a health risk, it is appropriate to identify and
act on possible ways to reduce exposure. To date this has been done through
reduction of residual monomer levels in products and reduced manufacturing

emissions.

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VI. CURRENT AND PLANNED RESEARCH

Toxicology Studies
Fluorochemical Study Purposes and Outlines

A number of studies were initiated in 1998 to gain better insight into the potential
health hazards of PFOS and to provide a strong foundation for risk characterization.
These studies include those conducted with PFOS as well as studies which are
conducted with N-Ethyl Perfluorooctane Sulfonamido Ethanol (N-EtFOSE), N-
Methyl Perfluorooctane Sulfonamido Ethanol (N-MeFOSE) and other related
compounds which are presumed to degrade metabolically to PFOS. N-EtFOSE and
N-MeFOSE represent major starting points for additional synthesis and are regulated
by FDA as contaminants of indirect food additives. These compounds are also known
to be absorbed well from the gastrointestinal tract and will produce PFOS as a major
metabolite. Therefore, it is appropriate to use these two compounds as models in
further investigating the toxicity of this class of chemicals which have the
perfluorooctane sulfonyl moiety as a base. The goals of this research program are as

follows:

To understand the relationship between measured concentrations of PFOS in

serum and potential adverse health effects;

*® To understand the kinetics of increases in body burden of PFOS as reflected in
serum PFOS measurements;

e To determine if a critical cumulative body burden exists and how this is rleated to
toxicokinetics;

e To define the metabolic relationship of PFOS to other Perfluorooctanesulfonyl-
based chemicals;

e To understand the primary mechanism of toxicity responsible for early toxic

effects;

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e To establish reasonable and substantiated no significant risk levels for risk

assessment.

Studies initiated in 1998 with PFOS and N-EtFOSE are identified in Tables V1.1 and
V1.2, respectively. In addition to these, a 90-day dietary study with N-MeFOSE has
been completed and studies have been undertaken to better understand the potential
for metabolic degradation of perfluorooctanesulfonamide-based chemicals to PFOS.

Descriptive summaries of many of these studies are included in the Appendix.

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Table VI.1: PFOS Toxicity Studies Initiated in 1998

Study Title Start Date Completion
Date (In-Life)
Four-Week Capsule Range-Finder Study in Cynomolgus 4/23/98 5/22/98
Monkeys
Six-Month Capsule Feeding Study in Cynomolgus Monkeys 8/5/98 2/8/99 (histo.)
5/7/99 (recov.)
Two-Year Dietary Study in Rats 5/20/98 4/24/2000
Hepatic Peroxisome Induction and Cell Proliferation Study 12/1/98 1/7/98
Biochemical and Molecular Biology Mechanistic Studies 7/1/97 On-going
Segment II Teratology in Rabbits 8/28/98 9/29/98
Two-Generation Reproduction Study in Rats 5/26/98 12/3 1/98
One-Generation Cross-Fostering Reproduction Study in Rats 11/1/98 2/15/99
One-Generation Reproduction PK Study in Rats (through 11/7/98 1/30/99
Gestation)
One-Generation Reproduction PK Study in Rats (through 11/23/98 3/1/99
Lactation)

Table V1.2: N-EtFOSE Toxicity Studies Initiated in 1998

Study Title Start Date Completion
Date (In-
Life)
Two-Year Dietary Study in Rats 1/26/98 1/25/2000
Single-Dose ADME in Cynomolgus Monkeys 5/14/98 10/1/98
Biochemical and Molecular Biology Mechanistic Studies T/N/97 On-going
Segment II Teratology in Rats 8/11/98 9/4/98
Segment II Teratology in Rabbits 8/28/98 9/29/98
Two-Generation Reproduction Study in Rats 6/8/98 12/31/98

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104-week dietary carcinogenicity study with perfluorooctane sulfonic acid,
potassium salt in rats. In-life Start date: 4/20/98; In-life completion date:
4/24/2000

The purpose of this two year assay is to determine: carcinogenic potential,
bioaccumulation with repeated doses, threshold effect levels, a no observable adverse
effect level (NOAEL), and mechanisms of toxicity. Proliferating cell nuclear antigen
(PCNA) will be measured at early time points in both liver and pancreas as an
indicator of preneoplastic lesions. There are six dose groups: 0, 0.5, 2.0, 5.0, 20 and
20 (recovery) ppm PFOS in the feed. Interim sacrifices at weeks 4, 14 and 52 will be
performed to determine PCNA, palmitoyl Co-A oxidation, clinical chemistry, and
histopathology. Animals in group 6 will be treated for 52 weeks, then treatment will
be discontinued and the animals will be observed for reversibility, persistence, or

delayed occurrence of toxic effects for at least 26 weeks post-treatment.

Serum samples will be collected for PFOS detection from the scheduled sacrifices and
in-life blood draws. Hematology, serum chemistry, urinalysis, urine chemistry, and

serum sampling (In-life blood draws) will be done at weeks 14, 27 and 53.

104 -Week Dietary Carcinogenicity Study with Narrow Range (98.1%) N-Ethyl
Perfluorooctanesulfonamido Ethanol in Rats. In-life Start Date: 1/ 26/1998.
The purpose of this study is to assess the carcinogenicity of the test material, N-ethyl
perfluorooctanesulfonamido ethanol (N-EtFOSE) when administered in the diet to
rats for at least 104 weeks. The test material was administered at dose levels of 0, 1,
3, 30, 100, and 300 ppm. Necropsies were performed during Week 4 and during
Week 14 for hepatocellular proliferation rate measurements, hepatic palmitoyl-CoA
oxidase activity, and serum and liver PFOS levels. Due to the morbidity and
morbundity, the 300 ppm group was terminated at 8 weeks. During Week 8 and 14,
blood and urine were collected for hematology, clinical chemistry, urinalysis, and

urine chemistry. At necropsy, macroscopic observations were recorded, organ

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weights were obtained, and tissues were placed in fixative as specified by the
protocol, Microscopic examinations were done on selected tissues from animals
necropsied during Weeks 8 and 14. A recovery group of animals in the 100 ppm dose
group will be treated for at least 52 weeks then treatment will be discontinued, and
the animals will be observed for reversibility, persistence, or delayed occurrence of

toxic effects for at least 26 week post-treatment.

Six-Month Capsule Feeding Study in Cynomolgus Monkeys. In-life Start Date:
8/5/1998. In-life completion date: 5/7/1999.

The purpose of this study is to establish a no observable effect level for PFOS in the
Cynomolgus monkey. PFOS is a known hepatic peroxisome proliferator (PP) in the
rat. Non-human primates such as the Cynomolgus monkey respond similarly to
humans with no to low hepatic response to peroxisome proliferators, and therefore
are the appropriate human surrogate species. Blood hormone levels will be
determined pretreatment and after 30, 60, 90, and 180 days of treatment, and after
30, 60, and 90 days of recovery. Samples will be analyzed for estradiol, estrone,
estriol, thyroid stimulating hormone, and triiodothryonine (T3), thyroxin (T4),
cortisol and testosterone. Serum and liver PFOS levels will be determined and
correlated to blood chemistries. Urine and feces PFOS determinations will be made
day 0 of recovery and after 6, 30, and 90 days of recovery to track elimination
kinetics. Four groups of four male and four female Cynomolgus monkeys will be
orally dosed with PFOS triturated in lactose at 0, 0.03, 0,15 and 0.75 mg/kg/day daily
by gelatin capsule. Dose levels were determined in a previously conducted
rangefinder study. Two additional animals in the control, mid and high dose groups
will be designated as recovery animals for which treatment will be discontinued at 26
weeks, and the animals will be observed for reversibility, persistence, or delayed
occurrence of toxic effects for at least 13 weeks post-treatment. Hematology and
clinical chemistry will be determined once before initiation, after 30, 60, 90, and 180
days of treatment, and after 30, 60, and 90 days of recovery, Clinical chemistry will

include urea nitrogen, cholesterol, triglicerides, alkaline phosphatase, alanine

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aminotransferase, bile acids, total and direct bilirubin, lipase, and pancreatic-specific
amylase, Palmitoyl CoA oxidase activity will be analyzed from liver tissue to
determine peroxisome proliferation. Complete necropsy will be performed after at
least 26 weeks of treatment, and after at least 13 weeks post treatment for the
recovery groups, Histopathology and proliferative cell nuclear antigen (PCNA) will

be performed on a subset of the specimens.

Metabolism of N-EtFOSE, in Cynomolgus Monkeys following administration of
a single dose by Oral Gavage. In-life start date: 5/14/98. In-life end date: 10/1/98
The purpose of this study is to determine the absorption, distribution, metabolism and
excretion (ADME) of N-Et FOSE and its metabolites. Determination of ADME
parameters in non-human primate is an appropriate model for human risk assessment,
as opposed to the rat. Two groups of Cynomolgus monkeys will be used. Group A
will have five animals/sex and will be given 10 mg/kg single treatment by oral gavage.
Tissues will be collected from one animal per sex per time-point at 0.5, 1, 7, 14 and
28 days. Urine and feces will be collected at 0.5, 1, and daily up to 28 days. Group B
will have one animal/sex which will be bile duct cannulated and will be given 10
mg/kg single treatment by oral gavage. Bile will be collected at 0.5, 1, and daily up to
28 days. Blood samples will be drawn for serum (and/or plasma) at pre-dose, 1, 2, 4,
6, 12, 24, 36, 48 hours, 7 days and 14, 21 and 28days for both groups. Tissues with
mass > 0.5 g will be analyzed for N-EtFOSE and its metabolites: Cerebrospinal fluid,
skin, fat, urinary bladder, testis, epididymus, seminal vesicles, prostate, uterus, spleen,
kidneys, liver, thymus, heart, lungs, diaphragm, salivary glands, trachea, esophagus,
muscle, bone, bone marrow, pancreas, lymph nodes, tongue, eyes, brain, spinal cord,
stomach, small intestine, large intestine, thyroid/parathyroid, aorta (~0.5 g), adrenal

glands, gallbladder , and ovaries will be included.

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Mono N-EtFOSE Phosphate — Absorption, Disposition, Metabolism, Excretion
in Rats. In-life Start Date: 5/15/1998. In-life completion date: 6/15/1998.

The purpose of this study was to assess the potential for absorption and metabolism
of the monophosphate ester of FC-807 in rats. FC-807 is the brand name of a
fluorochemical based product sold by 3M and approved by the FDA for use as an oil
and water repellant in paper and paperboard food packaging. The primary concern of
this study was to determine if and to what extent the monoester is absorbed from the
intestinal tract, and to what extent it can be metabolized ton N- ethyl
(perfluorooctane)sulfonamido ethanol (N-Ethyl FOSE) and other metabolites,
including PFOS, once in the blood stream. Both a time-course study following a
single dose of compound, and a dose response study were conducted. In the time
course study, rats were dosed orally, via gavage, or by intravenous (i.v.) injection,
via the tail vein, with FC-807 monoester. One animal from each dosage route group
was sacrificed two hours after dosing. Urine and feces were collected daily for four
days. On day 4, one animal from each group was sacrificed, and the remainder of the
animals were sacrificed 28 days post dose. The preliminary results indicated
absorption of the oral 50 mg/kg dose and metabolism at day 4, and day 28. The i-v
doses of 0.5 mg/kg were also extensively metabolized and were deemed to be too
high. The dose-response study consisted of six dose groups. There was one control
group, three groups dosed orally at 0.01, 0.1, and 5 mg/kg, via gavage, and two
groups that received tail vein i.v. injections at 0.01, and 0.1 mg/kg at a volume of 5
ml/kg on day one of the study to each group. All groups were sacrificed on day 4 of

the study.

13-week Dietary Toxicity Study with N-Methyl FOSE in Rats. In-life Start
Date: 9/1/1998. In life completion date: 12//8/1998.

The purpose of this study was to develop sub-chronic toxicity data and the
toxicokinetics for N-Methyl FOSE when administered in the diet to rats for at least

13 weeks. The study design included 20 males and 20 female animals/group fed 0, 3,

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30 and 100 ppm N-MeFOSE in the diet. After 4 weeks of treatment, 5 rats/sex/group

were sacrificed for Palmitoyl CoA oxidase, PCNA, liver and sera PFOS analysis.

Two-Generation Rat Reproduction Study with PFOS. In-life Start Date:
5/26/1998. In-life completion date: 12/31/1998.

The purpose of this study is to test for toxic effects of PFOS on reproductive function
of dosed male and female rats and to assess whether rat pups exposed to the
compound in utero & via milk have any developmental, learning and reproductive
effects. A secondary objective will be to assess compound and/or metabolite levels in
serum and liver from parent animals. Groups of 35 rats will be dosed daily via gastric
gavage at dose levels of 0, 0.1, 0.4, 1.6 and 3.2 mg/kg/d. Dosing will start 4 weeks
prior to mating, will continue during mating, and for females will continue during
gestation and lactation. Reproductive performance will be assessed by fertility index,
gestation index, number of pups/ litter, pup viability index and lactation index. The
F1 generation pups at each dose level will be assessed for developmental objectives,
undergo learning testing, and reproductive performance. Serum and liver samples will
be collected at necropsy from five male and five female rats/dose group from F,

(Parent) animals and analyzed for compound by 3M.

Two-Generation Rat Reproduction Study with N-EtFOSE. Start Date:
6/8/1998. In life completion date: 12/31/1998.

The purpose of this study is to test for toxic effects of N-EtFOSE on reproductive
function of dosed male and female rats and to assess whether rat pups exposed to the
compound in utero & via milk have any developmental, learning and reproductive
effects. A secondary objective will be to assess compound and/or metabolite levels in
serum and liver from parent animals. Groups of 35 rats will be dosed daily via gastric
gavage at dose levels of 0, 1, 5, 10 and 15 mg/kg/d. Dosing will start six weeks prior
to mating, will continue during mating, and for females will continue during gestation
and lactation. Reproductive performance will be assessed by fertility index, gestation

index, number of pups/ litter, pup viability index and lactation index. The F1

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generation pups at each dose level will be assessed for developmental objectives,
undergo learning testing and reproductive performance. Serum and liver samples will
be collected at necropsy from 5 male and 5 female rats/dose group from F, (Parent)

animals and analyzed for compound by 3M.

Segment II Teratology in Rabbits with PFOS. In-life Start date: 8/28/1998. In-
life end date 9/29/1998.

The purpose of this study is to detect adverse effects of PFOS on New Zealand White
pregnant female rabbits and development of the embryo on fetus consequent to
exposure of the doe from implantation to closure of the hard palate. Dose groups of
22 presumed pregnant female rabbits were dosed with 0, 0.1, 2.0, 2.5 and 3.75
mg/kg/day via a stomach tube. A toxicokinetic satellite group of female rabbits (5 at
the control and high dose levels plus three at the other dose levels) were sacrificed at
day 21 of gestation (the day following the last dosage) serum, liver, fetal and
placental samples were analyzed for PFOS and possible metabolites. Rabbits were
Caesarian sectioned on day 29 of presumed gestation. The fetuses were examined for
body weight, gross alterations and skeletal alterations, number and distribution of

corpora lutea, implantation sites, live and dead fetuses and early and late resorptions.

Segment II Teratology with N-EtFOSE in rats, In-life Start date: 9/4/1998. In
life end date 9/11/1998.

The purpose of this study was to detect adverse effects of N-EtFOSE on presumed
pregnant female rats and development of the embryo and fetus consequent to
exposure of the dam from implantation to closure of the hard palate. Dose groups of
25 presumed pregnant female rats were dosed with 0, 1, 5, 10 and 20 mg/kg/day by
oral gavage. A toxicokinetic satellite group of female rats (five at the control and
high dose levels plus three at the other dose levels) were sacrificed at day 18 of
gestation (the day following the last dosage) serum, liver, fetal and placental samples

were analyzed for N-EtFOSE and possible metabolites. Rats were Caesarian

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sectioned on day 20 of presumed gestation, The fetuses were examined for body
weight, gross alterations and skeletal alterations, number and distribution of corpora

lutea, implantation sites, live and dead fetuses and early and late resorptions.

Segment II Teratology in Rabbits with N-EtFOSE., In-life Start date: 8/28/1998.
In life end date 9/29/1998.

The purpose of this study was to detect adverse effects of N-EtFOSE on New
Zealand White pregnant female rabbits and development of the embryo and fetus
consequent to exposure of the doe from implantation to closure of the hard palate.
Dose groups of 22 presumed pregnant female rabbits were dosed with 0, 0.1, 2.0, 2.5
and 3.75 mg/kg/day via a stomach tube. A toxicokinetic satellite group of female
rabbits (five at the control and high dose levels plus three at the other dose levels)
were sacrificed at day 21 of gestation (the day following the last dosage) serum, liver,
fetal and placental samples were analyzed for N-EtFOSE and possible metabolites.
Rabbits were Caesarian section on day 29 of presumed gestation. The fetuses will be
examined for body weight, gross alterations and skeletal alterations, number and
distribution of corpora lutea, implantation sites, live and dead fetuses and early and

late resorptions.

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Current and Proposed Human Health and Exposure Research Initiatives

At present, there are several ongoing research studies and proposals. These are briefly

outlined below.

1. Half-life Fluorochemical Determination Study, 3M retirees from the Decatur and
Cottage Grove plants will be asked to participate in a study to determine the half-life of
PFOA and PFOS. Retirees’ serum will be analyzed semi-annually for the next five years

for PFOS, PFOA and perfluorohexane sulfonate.

2. Decatur Serum Exposure Assessment Study. Employees at the 3M Decatur chemical
plant have in the past voluntarily participated in a fluorochemical medical surveillance
program. Analysis of the surveillance data has not shown significant associations between
the employees’ clinical chemistry and hematology tests and either total serum organic
fluorine or serum PFOS levels. However, the voluntary nature of the medical surveillance
program does not allow for a complete understanding of the distribution of employee
fluorochemical serum levels. In order to address this issue, a random sample of
approximately 80 Decatur film plant and 125 Decatur chemical plant employees will be
asked to participate in a serum determination study for the following fluorochemicals:
perfluorooctane sulfonate, perfluorooctane sulfonate amide, perfluorohexane sulfonate,
perfluorooctanoic acid, N-ethyle perfluorooctnae sulfonamido ethanol and its acetate
derivitive, and N-methyl perfluoroctanesulfonamido ethanol. A sub-sample of employees
will also be tested for total serum organic fluorine. A brief questionnaire will also be
administered to each employee inquiring about current and past work history as well as

possible routes of oral ingestion.

3. An Epidemiologic Analysis of the Inpatient Claims Experience of 3M Decatur
Employees, 1993-1997. The purpose of this study is to examine the inpatient claims
database, as maintained by Corporate Health Strategies, from January 1, 1993 - December
31, 1997 of Decatur plant employees, The data will be stratified by whether the

employees are in the chemical or film plants. The study population will include full-time

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active employees who worked throughout the five year interval, all full-time active
employees who quit, died or went on long-term disability within the five year interval, and
all employees who have retired. Observed inpatient claims for each plant population will
be compared to an expected experience based on the 3M normative database. Inpatient
claims analysis will proceed in a sequential, hierarchical manner. First we will examine
Medical Diagnosis Codes; next Diagnosis Related Groups, and finally selected ICD-9
codes within each DRG.

4. PFOS and PFOA Retrospective Cohort Mortality Studies of Employees at the 3M
Decatur and Cottage Grove Plants. Previous retrospective cohort mortality studies have
been conducted at the Decatur and Cottage Grove plants. However, neither of these
studies utilized the employees’ fluorochemical serum measurements to design job-,
department- and calendar-year exposure matrices, The purpose of these two studies is to
construct PFOS and PFOA exposure matrices based on previously collected employee
serum PFOS and PFOA measurements in conjunction with their plant work history
experiences. Person-years will be allocated based on the exposure matrices to calculate
the traditional measures of risk, i.e., Standardized Mortality Ratios, for more than 50
causes of death. Vital status and cause of death will be ascertained through December 31,

1997.

5. Geographical Reliability Study. The purpose of this study is to determine whether
there are geographical differences in human serum measurements in the United States.
We will request serum samples from the 18 blood banks that originally participated in the
fluorochemical determination study (see Table II.3) to determine whether comparable

serum levels are measured.

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APPENDIX

FIGURE A1. Reliability of PFOS Serum Measurements in 12 3M Employees

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Table A2. Description of Final Employment and Vital Status for Male (n = 1,639) and

Final Employment Status

Female (n = 318) Employees

Male Employees

Female Employees

and Vital Status N % N %
Currently Employed 810 49.4 141 443
Retired

Alive 59 3.6 9 2.8

Deceased 10 0.6 0 0.0

Unknown 0 0.0 0 0.0
Terminated

Alive 694 42.3 164 51.6

Deceased 29 1.8 1 0.3

Unknown 6 0.4 0 0.0
Died While Employed 1.9 0.9
TOTAL 1,639 100.0* 318 100.0*

*percentages may not add to 100 due to rounding

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Table A3. Characteristics of Male (n = 1,639) and Female (n = 318) Employees

Variable Males Females
Number of Employees 1,639 318

Number of Person-years 33,108 4,807
Number of Deaths 70 4
Average Age Started Work 24 26
Average Year of Entry 197] 1977
Average Age at Death 47 28
Average Year of Death 1984 1980

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Table A4. Distribution of Men

by Age and Year of Entry into Follow-up (n = 1,639)

Year of Entry into Follow-up

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1960 1965 1970 1975 1980 1985 1990
to to to to to to to

Age 1964 1969 1974 1979 1984 1989 1991 TOTAL
<20 18 34 86 31 4 2 0 Vio
20-24 114 238 301 96 28 18 3 798
25-29 64 139 65 37 21 14 5 345
30-34 21 58 33 19 8 10 4 153
35-39 22 25 9 1S 6 5 l 83
40-44 19 18 4 10 8 2 0 61
45-49 3 3 4 5 0 2 0 17
50-54 0 ] 0 0 2 3 0 6
55-59 0 ] 0 0 0 0 0 ]
60+ 0 0 0 0 0 0 0 0
TOTAL 261 517 502 213 77 56 13 1,639

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Table AS, Distribution of Women
by Age and Year of Entry into Follow-up (n = 318)

Year of Entry into Follow-up

1960 1965 1970 1975 1980 1985 1990

to to to to to to to
Age 1964 1969 1974 1979 1984 1989 199] TOTAL
<20 2 12 18 16 4 0 0 52
20-24 4 22 23 50 9 ] 113
25-29 3 4 4 47 4 5 3 70
30-34 2 3 2 15 1 4 2 29
35-39 ] 2 3 16 3 3 2 30
40-44 0 0 0 8 3 2 0 13
45-49 0 0 0 5 ] l 0 7
50-54 0 0 0 3 0 0 0 3
55-59 0 0 0 ] 0 0 0 l
60+ 0 0 0 Q 0 0 0 0
TOTAL 12 43 50 161 20 24 8 318

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Table A6. Cause-Specific SMRs for Men
Ever Employed in Chemical Department (s)
Using the U.S. as Comparison Population (n = 1,050)

Observed Expected

Cause of Death Deaths Deaths SMR 95% Cl
All Causes of Death 57 81.5 70.0 (53.0, 90.6)
All Malignant Neoplasms 13 16.9 76.9 (40.9, 131.5)
Cancer of Buccal Cavity and 0 0.5 --- (0.0, 800.6)
Pharynx
Cancer of Digestive l 3.6 27.5 (0.7, 153.2)
Organs and Peritoneum
Cancer of Esophagus 0 0.4 --- (0.0, 913.3)
Cancer of Stomach 0 0.5 --- (0.0, 686.1)
Cancer of Large Intestine ] 1.3 76.9 (1.9, 428.5)
Cancer of Rectum 0 0.3 --- (0.0, 1,271.9)
Cancer of Liver and Biliary 0 0.3 --- (0.0, 1,188.2)
Passages
Cancer of Pancreas 0 0.8 --- (0.0, 480.6)
Cancer of All Other 0 0.1 --- (0.0, 3,203.2)
Digestive Organs
Cancer of Respiratory System 7 6.1 115.1 (46.3, 237.1)
Cancer of Larynx 0 0.2 --- (0.0, 1,891.9)
Cancer of Bronchus 7 5.8 120.7 (48.5, 248.7)
Trachea and Lung
Cancer of Other 0 0.1 --- (0.0, 4,214.1)
Respiratory Organs
Cancer of Prostate 0 0.5 --- (0.0, 805.9)
Cancer of Testes and Other 0 0.2 --- (0.0, 1,678.5)
Male Genital Organs
Cancer of Kidney 0 0.5 --- (0.0, 768.2)
Cancer of Bladder and Other 1 0.2 415.5 (10.4, 2,315.3)
Urinary Organs

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Table A6, (Continued)

Observed Expected

Cause of Death Deaths _ Deaths SMR 95% CI
Cancer of Brain and Other ] 0.9 117.2 (2.9, 653.0)
Central Nervous System
Cancer of Thyroid and Other 0 0.1 --- (0.0, 5,113.2)
Endocrine Glands
Cancer of Bone 0 0.1 --- (0.0, 4,368.3)
Cancer of All Lymphatic and 2 bie 92.9 (11.2, 335.5)
Hematopoietic Tissue

Lymphoma 0 0.3 --- (0.0, 1,341.4)
Hodgkin’s Disease 0 0.3 --- (0.0, 1,163.3)
Leukemia and Aleukemia l 0.8 120.0 (3.0, 668.8)
Cancer of Other Lymphatic l 0.7 137.2 (3.4, 764.5)
and Hematopoietic Tissue
Malignant Melanoma of Skin 0 0.6 --- (0.0, 614.7)
All Other Malignant l 1.5 68.9 (1.7, 383.7)
Neoplasms
Diabetes Mellitus 0 1,1 --- (0.0, 323.9)
Cerebrovascular Disease l 2.3 43.4 (1.1, 241.7)
All Heart Disease 11 22.5 48.8 (24.4, 87.4)
Hypertension 0 0.1 eu (0.0, 3,389.9)
Respiratory Disease 0 3.2 --- (0.0, 116.3)
Ulcer of Stomach and 0 0.2 --- (0.0, 1,796.3)
Duodenum
Cirrhosis of Liver 3 3.0 100.2 (20.7, 292.7)
Nephritis and Nephrosis 0 0.3 --- 0.0, 1,308.2)
External Causes 20 22.2 90.2 (55.1, 139.3)
Accidents 16 13.6 117.3 (67.0, 190.5)
Motor Vehicle Accidents 8 7.8 102.8 (44.4, 202.5)
All Other Accidents 8 5.9 135.7 (58.6, 267.4)
Suicides 3 52 57.7 (11.9, 168.6)
Homicides and Other External 1 3.2 31.4 (0.8, 175.1)
Causes

Residual Causes* 7 9.0 77.6 (31.2, 159.9)

Unknown Causes & 2

*all other causes of death combined
& no death certificate obtained; included only in all causes of
death category

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Table A7. Cause-Specific SMRs for Men
Only Employed in Chemical Department (s)
Using the U.S. as Comparison Population (n = 485)

Observed Expected

Cause of Death Deaths Deaths SMR 95% Cl
All Causes of Death 32 44.1 72,5 (49.6, 102.4)
All Malignant Neoplasms 9 96 93.6 (42.8, 177.8)
Cancer of Buccal Cavity and 0 0.3 --- (0.0, 1,396.4)
Pharynx
Cancer of Digestive 0 2.1 --- (0.0, 175.2)
Organs and Peritoneum
Cancer of Esophagus 0 0.2 --- (0.0, 1,577.7)
Cancer of Stomach 0 0.3 --- (0.0, 1,195.2)
Cancer of Large Intestine 0 0.8 -- (0.0, 488.5)
Cancer of Rectum 0 0.2 oo (0.0, 2,175.6)
Cancer of Liver and Biliary 0 0.2 --- (0.0, 2,072.6)
Passages
Cancer of Pancreas 0 0.5 --- (0.0, 827.2)
Cancer of All Other 0 0.1 = (0.0, 5,692.4)
Digestive Organs
Cancer of Respiratory System 5 3.6 141.0 (45.8, 329.0)
Cancer of Larynx 0 0.1 --- (0.0, 3,198.4)
Cancer of Bronchus 5 3.4 147.8 (48.0, 344.9)
Trachea, and Lung
Cancer of Other 0 0.1 --- (0.0, 7,763.4)
Respiratory Organs
Cancer of Prostate 0 0.3 === (0.0, 1,202.0)
Cancer of Testes and Other 0 0.1 --- (0,0, 3,501,4)
Male Genital Organs
Cancer of Kidney 0 0.3 --- (0.0, 1,365.0)
Cancer of Bladder and Other ] 0.2 669.9 (16,7, 3,732.7)
Urinary Organs

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Table A7. (Continued)

Observed Expected

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Cause of Death Deaths _ Deaths SMR 95% CI
Cancer of Brain and Other 1 0.5 222.6 (5.6, 1,240.3)
Central Nervous System
Cancer of Thyroid and Other 0 0.0 ane (0.0, 9,544.3)
Endocrine Glands
Cancer of Bone 0 0.0 --- (0.0, 8,697.5)
Cancer of All Lymphatic and 2 1,2 174.0 (21.1, 628.7)
Hematopoietic Tissue
Lymphoma 0 0.2 --- (0.0, 2,466.1)
Hodgkin’s Disease 0 0.2 o> (0.0, 2,346.1)
Leukemia and Aleukemia l 0.4 226.3 (5.7, 1,260.7)
Cancer of Other Lymphatic | 0.4 249.5 (6.2, 1,390.1)
and Hematopoietic Tissue
Malignant Melanoma of Skin 0 0.3 --- (0.0, 1,200.4)
All Other Malignant Neoplasms 0 0.8 --- (0.0, 455.3)
Diabetes Mellitus 0 0.6 --- (0.0, 589.0)
Cerebrovascular Disease 0 1.3 --- (0.0, 274.4)
All Heart Disease 7 13.1 53.4 (21.5, 110.1)
Hypertension 0 0.1 --- (0.0, 5,834.4)
Respiratory 0 19 --- (0.0, 195.3)
Ulcer of Stomach and Duodenum 0 0.1 --- (0.0, 3,083.3)
Cirrhosis of Liver | 1.6 62.3 (1.6, 347.3)
Nephritis and Nephrosis 0 0.2 --- (0.0, 2,346.9)
External Causes 10 10.5 95.0 (45.6, 174.7)
Accidents 9 6.5 139.4 (63.7, 264.5)
Motor Vehicle Accidents 5 3.6 138.0 (44.8, 322.0)
All Other Accidents 4 2.9 140.2 (38.2, 359.0)
Suicides 1 25 40.0 (1.0, 223.1)
Homicides and Other External 0 1.5 --- (0.0, 247.4)
Causes
Residual Causes* 3 4.7 63.4 (13,1, 185.3)
Unknown Causes & 2

*all other causes of death combined
& no death certificate obtained; included only in all causes of

death category

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Rat Oral (diet) Carcinogenicity on N-EtFOSE
Study Outline

Study Objectives: Main Objective — To determine the carcinogenicity of N-EtFOSE
upon chronic oral administration.

Secondary Objectives — To determine chronic and subchronic toxicity of N-EtFOSE after
52 and 13 weeks, respectively, of compound administration. To determine compound’s
potential for perixosme proliferation (palmitoyl-CoA oxidase activity) and hepatocyte
proliferation (PCNA, proliferative cell nuclear antigen). To measure compound and/or
metabolite levels in the liver and serum after various time-points of exposure.

GLP Status: A GLP study with appropriate QA audits; a signed QUA statement to be
included in the final report.

Animals; Male and female Charles River CD rats

Dose Groups: Eight — controls (two groups), 1, 3, 30, 100 & 300 ppm in diet plus a 100
ppm recovery group (receive compound for 52 weeks followed by 52 weeks without
compound).

Number per Group: 50 males and 50 females per group plus additional animals for
interim sacrifices at 4, 13 & 52 weeks. (Note the 100 ppm recovery group has 40 males

and 40 females).

Test Article: N-EtPFOS furnished by Sponsor who is responsible for compound identity
and purity.

Compound Administration: Daily administration for up to two-years (104 weeks)
admixed in the diet.

Clinical Observations: Twice daily.
Body Weights: Once a week for the first 16 weeks; once every four weeks thereafter.

Food Consumption: Once a week for the first 16 weeks; once every four weeks
thereafter.

Hematology and Clinical Chemistry: Ten rats/sex from 0, 1, 3, 30 & 100 ppm groups
at weeks 14, 52 and 104.

Urinalysis: Ten rats/sex from 0, 1, 3, 30 & 100 ppm groups at weeks 14, 52 and 104.

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Interim Necropsies: Five rats/sex from 0, 1, 3, 30, 100 & 300 ppm groups at 4 and 14
weeks for PCNA, palmitoyl CoA oxidase, and compound level samples. (Note samples for
organ weights and histopathology taken at 14 weeks.) Ten rats/sex from 0, 1, 3, 30 &100
ppm groups at 52 weeks for compound levels, organ weight, histopathology samples.

Organ Weights: Measured at 14 and 52 week interim necropsies.

Histopathology: Microscopic examination of selected tissues at 14 and 52 week animals.
Complete tissue examination of 0 (one control group), 3, 30, and 100 ppm 104 weeks
animals. Selected tissue examination of 100 ppm recovery animals. Histopathologic

results will indicate extend of tissue examination of 1 ppm and second control group.

Study Monitor: Andrew Seacat; Alternate, Marv Case

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January 21, 1999

Rat Oral (diet) Carcinogenicity on PFOS
Study Outline
Study Objectives: Main Objective — To determine the carcinogenicity of PFOS upon
chronic oral administration,

Secondary Objectives — To determine chronic and subchronic toxicity of after 52
and 13 weeks, respectively, of compound administration, To determine compound’s
potential for perixosme proliferation (palmitoyl-CoA oxidase activity) and hepatocyte
proliferation (PCNA, proliferative cell nuclear antigen). To measure compound and/or
metabolite levels in the liver and serum after various time-points of exposure,

GLP Status: A GLP study with appropriate QA audits; a signed QUA statement to be
included in the final report.

Animals: Male and female Charles River CD rats

Dose Groups: Six — 0, 0.5, 2, 5, & 20 ppm in diet plus a 20 ppm recovery group (receive
compound for 52 weeks followed by 52 weeks without compound).

Number per Group: 50 males and 50 females per group plus additional animals for
interim sacrifices at 4, 13 & 52 weeks. (Note the 20 ppm recovery group has 40 males
and 40 females).

Test Article: PFOS furnished by Sponsor who is responsible for compound identity and
purity.

Compound Administration: Daily administration for up to two-years (104 weeks)
admixed in the diet.

Clinical Observations: Twice daily.
Body Weights: Once a week for the first 16 weeks; once every four weeks thereafter.

Food Consumption: Once a week for the first 16 weeks; once every four weeks
thereafter.

Hematology and Clinical Chemistry: Ten rats/sex from 0, 0.5, 2, 5, & 20 ppm groups
at weeks 14, 52 and 104.

Urinalysis; Ten rats/sex from 0, 0.5, 2, 5, & 20 ppm groups at weeks 14, 52 and 104.

Interim Necropsies: Five rats/sex from 0, 0.5, 2, 5, & 20 ppm groups at 4 and 14 weeks
for PCNA, palmitoyl CoA oxidase, and compound level samples. (Note samples for

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organs weights and histopathology taken at 14 weeks.) Ten rats/sex from 0, 0.5, 2, 5, &
20 ppm groups at 52 weeks for compound levels, organ weight, histopathology samples.

Organ Weights: Measured at 14 and 52 week interim necropsies.

Histopathology: Microscopic examination of selected tissues at 14 and 52 week animals.
Complete tissue examination of 0, 2, 5, and 20 ppm 104 weeks animals. Selected tissue
examination of 20 ppm recovery animals. Histopathologic results will indicate extend of

tissue examination of 0.5 ppm group.

Study Monitor: Andrew Seacat; Alternate, Marv Case

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Rat Teratology Rangefinder on N-EtFOSE

Study Outline

Study Objective: Explore possible dose levels for an oral rat teratology study

GLP Status: Study should be conducted under GLP principles but since it is a
rangefinder study QA audits will not be done

Animals: Mated female Charles River CD rats

Dose Groups: Seven - control, 0 mg/kg; low-1, | mg/kg; low-2, 5 mg/kg; mid-1, 10
mg/kg; mid-2, 20 mg/kg; high-1, 25 mg/kg; high-2, 35 mg/kg

Number per Group: 8 mated females per group

Test Article: N-EtPFOS will be furnished by the Sponsor who is responsible for
compound identity and purity. No reserve sample will be required.

Compound Administration: Oral intubation of compound suspended in water with 2%
Tween 80 on days 6 thru 17 of gestation. Analysis of dosing preparation will not be done,
however, records will be maintained on how dosing preparations were made.

Clinical Observations: Twice daily; once approximately one hour after dosing and then
4 to 6 hours later.

Body Weights: On days 0, 4, 6, 8, 10, 12, 14, 16, 18 and 20 of gestation

Food Consumption: On days when body weights are obtained

Cesarean Section: On day 20 of gestation the females will be anesthetized and the uterus
and its contents will be removed and weighed. The number of implanations, the number
of live and dead fetuses, and the number of early and late resorptions will be determined

and recorded. The fetuses will be sexed, weighed and examined for any gross
abnormalities. The ovaries will examined for the number of corpora lutea.

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January 21, 1999

Rat Teratology Study on N-EtFOSE

Study Outline

Study Objective: To determine maternal and fetal toxicity and teratogenic potential of
orally administered N-EtFOSE in pregnant rats

GLP Status: A GLP study with appropriate QA audits; a signed QUA statement to be
included in the final report.

Animals: Mated female Charles River CD rats

Dose Groups: Five - control, 0 mg/kg; low, (1 or 1.5 ?) mg/kg; mid-1, (5 ?) mg/kg:
mid-2, (10 or 15 ?) mg/kg; high, (20 or 25 ?) mg/kg. Final dose levels will be adjusted
after range finder study results are available.

Number per Group: 25 mated females per group

Test Article: N-EtPFOS will be furnished by the Sponsor who is responsible for
compound identity and purity. Reserve sample to be retained,

Compound Administration: Oral intubation of compound suspened in water with 2%
Tween 80 on days 6 thru 17 of gestation. Samples of dosing preparations will be frozen
and retained for possible analysis by the Sponsor. Records will be maintained on how
dosing preparations were made.

Clinical Observations: Twice daily; once approximately one hour after dosing and then
4 to 6 hours later.

Body Weights: On days 0, 4, 6, 8, 10, 12, 14, 16, 18 and 20 of gestation
Food Consumption: On days when body weights are obtained

Cesarean Section: On day 20 of gestation the females will be anesthetized and the uterus
and its contents will be removed and weighed. The number of implanations, the number
of live and dead fetuses, and the number of early and late resorptions will be determined
and recorded. The fetuses will be sexed, weighed and examined for any gross
abnormalities. The ovaries will examined for the number of corpora lutea.

Fetal Examinations: Approximately one-half of the fetuses from each litter will
processed for visceral examination by the Wilson Technique for soft tissue development.
The remaining fetuses will be eviscerated and processed for skeletal examination using
Alizarin Red S staining method.

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Toxicokinetic Satellite Animals: Groups of mated females, five females at the low dose
(1 or 1.5 mg/kg) and five females at the high dose (20 or 25 mg/kg) plus three females at
other dose levels, will be dosed. On the day after the last dose (day 18 of gestation) the
satellite females will be killed and following samples will be collected: serum and liver
from the dam and placentas and fetuses from the uterus. (Note placentas from a single
litter can be stored together as one sample; likewise for the fetuses) These samples will be
frozen and shipped to the sponsor for possible analysis.

Sponsor Study Monitor:

Alternative Study Monitor:

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January 21, 1999

Rabbit Teratology Rangefinder on N-EtFOSE

Study Outline

Study Objective: Explore possible dose levels for an oral rabbit teratology study

GLP Status: Study should be conducted under GLP principles but since it is a
rangefinder study QA audits will not be done

Animals: Mated female New Zealand White rabbits (Note the rabbits are to be mated at
the testing laboratory not at the supplier and shipped as mated females to the testing
laboratory.)

Dose Groups: Seven - control, 0 mg/kg; low-1, 1 mg/kg; low-2, 5 mg/kg; mid-1, 10
mg/kg; mid-2, 25 mg/kg; high-1, 50 mg/kg; high-2, 75 mg/kg

Number per Group: 5 mated females per group

Test Article: N-EtFOSE will be furnished by the Sponsor who is responsible for
compound identity and purity. No reserve sample will be required.

Compound Administration: Oral intubation of compound suspended in water with 2%
Tween 80 on days 7 thru 20 of gestation. Analysis of dosing preparation will not be done;
however, records will be maintained on how dosing preparations were made.

Clinical Observations: Twice daily; once approximately one hour after dosing and then
4 to 6 hours later,

Body Weights: On days 0, 7, 10, 13, 16, 19, 24 and 29 of gestation

Food Consumption: On days when body weights are obtained

Cesarean Section: On day 29 of gestation the females will be anesthetized and the uterus
and its contents will be removed and weighed. The number of implanations, the number
of live and dead fetuses, and the number of early and late resorptions will be determined

and recorded. The fetuses will be weighed and examined for any gross abnormalities. The
ovaries will be examined for the number of corpora lutea.

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Rabbit Teratology Study on N-EtFOSE

Study Outline

Study Objective: To determine maternal and fetal toxicity and teratogenic potential of
orally administered N-EtFOSE in pregnant rabbits

GLP Status: A GLP study with appropriate QA audits; a signed QUA statement to be
included in the final report.

Animals: Mated female New Zealand White rabbits (Note the rabbits are to be mated at
the testing laboratory not at the supplier and shipped as mated females to the testing
laboratory.)

Dose Groups: Five - control, 0 mg/kg; low, (1 ?) mg/kg; mid-1, (5?) mg/kg; mid-2,
(10 ?) mg/kg; high, (25 ?) mg/kg. Final dose levels will be adjusted after range finder
study results are available.

Number per Group: 22 mated females per group

Test Article: N-EtFOSE will be furnished by the Sponsor who is responsible for
compound identity and purity. Reserve sample to be retained.

Compound Administration: Oral intubation of compound suspended in water with 2%
Tween 80 on days 7 thru 20 of gestation. Samples of dosing preparations will be frozen
and retained for possible analysis by the Sponsor. Records will be maintained on how
dosing preparations were made,

Clinical Observations: Twice daily; once approximately one hour after dosing and then
4 to 6 hours later.

Body Weights: On days 0, 7, 10, 13, 16, 19, 24 and 29 of gestation

Food Consumption: On days when body weights are obtained

Cesarean Section: On day 29 of gestation the females will be anesthetized and the uterus
and its contents will be removed and weighed. The number of implantations, the number
of live and dead fetuses, and the number of early and late resorptions will be determined

and recorded. The fetuses will be weighed and examined for any gross abnormalities, The
ovaries will examined for the number of corpora lutea.

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Fetal Examinations: A mid-coronal slice will be made in the head of each fetus to
evaluate the contents of the cranium. The internal organs of the thoracic and abdominal
cavities of all fetuses will be examined in the fresh state using Staples’ technique for
internal abnormalities. At this time the sex of the each fetus will be determined. After
removal of the viscera, the carcasses will processed for skeletal examination.

Toxicokinetic Satellite Animals: Groups of mated females, five females at the low dose
(1 ? mg/kg) and five females at the high dose (25 ? mg/kg) plus three females at other
dose levels, will be dosed. On the day after the last dose (day 21 of gestation) the satellite
females will be killed and following samples will be collected: serum and liver from the
dam and placentas and fetuses from the uterus. (Note placentas from a single litter can be
stored together as one sample; likewise for the fetuses) These samples will be frozen and
shipped to the sponsor for possible analysis.

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Rat Two Generation Reproduction Study of N-EtFOSE

Study Outline

Study Objective: To evaluate the effect of oral administration of N-EtFOSE on the
reproductive function of male and female rats (Fo generation) and on the development and
reproductive capacity of the subsequent F, generation which were exposed in utero and
via lactation.

GLP Status: A GLP study with appropriate QA audits; a signed QUA statement to be
included in the final report.

Animals: Male and female Charles River CD rats

Dose Groups: Five - control, 0 mg/kg; low, 1 mg/kg; mid-1, 5 mg/kg; mid-2, 10
mg/kg; high, 15 mg/kg.

Number per Group: 35 males and 35 females per group

Test Article: N-EtFOSE will be furnished by the Sponsor who is responsible for
compound identity and purity. Reserve sample to be retained.

Compound Administration: Daily oral intubation of compound suspended in water with
2% Tween 80. Compound administration will start 4 week prior to mating. Compound
administration will continue through mating and in the females through gestation and
lactation. The F; pups will not receive any doses via gastric intubation. Samples of dosing
preparations on week 2 and 8 will be frozen and retained for possible analysis by the
Sponsor. Records will be maintained on how dosing preparations were made.

Clinical Observations: Twice daily; once approximately one hour after dosing and then
4 to 6 hours later.

Body Weights: Weekly except when male and females are co-inhabited during mating.

Food Consumption: Weekly except when male and females are co-inhabited during
mating.

Estrus Cycles: Daily vaginal smears will be taken from females two weeks prior to
mating to determine estrus cycle information.

Mating: After 4 weeks of compound administration, within a dose group one male will
be co-inhabited with one female. A female will be determined as mated upon the presence
of sperm positive vaginal smear. The day of mating shall be considered as day 0 of
gestation.

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Early Gestation Evaluation: 10 Fo females per group will killed on day 10 of gestation.
Pregnancy will be determined as well as the number of implanations and the number of
early and late resorptions. At necropsy serum and liver samples will be taken from five of
the females in each dose group. These samples will be frozen and shipped to the sponsor
for possible analysis.

Male Sacrifice: One week after mating all Fy male rats will be killed after a terminal body
weight has been obtained. The animals will be necropsied and any gross lesions will be
described and recorded. The testes, epididymis, prostate and seminal vesicles will be
weighed and fixed for possible histologic examination. (Note: testis will be fixed in
Bouin’s solution; other tissues in 10% buffered formalin). At necropsy serum and liver
samples will be taken from five of the males in each dose group. These samples will be
frozen and shipped to the sponsor for possible analysis.

Female Parturition: The remaining 25 females will continue until term and be allow to
deliver their litters. The offspring (F; generation) will be counted, sexed and weighed on
postnatal days 0, 4, 7,14 and 21. Offspring will be randomly culled to four males and four
females on day 4 postnatal.

Milk Samples: On day 4 postnatal when litters are culled to eight pups, milk curds will
be collected from the stomach of the discarded pups from five litters of each dose groups.
The milk curds from the pups in a litter are to be combined as a single sample.

Pup Examinations: Pups will be observed daily for moribundity/mortality.
Developmental landmarks consisting of eye opening, pinna detachment, surface righting,
testes descent, and vaginal opening will be recorded for each litter.

F, Dosing: After weaning at day 21 of lactation, the F; pups will receive compound by
daily oral (gastric intubation) dosing. Dose level on a mg/kg basis will be the same as the
pup’s dam dose level.

Female Sacrifice: One or two days after weaning of the litter on day 21 of lactation, all

Fo female rats will be killed after a terminal body weight has been obtained. The animals

will be necropsied and any gross lesions will be described and recorded. The ovaries will
be weighed and fixed for possible histologic examination. (Note: ovaries will be fixed in

10% buffered formalin). At necropsy serum and liver samples will be taken from five of

the females in each dose group. These samples will be frozen and shipped to the sponsor
for possible analysis.

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F1 Pup Neurological Testing: During the 4" week postpartum, the F, pups will be
evaluated in a passive avoidance test for learning and short term memory retention.
During the 10" week postpartum, the F, pups will be evaluated in a water-filled maze for
neuromuscular coordination, learning, and longer term more complex memory.

F, Growth and Reproduction: The F; pups will be weaned after 21 days of lactation
and litters will be culled to one of each sex. The pups will then allow to grow and body
weights and food consumption will be recorded weekly. The F; pups will undergo
behavioral/functional testing. At sexual maturity, within a dose group, one male will be
mated with one female (sibling mating to be avoided). The females will be allowed to
litter and raise the F; pup through 21 days of lactation.

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January 21, 1999

Rat Two Generation Reproduction Study of PFOS

Study Outline

Study Objective: To evaluate the effect of oral administration of PFOS on the
reproductive function of male and female rats (Fy generation) and on the development and
reproductive capacity of the subsequent F; generation which were exposed in utero and
via lactation.

GLP Status: A GLP study with appropriate QA audits; a signed QUA statement to be
included in the final report.

Animals: Male and female Charles River CD rats

Dose Groups: Five - control, 0 mg/kg; low, 0.1 or 0.2 mg/kg; mid-1, 0.5 or 1.0 mg/kg;
mid-2, 2 or 3 mg/kg; high, 5 or 8 mg/kg.

Number per Group: 35 males and 35 females per group

Test Article: PFOS will be furnished by the Sponsor who is responsible for compound
identity and purity. Reserve sample to be retained.

Compound Administration: Daily oral intubation of compound suspended in water with
2% Tween 80. Compound administration will start 4 week prior to mating. Compound
administration will continue through mating and in the females through gestation and
lactation. The F; pups will not receive any doses via gastric intubation. Samples of dosing
preparations on week 2 and 8 will be frozen and retained for possible analysis by the
Sponsor. Records will be maintained on how dosing preparations were made.

Clinical Observations: Twice daily, once approximately one hour after dosing and then
4 to 6 hours later.

Body Weights: Weekly except when male and females are co-inhabited during mating.

Food Consumption: Weekly except when male and females are co-inhabited during
mating.

Estrus Cycles: Daily vaginal smears will be taken from females two weeks prior to
mating to determine estrus cycle information.

Mating: After 4 weeks of compound administration, within a dose group one male will
be co-inhabited with one female. A female will be determined as mated upon the presence
of sperm positive vaginal smear. The day of mating shall be considered as day 0 of
gestation.

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Early Gestation Evaluation: 10 females per group will killed on day 7 of gestation.
Pregnancy will be determined as well as the number of implanations and the number of
early and late resorptions,

Male Sacrifice: One week after mating all Fy male rats will be killed after a terminal body
weight has been obtained, The animals will be necropsied and any gross lesions will be
described and recorded. The testes, epididymis, prostate and seminal vesicles will be
weighed and fixed for possible histologic examination. (Note: testis will be fixed in
Bouin’s solution; other tissues in 10% buffered formalin). At necropsy serum and liver
samples will be taken from five of the males in each dose group, These samples will be
frozen and shipped to the sponsor for possible analysis.

Female Parturition: The remaining 25 females will continue until term and be allow to
deliver their litters. The offspring (F; generation) will be counted, sexed and weighed on
postnatal days 0, 4, 7,14 and 21. Offspring will be randomly culled to four males and four
females on day 4 postnatal.

Milk Samples: On day 4 postnatal when litters are culled to eight pups, milk curds will
be collected from the stomach of the discarded pups from five litters of each dose groups.
The milk curds from the pups in a litter are to be combined as a single sample.

Pup Examinations: Pups will be observed daily for moribundity/mortality.
Developmental landmarks consisting of eye opening, pinna detachment, surface righting,
testes descent, and vaginal opening will be recorded for each litter.

F; Dosing: After weaning at day 21 of lactation, the F; pups will receive compound by
daily oral (gastric intubation) dosing. Dose level on a mg/kg basis will be the same as the
pup’s dam dose level,

Female Sacrifice: One or two days after weaning of the litter on day 21 of lactation, all
Fo female rats will be killed after a terminal body weight has been obtained. The animals

will be necropsied and any gross lesions will be described and recorded. The ovaries will
be weighed and fixed for possible histologic examination. (Note: ovaries will be fixed in

10% buffered formalin). At necropsy serum and liver samples will be taken from five of

the females in each dose group. These samples will be frozen and shipped to the sponsor
for possible analysis.

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Fi Pup Neurological Testing: During the 4" week postpartum, the F; pups will be
evaluated in a passive avoidance test for learning and short term memory retention.
During the 10" week postpartum, the F; pups will be evaluated in a water-filled maze for
neuromuscular coordination, learning, and longer term more complex memory.

F, Growth and Reproduction: The F; pups will be weaned after 21 days of lactation.
The pups will then allow to grow and body weights and food consumption will be
recorded weekly. The F, pups will undergo behavioral/functional testing. At sexual
maturity, within a dose group, one male will be mated with one female (sibling mating to
be avoided). The females will be allowed to litter and raise the F, pup through 21 days of
lactation.

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Rabbit Teratology Rangefinder on PFOS

Study Outline

Study Objective: Explore possible dose levels for an oral rabbit teratology study

GLP Status: Study should be conducted under GLP principles but since it is a
rangefinder study QA audits will not be done

Animals: Mated female New Zealand White rabbits (Note the rabbits are to be mated at
the testing laboratory not at the supplier and shipped as mated females to the testing
laboratory.)

Dose Groups: Seven - control, 0 mg/kg; low-1, 0.1 mg/kg; low-2, 1 mg/kg; mid-1, 2.5
mg/kg; mid-2, 5 mg/kg; high-1, 10 mg/kg; high-2, 20 mg/kg

Number per Group: 5 mated females per group

Test Article: N-EtPFOS will be furnished by the Sponsor who is responsible for
compound identity and purity. No reserve sample will be required.

Compound Administration: Oral intubation of compound suspended in water with 2%
Tween 80 on days 7 thru 20 of gestation. Analysis of dosing preparation will not be done;
however, records will be maintained on how dosing preparations were made.

Clinical Observations: Twice daily; once approximately one hour after dosing and then
4 to 6 hours later.

Body Weights: On days 0, 7, 10, 13, 16, 19, 24 and 29 of gestation

Food Consumption: On days when body weights are obtained

Cesarean Section: On day 29 of gestation the females will be anesthetized and the uterus
and its contents will be removed and weighed. The number of implanations, the number
of live and dead fetuses, and the number of early and late resorptions will be determined

and recorded. The fetuses will be weighed and examined for any gross abnormalities. The
ovaries will examined for the number of corpora lutea.

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January 21, 1999

Rabbit Teratology Study on PFOS

Study Outline

Study Objective: To determine maternal and fetal toxicity and teratogenic potential of
orally administered PFOS in pregnant rabbits

GLP Status: A GLP study with appropriate QA audits: a signed QUA statement to be
included in the final report.

Animals: Mated female New Zealand White rabbits (Note the rabbits are to be mated at
the testing laboratory not at the supplier and shipped as mated females to the testing
laboratory.)

Dose Groups: Five - control, 0 mg/kg; low, 0.1 mg/kg: mid-1, | mg/kg; mid-2, 5
mg/kg; high, 10 mg/kg. Final dose levels will be adjusted after range finder study results
are available,

Number per Group: 22 mated females per group

Test Article: FOS will be furnished by the Sponsor who is responsible for compound
identity and purity. Reserve sample to be retained.

Compound Administration: Oral intubation of compound suspended in water with 2%
Tween 80 on days 7 thru 20 of gestation, Samples of dosing preparations will be frozen
and retained for possible analysis by the Sponsor. Records will be maintained on how
dosing preparations were made.

Clinical Observations: Twice daily; once approximately one hour after dosing and then
4 to 6 hours later.

Body Weights: On days 0, 7, 10, 13, 16, 19, 24 and 29 of gestation

Food Consumption: On days when body weights are obtained

Cesarean Section: On day 29 of gestation the females will be anesthetized and the uterus
and its contents will be removed and weighed. The number of implanations, the number
of live and dead fetuses, and the number of early and late resorptions will be determined

and recorded. The fetuses will be weighed and examined for any gross abnormalities.
The ovaries will examined for the number of corpora lutea.

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Fetal Examinations: A mid-coronal slice will be made in the head of each fetus to
evaluate the contents of the cranium. The internal organs of the thoracic and abdominal
cavities of all fetuses will be examined in the fresh state using Staples’ technique for
internal abnormalities. At this time the sex of the each fetus will be determined. After
removal of the viscera, the carcasses will processed for skeletal examination.

Toxicokinetic Satellite Animals: Groups of mated females, five females at the low dose
(0.1 mg/kg) and five females at the high dose 10 mg/kg) plus three females at other dose
levels, will be dosed. On the day after the last dose (day 21 of gestation) the satellite
females will be killed and following samples will be collected: serum and liver from the
dam and placentas and fetuses from the uterus. (Note placentas from a single litter can be
stored together as one sample; likewise for the fetuses) These samples will be frozen and
shipped to the sponsor for possible analysis.

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January 21, 1999

Rabbit Teratology Rangefinder on N-EtFOSE

Study Outline

Study Objective: Explore possible dose levels for an oral rabbit teratology study

GLP Status: Study should be conducted under GLP principles but since it is a
rangefinder study QA audits will not be done

Animals: Mated female New Zealand White rabbits (Note the rabbits are to be mated at
the testing laboratory not at the supplier and shipped as mated females to the testing
laboratory.)

Dose Groups: Seven - control, 0 mg/kg: low-1, 1 mg/kg; low-2, 5 mg/kg: mid-1, 10
mg/kg; mid-2, 25 mg/kg; high-1, 50 mg/kg; high-2, 75 mg/kg

Number per Group: 5 mated females per group

Test Article; N-EtPFOS will be furnished by the Sponsor who is responsible for
compound identity and purity. No reserve sample will be required.

Compound Administration: Oral intubation of compound suspended in water with 2%
Tween 80 on days 7 thru 20 of gestation. Analysis of dosing preparation will not be done;
however, records will be maintained on how dosing preparations were made.

Clinical Observations: Twice daily; once approximately one hour after dosing and then
4 to 6 hours later,

Body Weights: On days 0, 7, 10, 13, 16, 19, 24 and 29 of gestation

Food Consumption: On days when body weights are obtained

Cesarean Section: On day 29 of gestation the females will be anesthetized and the uterus
and its contents will be removed and weighed. The number of implanations, the number
of live and dead fetuses, and the number of early and late resorptions will be determined

and recorded. The fetuses will be weighed and examined for any gross abnormalities. The
ovaries will examined for the number of corpora lutea.

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Rabbit Teratology Study on N-EtFOSE

Study Outline

Study Objective: To determine maternal and fetal toxicity and teratogenic potential of
orally administered N-EtPFOS in pregnant rabbits

GLP Status: A GLP study with appropriate QA audits: a signed QUA statement to be
included in the final report.

Animals: Mated female New Zealand White rabbits (Note the rabbits are to be mated at
the testing laboratory not at the supplier and shipped as mated females to the testing
laboratory.)

Dose Groups: Five - control, 0 mg/kg; low, (1 ?) mg/kg; mid-1, (5 ?) mg/kg; mid-2,
(10 ?) mg/kg; high, (25 ?) mg/kg. Final dose levels will be adjusted after range finder
study results are available.

Number per Group: 22 mated females per group

Test Article: N-EtPFOS will be furnished by the Sponsor who is responsible for
compound identity and purity, Reserve sample to be retained.

Compound Administration: Oral intubation of compound suspended in water with 2%
Tween 80 on days 7 thru 20 of gestation. Samples of dosing preparations will be frozen
and retained for possible analysis by the Sponsor. Records will be maintained on how
dosing preparations were made.

Clinical Observations: Twice daily; once approximately one hour after dosing and then
4 to 6 hours later,

Body Weights: On days 0, 7, 10, 13, 16, 19, 24 and 29 of gestation

Food Consumption: On days when body weights are obtained

Cesarean Section: On day 29 of gestation the females will be anesthetized and the uterus
and its contents will be removed and weighed. The number of implanations, the number
of live and dead fetuses, and the number of early and late resorptions will be determined

and recorded. The fetuses will be weighed and examined for any gross abnormalities.
The ovaries will examined for the number of corpora lutea.

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Fetal Examinations: A mid-coronal slice will be made in the head of each fetus to
evaluate the contents of the cranium. The internal organs of the thoracic and abdominal
cavities of all fetuses will be examined in the fresh state using Staples’ technique for
internal abnormalities. At this time the sex of the each fetus will be determined. After
removal of the viscera, the carcasses will processed for skeletal examination.

Toxicokinetic Satellite Animals: Groups of mated females, five females at the low dose
(1 ? mg/kg) and five females at the high dose (25 ? mg/kg) plus three females at other
dose levels, will be dosed. On the day after the last dose (day 21 of gestation) the satellite
females will be killed and following samples will be collected: serum and liver from the
dam and placentas and fetuses from the uterus. (Note placentas from a single litter can be
stored together as one sample; likewise for the fetuses) These samples will be frozen and
shipped to the sponsor for possible analysis.

Sponsor Study Monitor: Marvin T. Case, DVM, PhD
3M Toxicology Services
3M Center Bldg 220-2E-02
St. Paul, MN 55144-1000
Telephone 612/733.5180
FAX 612/733,.1773

Alternative Study Monitor: Andrew M. Seacat, PhD
3M Toxicology Services
3M Center Bldg 220-2E-02
St. Paul, MN 55144-1000
Telephone 612/575.3161
FAX 612/733,1773

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Corporate Toxicology Study Outline

Title:

1) Effect of Perfluorochemicals on Bioenergetic Metabolism: Phase II Research Plan
(Restricted Grant)

2) Mitochondrial Interactions of Peroxisome Proliferators (Unrestricted Grant)

Purpose:

1) Compare mitochondrial bioenergetics between mitochondria from rat, guinea pig and
human (Ca™ loading capacity, uncoupling potential, et al.) to help set appropriate
safety factors for human risk characterization based on animal data;

2) Compare the metabolic response ([ATP], respiration rate, mitochondrial membrane
potential, markers of peroxisome proliferation, et al.) of rat, guinea pig and primate
hepatocytes to this class of compounds with particular emphasis on mitochondrial and
peroxisomal metabolism to:

a) Further test the proposed mechanism of toxicity;

b) Identify potentially useful metabolic biomarkers of exposure:

c) Help validate relative differences between species (assess markers of peroxisome
proliferation across species);

3) Compare molecular response (gene expression + mRNA) of rat, guinea pig and
primate hepatocytes exposed to these chemicals (genes indicative of cell and
peroxisome proliferation) to:

a) Identify molecular biomarkers of exposure;

b) Facilitate species extra[ polation;

¢c) Discriminate between proliferation of peroxisomes and cell proliferation
(ongogenic response) to test dogma;

d) Assess the relevance of rat tumorigenic response to potential human cancer
response;

€) Provide biomarkers for potential use in monitoring and interpreting traditional
toxicity studies,

Significance:

1) Comparing sensitivity between species will allow for judging the most appropriate
species for predicting human health outcomes following exposures to compounds and
has relevance to establishing safety factors and putting human cancer risk in
perspective;

2) Species differences in metabolic and molecular response will reveal important insight
into mechanisms responsible for compound-induced peroxisome proliferation and/or
tumorigenesis which is also vital to identifying valid biomarkers to assess exposures
and potential risks;

3) Comparing the enhanced transcription and expression of genes associated with
peroxisome versus cell proliferation will allow opportunities to evaluate the

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relationship between metabolic and oncogenic effects of these compounds in different
species.

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Establish hepatocyte cell cultures from different species as models for assessing the
metabolic and mitogenic effects test compounds;

2. Develop molecular probes for assessing compound-induced transcription of genes
related to peroxisome metabolism and cell proliferation;

3. Establish benchmarks for assessing the effects of test compounds on ‘hepatocyte
bioenergetics and cell proliferation in culture.

Protocol;
1) Establish stable primary hepatocyte cultures from several species including rat, guinea
pig and primate;
2) Develop molecular probes for compound-initiated transcription of specific genes
related to mechanistic endpoints:
a) ID genes of interest
b) ID sequences of high homology between species using Gene Bank®
c) Design primers to 1.5 — 3.0 kbp sequences (Oligo®)
d) PCR amplify sequences from rat-liver cDNA template
€) Separate, bands on low melting point gels
f) Purify bands (band-stab)
) Restriction digest to confirm identity (MacDNAsis® to obtain restriction site map
for each probe)
h) Label probe with **P-dCTP by random priming (High Prime®)
3) Treat sample (cells or flash frozen tissue)
a) Isolate total RNA by triazole method
b) Separate on denaturing HCOH agarose gels
c) Transfer to nylon
d) Hybridize with **P probe
e) Wash and expose to X-ray film to detect complementary mRNA
4) MRNA probes suggested for peroxisome proliferation
a) CPT1
b) ACoAO
c) PPARa
d) FABP
e) Also, possibly Catalase, LPL, Aromatase, HMG-CoA synthetase
5) Probes for cell proliferation
a) PCNA
b) CDK
6) Establish benchmarks for assessing the effects of PF compounds on hepatocyte
bioenergetics and cell proliferation in culture
a) Effect of exposing cells in culture on induction of peroxisomal metabolism and
stimulation of cell proliferation using biochemical markers and molecular markers
(e.g., mitochondroial enzyme activities and cytochrome content, Adenine

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nucleotides, AcoAO activity, PCNA, apoptosis (morphometric and TUNEL),
CyQuant cell proliferation analysis, CPT1, AcoAO, PCNA, CDK)

Principle investigator/location/cost:
Dr. Kendall Wallace, University of Minnesota School of Medicine, Department of
Biochemistry and Molecular Biology, University of Minnesota, Duluth

Timeline:
31 months beginning December 1, 1998 and ending June 30, 2001

Report:
Quarterly progress reports

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